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07.00/17 11:48:07
ROBIN DIMAGGIO How to reach us
INVINCIBLE DIMAGGIO www.cltlcards.com
Member Since 2014 Business Account: 5539 5400 4212 m4 1-866-458-4216 TTY: WOO-3252865
Bililng Period: 01128117432128!" PO Box 6235 Sioux Falls, SD 57117-6235
Account Summary
Minimum payment due: $20.00 Previous balance $3,583.26
. Paymentstredits/
New balance' 5296'“ Adjustments 55,956.61
Payment due date: 03/20/17 Purchases 61669-46
Cash advances +5000
C ARDHOLDER 5U M M ARY Total Cardmembers: 1 Fees +50.00
Cardholder Card number ending in Amount Finance Charges +5000
BPEMPPEWGG'Q    “'9 53:93:??? New balance $295.11
Business Credit Line




                                                                                        Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Revolving Credit Line $7,000
Includes $3,500 cash advance line
Available Revolving
Credit Line $6,703
Includes $3,500 available for cash advances
ltfutxdvantaqmT Miles Reported
to American Airlines:
3,617
)) See page 3 for more information
about your rewards
Please print Address Changes on the reverse side




                                                                                                                 Exhibit LLL pt.3 Page 2 of 150
Minimum payment due $20.00
New balance $296.11
Payment due date 03/20/17
000000 BM 00 A 0 Business Account en ding in 1114
ROBIN DIMAGGIO CITIBUSINESS CARD
INVINCIBLE DIMAGGIO PO BOX 78045
5737 KANAN RD Phoenix, AZ 35062-0045
#117
AGOURA HILLS CA 91301-1601




                                                                                                                         EX. LLL - 201
ROBIN DIMAGGIO
INVINCIBLE DIMAGGIO
BUSINESS ACCOUNT SUMMARY
INVINCIBLE DIMAGGIO
Trans. Post
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Amount
Business Payments, Credits and Adjustments
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Total Business Payments, Credits and Adjustments
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$6,904.24
Interest Charge/Finalise Charge Summary Days in billing cvc52:32
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PURCHASES
Total Interest Charge/FINANCE CHARGE
"HS-6:60
$0.00




                                                                                                                   Exhibit LLL pt.3 Page 3 of 150
Transactions
Trans. Post
date date Description Amount
ROBIN DIMAGGIO Card number ending in 4419
Revolving employeecredit line; $7.000
Employee cash advance line: $3.500
Credits and Adjustments
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www.clticards.cem Page 2 at 4
l-866-458-4216TTY: l-800‘325-2865
American Airlines
AAdvantage" Miles
Reported:
3,617
Purchase 3,617
Accumulated This Month 3,617
3) Visit aa.comlaaduantage to
redeem mites and book flights
American Airlines reserves the right to change
the AAdvantagetFr program and its terms and
conditions at anytime without notice. and to
end the AAdvantageG’) program with six months
notice. AnyI such changes may affect your
ability to use the awards or mileage credits
that you have accumulated. Unless specified,
AAdvantage 1- miles earned through this
prom otion/offer do not count toward elite-
status qualification or AAdvantage Miilion
MilerSM status. American Airlines is not
responsible for products or services otlered by
other participating companies. For complete
detaiis about the AAdvantagei- program visit
www.aa.com[aaclvantage
American Airlines. AAdvantage and
AAdvantage Miilion Miler are trademarks of
American Airlines. inc.




                                                                                                                           EX. LLL - 202
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www.clttcards.com
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Great News. Your Annual account summary is not” available online. Please go
to m.citicarus.com and login to your account button for more oetails.
Please be sure to pay on time. it you submit your payment by mail. we suggest
you mail it no later than osiiaiaon to allow enough time lor regular l'l'tElF to
reach “'5.
II we need to contact you about your account. our records snoinr your phone
numberts] as 310254-64“ (home), 310254-54“ {work}. tl this information
isn‘t correct or you wish to add a number. please call the customer service
number on the back ol your card or update it online at m.citicaros.corn.
Page 4 of 4




                                                                                                                    EX. LLL - 204
ill I I-HJU LII I IlloI-U UUVU Flt-Illa! u: IIU-IU
07/10/17 11:48:07
ROBIN DIMAGGIO How to reach us
INVINCIBLE DIMAGGIO www.cltlcards.com
Member Since 2014 Business Account: 5539 5400 4212 m4 1-855-459-4216 GT“ 1300-3251365)
gum-.9 period; (Elwin-03123," PO Box 6235 Sioux Fallsr SD 571l7-6235
Account Summary
Minimum payment due: $20.00 Previous balance $296.11
. Paymentsl’Credits/
New balance' $40520 Adjustments $1,981.90
Payment due date: 04/17/17 Purchases 62,090.99
Cash advances +$0.00
CARDHOLDER SUMMARY Total Cardmembers: 1 Fees +$0.00
BMW!!!............__.....................§!El'..'19m!!!!t.8931"? "1....   _nance Charges *50'00
.39§!!‘.‘._95MAG’5'0 .........    4419 _ .............................. nil-.73??? New balance 540520
Business Credit Line




                                                                                                        Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Revolving Credit Line $7.000
Includes $3,500 cash advance line
Available Revolving
Credit Line $6.594
Includes $3.500 available for cash advances
AAdvantaqe‘E’ Miles Reported
to American Airlines:
1.872
Please prlnl: Address Changes on the reverse side
Minimum payment due $20.00
New balance $405.20




                                                                                                                                 Exhibit LLL pt.3 Page 6 of 150
Payment due date 04/17/17
000000 BM 00 A 0 Business Account en ding in 1114
ROBIN DIMAGGIO CITIBUSINESS CARD
INVINCIBLE DIMAGGIO Po Box 78045
5737 KANAN RD Phoenix. Az 55062-8045
#117
AGOURA HILLS CA 91301-1601




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Trans. Post
date date
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www.cltlcards.com Page 4 or 4
H“. 66-458-42l6 (TTY: l-BOO‘325'2865)
American Airlines
AAdvantage‘o Miles
Reported:
1,872
Purchase
Bonus
Accumulated This Month
» Vlsit aa.comlaadvantage to
redeem miles and book flights
1.732
+140
1,672
American Airlines reserves the right to change
the AAdvantageCB program and its terms and
conditions at any time without notice. and to
end the AAdvantage-B) program with six months
notice. Any such changes may affect your
ability to use the awards or mileage credits
that you have accumulated. Unless specified.
AAdvantageQ_ miles earned through this
promotion/offer do not count toward elite-
status qualification or AAdvantage Million
MilerSM status. American Airlines is not
responsible for products or services offered by
other participating companies. For complete
details about the AAdvantage“: prog-am. visit
www.aa.comlaaclvantage
American Airlines. AAdvantage and
AAdvantage Million Miler are trademarks of
American Airlines. Inc.




                                                                                   EX. LLL - 206
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INVIHCIBLE DIHAGGIO
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                                                          Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                                   Exhibit LLL pt.3 Page 8 of 150
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www.citlcards.corn
l-566-458-4216(TTY: 1-800-325-2865)




                                                                                           EX. LLL - 207
ROBIN DIHAGEID www.cltlcards.com Page 4 of 4
INVIHCIILE DIMAGGID I-866-458-4216(TTY: 1-800-325-2865)
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                                                                                  Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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you mail: it no later than _4_____ to eliow enough time for regular mai to
reach us.




                                                                                                           Exhibit LLL pt.3 Page 9 of 150




                                                                                                                   EX. LLL - 208
Jl I Lcu’U'bl I {VIII-U JUUU HHIUoI'Uf IIUUU
07/10/17 11:48:07
ROIN DIMAGGIO
INVINCIBLE DIMAGGIO
Member Since 2014 Business Account: 5589 5400 4212 m4
Billing Period: cousin-04126117
Minimum payment due: $0.00
New balance: -$35.33
Payment due date: 05/22/17
CARDHOLDER SUMMARY Total Cardmembers_
Amount
000000 BM 00 A O
ROBIN DIMAGGIO
lNVINCIBLE DIMAGGIO
5737 KANAN RD
#117




                                                        Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
AGOURA HILLS CA 91301-1601
How to reach us
www.citlcards.com
1-866-458-42l6 (TTY: 1-800-325-2865)
PO Box 6235 Sioux Falls, SD 57117-6235
Account Summary
Previous balance $405.20
Payments/Credits]
Adjustments $500.00
Purchases +559.4T
Cash advances +$0.00




                                                                                 Exhibit LLL pt.3 Page 10 of 150
Fees +$0.00
Finance Charges +5000
New balance -$35.33
Business Credit Line
Revolving Credit Line $7.000
Includes $3,500 cash advance line
Available Revolving
Credit Line $7,000
Includes $3.500 available for cash advances
AAdvantage® Miles Reported
to American Airlines:
59
)3 See page 3 for more information
about your rewards
Please print Address Changes on the reverse side
Minimum payment due $0.00
New balance -$35.33
Payment due date 05/22/17
Business Account ending in HM
CITIBUSINESS CARD
PO BOX 73045
Phoenix. AZ 85062-5045




                                                                                         EX. LLL - 209
ROBIN DIMAGGIO www.clttcards.com Page 2 of 2
INVINCIBLE DIMAGGIO I-666-458-4216(TTY: 1-800-325-2665]
BUSINESS ACCOUNT SUMMARY American Airlines
I!
INVINCIBLE DIMAGGIO :Advrins?“ “"5
Trans. Post epo e '
93.3.1.2 ....... “9.3m. ...... “REEEfiPm” “995E
Business Payments. Credits and Adjustments 5 9
9E”...EMMFNT.IHANJSYPli........___._....._.....___........ ................:.§§99:99 Puma“: 59
$999999...._.......IENQPPPH§....._____...9...".......§?999_€§??§_.......___......__.......___......._____.. Accumulated This Month 59
Total Business Payments, Credits and Adjustments $500.00
Interest Charge/Finance charge Summary Days in billing EVE-E31
Transaction Feel
FINANCE CHARGE
Periodic
FINANCE CHARGE




                                                                                                                Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Nominal APR
PURCHASES
"generates“""""'
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Total Interest Charge/FINANCE CHARGE
“Eéé_. _
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5090
Transactions
Trans. Post
date date Description Amount




                                                                                                                                         Exhibit LLL pt.3 Page 11 of 150
ROBIN DIMAGGIO Card number ending in 44l9
Revolving employeecredit line: $7.000
Employee cash advance line: $3.500
Purchases
Standard Purchases
04/01 04ml NETFLIX.COM NETFLIXJCDM cA $n.99
magma...”.......6i._éééu_mHanan”...
magmas/'25 CHARTER COMMUNICATIONS see-4ae-é5é'7'iilSW""m"""'"""'""J"'"
ama_b
for Account Number "" "" W"
$59.47
Account messages
Detailed Quarterly Reports make it easy to monitor account activity and help
with planning and budgeting. For more information. call 1-800-750-T453.
No Payment Required. Your account has a credit balance. You may use it to
offset future purchases or you may call Customer Service for a refund.
Please be sure to pay on time. If you submit your payment by mail. we suggest
you Lnail it no later than 05/15/2017 to allow enough time ior regular mail to
tear us.
>1 Visit aa.comlaadvantage to
redeem miles and book flights
American Airlines reserves the right to change
the AAdvantage® program and its terms and
conditions at any time without notice. and to
end the AAdvantageGD program with six months
notice. Any such changes may affect your
ability to use the awards or mileage credits
that you have accumulated. Unless specified.
AAdvantageOt' miles earned through this
promotion/offer do not count toward el'te-
status qualification or AAdvantage M’Ilion
MilerSM status. American Airlines is not
responsibie for products or services offered by
other participating companies. For complete
details about the AAdvantage® program. visit
www.aa.com!aadvantage
American Airlines. AAdvanlage and
AAdvaniage M'Ilion Miler are trademarks of
American Airlines. Inc.




                                                                                                                                                 EX. LLL - 210
:I I LZ=U~I I m-LU-UUUU HBIU-l‘ul IlU-IU
07/10/17 11:48:07
ROBIN DIMAGGIO How to reach us
INVINCIBLE DIMAGGIO www.olticard5.com
Member Since 2014 Business Account: 5589 5400 4212 1114 I-866-458-42160TY= 1800-3252365)
Billing Period: 04/29/17-05125/11 PO Box 6235 Sioux Falls. so 57117-6235
Account Summary
Minimum payment due: $0.00 Previous balance 535.33
9 b g - . Payments/Credits]
N w alance $68 10 Adjustments -$107.44
Payment due date: 06/20/17 Purchases $74.67
Cash advances +5000
CARDHOLDER SUMMARY Total Cardmembers_ Fees +$o.oo
Emeralds! ................................ "991109501195ending!!! ............................. "Magnet Finance Charges *50-00
R99!!9.'MEE‘E!E ...................... ..T'.’.T..'ff.'..‘..i.‘._*__’_..‘.‘f‘.!? ............................ 5532-77 New balance -sea.1o
Business Credit Line




                                                                                                                Case 1:17-ap-01099-VK      Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Revolving Credit Line $7.000
includes $3,500 cash advance line
Available Revolving
Credit Line $7.000
includes $3.500 available for cash advances
Midvantage‘ID Miles Reported
to American Airlines:
0
>1 See page 3 for more information
about your rewards
Please print Address Changes on the reverse side




                                                                                                                                            Exhibit LLL pt.3 Page 12 of 150
Minimum payment due $0.00
New balance -$68.10
Payment due date 06/20/17
Business Account ending in 1114
000000 BM 00 A 0
ROBIN DIMAGGIO CITIBUSINESS CARD
INVINCIBLE DIMAGGIO PO BOX 78045
5737 KANAN RD Phoenix. AZ 35062-8045
#1 117
AGOURA HILLS CA 91301-1601




                                                                                                                                                    EX. LLL - 211
RUBIN DIHLSGIO
INVIHSII‘LE DIMGGIU
BUSINESS ACCOUNT SUMMARY
INVIHCIELE DIHAWIU
Trans. Post
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                                                                                Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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Purchases
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                                                                                                         Exhibit LLL pt.3 Page 13 of 150
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Account messages
No Payment Required. Your account has a credit balance. You may use it to
offset future purchases or you may call Customer Service for a refund.
Great News. Your Quarterly summary is now available online. Please go to
www.citicards.com and login to your account onllne for more details.
Please note that if we received your pay by phone or online payment between
5 pm. ET and midnight ET on the last day of your billing period. your payment
will not be reflected until your next statement.
Please be sure to pay on time. If you submit your payment by mail. we suggest
you :13“ it no later than 06/13i2017 to allow enough time for regular mail to
reac us.
www.cltlcards.com Page d 0' d
1-566'458-4216 (TTY: l-800-325-2865)
American Airlines
Mtdvantage!o Miles
Reported:
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Purchase ~33
Accumulated This Month 43
n Visit aa.com/aadvantaqe to
redeem miles and book flights
American Airiines reserves the right to change
the AAdvantagerD program and its terms and
conditions at any time without notice. and to
end the AAdvantage® program with six months
notice. Any such changes may affect your
ability to use the awards or mileage credits
that you have accumulated. Unless specified
AAdvantage-b- miles earned through this
promotionfoffer do not count toward elite-
status qualification or AAdvantage Million
MilerSM status. American Airlines is not
responsible for products or services offered by
other participating companies. For comp'ete
details about the AAdvantageJy program. visit
www.aa.comlaactvantage
American Airlines. AAdvantage and
AAdvantage M'ilion Miter are trademarks of
American Airlines, Inc.




                                                                                                                 EX. LLL - 212
JI I L-JU'UI I l'l-LU'dUUU HUlU-FUI IIUUU
07/10/17 11:43:07
ROBIN DIMAGGIO
INVINCIBLE DIMAGGID
Member Since 2014 Business Account 5589 5400 4212 "14
Billing Period: 05/27/17-06/26/11
Minimum payment due: $20.00
New balance: $461.59
Payment due date: 07/24/17
CARDHOLDER SUMMARY Total Cardmembers:1
Card number ending in
000000 BM 00 A 0
ROBIN DIMAGGIO
INVINCIBLE DIMAGGIO
5737 KANAN R0
#1 117




                                                        Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
AGOURA HILLS CA 91301-1601
How to reach us
www.cltlcards.com
1-866-458-4216 (TTY: 1-800-325-2865)
PO Box 6235 Sioux Falls. SD SHIT-6235
Account Summary
Previous balance -$68.10
Payments/Credits.Ir
Adjustments -$0.00
Purchases +$SZ9.69
Cash advances +5000




                                                                                 Exhibit LLL pt.3 Page 14 of 150
Fees +S0.00
Finance Charges +$0.00
New balance $461.59
Business Credit Line
Revolving Credit Line $7,000
Includes $3.500 cash advance line
Available Revolving
Credit Line $6.538
Includes $3.500 availazle for cash advances
AAdvantage® Miles Reported
to American Airlines:
1,051
Please print Address Changes on the reverse side
Minimum payment due $20.00
Newr balance $461.59
Payment due date 07124l17
Business Account ending in 1114
C:T:BUS|NE55 CARD
PO BOX 78045
Phoenix. AZ 85062-8045




                                                                                         EX. LLL - 213
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ausmcss ACCOUNT SUMMARY
INVINCIBLE DIHAGGIO
Trans. Post
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Transactions
Trans. Post
date date




                                                                                 Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Description
ROBIN D_l__l_ Card member Hiding in M19
Revolving ornpioyoou'odil lino: SAUDI}
Employ“ cash advance lino: $3.509
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Standard Purchases
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www.citlcards.corn Page 2 oi 2
1-366-458-4216 [TTY: 1-800-325-2865)
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Subtotal of Activity In Account Huer “" "“ "u 44“
Account messages
fie-iii
Please note that if we received your pay by phone or online payment between
5 pm. ET and midnight ET on the last day oi
will not be reflected until your next statemen
your billing period. your payment
Please be sure to pay on time. it you submit your payment by mail. we suggest
you mail it no later than UNITED” to allo'lllI enough time for regular mail to
reach us.
American Airlines
AAdvantage"J Miles
Reported:
1,051
Purchase 530
Promotional + 277
Bonus + 277
Accumulated This Month 1.084
» Visit aa.com/aadvantage to
redeem miles and book flights
American Airlines reserves the right to change
the AAdvantagem program and its terms and
conditions at any time without notice. and to
end the AAdvantage® program with six months
notice. Any such changes may affect your
ability to use the awards or mileage credits
that you have accumulated. Unless specified.
AAdvantage’h- miles earned through this
prom otion/offer do not count toward elite-
status qualification or AAdvantage Million
MilerSM status. American Airlines is not
responsible for products or services offered by
other participating companies. For complete
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www.aa.comlaadvantage
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AAdvantage Million Miler are trademarks of
American Airlines. inc.




                                                                                                                  EX. LLL - 214
Account Statement
Send Notice of Billing Errors and Customer Service Inquiries to:
Customer Service:                                   BEST BUY CREDIT SERVICES
PO Box 790441, St. Louis, MO 63179
bestbuy.accountonline.com
Account Inquiries:                                   Account Number: 4269 3800 2234 2756
1-888-574-1301
Summary of Account Activity                                               Payment Information
Previous Balance                                             $0.00         New Balance                                                                $502.85
Payments                                                    -$0.00         Minimum Payment Due                                                         $27.00
Other Credits                                               -$0.00         Payment Due Date                                                 September 13, 2016
Purchases                                                 +$502.85
Cash Advances                                               +$0.00         Late Payment Warning: If we do not receive your minimum payment by the
Fees Charged                                                 +$0.00        date listed above, you may have to pay alate fee up to $37.
Interest Charged                                             +$0.00        Minimum Payment Warning: If you make only the minimum payment each
New Balance                                                $502.85         period, you will pay more in interest and it will take you longer to pay off your




                                                                                                                 Case 1:17-ap-01099-VK                                         Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
balance. For example:
Past Due Amount                                              $0.00            If you make no additional         You will pay off the          And you will
Credit Limit                                           $10,000.00               charges using this card       balance shown on this end up paying an
and each month you pay... statement in about... estimated total of...
Available Credit                                         $9,497.00
Cash Advance Limit                                     $10,000.00            Only the minimum payment                2 years                       $646
Available Cash Limit                                     $9,497.00         If you would like information about credit counseling services, call 1-877-337-8187.
Amount Over Credit Limit                                     $0.00
Statement Closing Date                                 08/19/2016
Next Statement Closing Date                            09/18/2016
Days in Billing Cycle                                            2




                                                                                                                                                                                Exhibit LLL pt.3 Page 16 of 150
275601
Please note that if we received your pay by phone or online payment between 5 p.m. ET and midnight ET on the last day of your billing period, your
payment will not be reflected until your next statement.
Please update your phone number, including cell phone number on the back of the payment coupon.
8 HM 12
PLEASE SEE IMPORTANT INFORMATION ON PAGES 2 AND 4.                  Page 1 of 6                                           This Account is Issued by Citibank, N.A.
ê Please detach and return lower portion with your payment to insure proper credit. Retain upper portion for your records. ê
Your Account Number is 4269 3800 2234 2756
Payment Due Date                               September 13, 2016
PO BOX 6204                                                                                                   New Balance                                            $502.85
SIOUX FALLS, SD 57117-6204
Past Due Amount                                              $0.00
Minimum Payment Due                                        $27.00
Statement Enclosed
Please print address changes on the reverse side.
Make Checks Payable to
BEST BUY CREDIT SERVICES
ROBIN DIMAGGIO                                                                                PO BOX 78009
117                                                                                           PHOENIX, AZ 85062-8009
5737 KANAN RD
AGOURA HILLS, CA 91301-1601
07700 0002700 0050285 0000000 04269380022342756 1212




                                                                                                                                                                                        EX. LLL - 215
Account: **** **** **** 2756
*************************************************************************************************************
Deferred Interest Promotional Offer Update
From time to time, you may be offered special limited time only deferred interest promotional offers.
Deferred interest promotional offers include the following types of offers:
- No Interest if Paid in Full in 6 Months, Monthly Minimum Payments Required
- No Interest if Paid in Full in 12 Months, Monthly Minimum Payments Required
- No Interest if Paid in Full in 18 Months, Monthly Minimum Payments Required
- No Interest if Paid in Full in 24 Months, Monthly Minimum Payments Required
- No Interest if Paid in Full in 36 Months, Monthly Minimum Payments Required
- No Interest if Paid in Full in 48 Months, Monthly Minimum Payments Required
- No Interest if Paid in Full in 60 Months, Monthly Minimum Payments Required
- No Interest if Paid in Full by a specified date, Minimum Monthly Payments Required
If the balance is not paid in full by the end of the promotional period, interest charges will be imposed from the purchase date at the variable purchase rate
on your account which is 25.49% APR. Variable APRs are as of August 1, 2016 and will vary with the market based on the Prime Rate.
These offers are not available all the time and may be limited to specific merchandise and/or have minimum payment and purchase requirements as




                                                                                                                Case 1:17-ap-01099-VK                                   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
disclosed in the offer.
Your card agreement, the terms of the offer and applicable law govern these transactions including increasing APRs and fees and termination of the
promotional period.
If you have any questions regarding this letter, please contact us at 1-866-533-2468.
*************************************************************************************************************
TRANSACTIONS
275602
Trans Date Description                                                                                           Reference #                          Amount
08/18         BEST BUY, THOUSAND OAKS, CA                                                                        *0100112160818006001623              $      502.85
INTERACTIVE SOFTWARE
FEES




                                                                                                                                                                         Exhibit LLL pt.3 Page 17 of 150
TOTAL FEES FOR THIS PERIOD                                                                                                                $           0.00
INTEREST CHARGED
TOTAL INTEREST FOR THIS PERIOD                                                                                                            $           0.00
2016 Totals Year-to-Date
Total Fees Charged in 2016                                     $0.00
Total Interest Charged in 2016                                 $0.00
ACTIVITY AND PROMOTIONS DETAIL
Original                                              Purchases,
Promotion Promotion                           Payments Cash Adv,                                          Promotion Deferred                  Promotion
Trans      Trans             Previous        & Other   Fees &                 Interest         New       Minimum Interest                   Expiration
Amount      Date              Balance         Credits Other Debits             Charged         Balance Payment Due Charges                      Date
PURCHASES
REGULAR
-        -                 -               -          $502.85             -            $502.85             -              -              -
CASH ADVANCES
REGULAR
-        -                 -               -              -               -                 -              -              -              -
TOTAL                                          $0.00           $0.00          $502.85          $0.00           $502.85           $0.00        $0.00
INTEREST CHARGE CALCULATION                                                            Your Annual Percentage Rate (APR) is the annual interest rate on your account.
Type of Balance                                           Annual Percentage Rate (APR)                Balance Subject to Interest Rate          Interest Charge
PURCHASES
REGULAR                                                            25.49% (M)(V)                                       $0.00                             $0.00
CASH ADVANCES
REGULAR                                                            28.24% (M)(V)                                       $0.00                             $0.00
(V) = Variable Rate
Page 3 of 6




                                                                                                                                                                                 EX. LLL - 216
Account Statement
Send Notice of Billing Errors and Customer Service Inquiries to:
Customer Service:                                   BEST BUY CREDIT SERVICES
PO Box 790441, St. Louis, MO 63179
bestbuy.accountonline.com
Account Inquiries:                                   Account Number: 4269 3800 2234 2756
1-888-574-1301
Summary of Account Activity                                                Payment Information
Previous Balance                                          $502.85           New Balance                                                                    $70.61
Payments                                               -$2,600.00           Minimum Payment Due                                                            $27.00
Other Credits                                              -$0.00           Payment Due Date                                                      October 13, 2016
Purchases                                              +$2,167.76
Cash Advances                                              +$0.00           Late Payment Warning: If we do not receive your minimum payment by the
Fees Charged                                                +$0.00          date listed above, you may have to pay alate fee up to $37.
Interest Charged                                            +$0.00          Minimum Payment Warning: If you make only the minimum payment each
New Balance                                                $70.61           period, you will pay more in interest and it will take you longer to pay off your




                                                                                                                  Case 1:17-ap-01099-VK                                                Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
balance. For example:
Past Due Amount                                             $0.00              If you make no additional         You will pay off the           And you will
Credit Limit                                           $10,000.00                charges using this card       balance shown on this end up paying an
and each month you pay... statement in about... estimated total of...
Available Credit                                        $9,929.00
Cash Advance Limit                                        $200.00             Only the minimum payment                3 months                         $73
Available Cash Limit                                      $200.00           If you would like information about credit counseling services, call 1-877-337-8187.
Amount Over Credit Limit                                    $0.00
Statement Closing Date                                 09/18/2016
Next Statement Closing Date                            10/19/2016
Days in Billing Cycle                                          30




                                                                                                                                                                                        Exhibit LLL pt.3 Page 18 of 150
275601
Please update your phone number, including cell phone number on the back of the payment coupon.
TRANSACTIONS
Trans Date Description                                                                                           Reference #                                    Amount
08/24          BEST BUY, THOUSAND OAKS, CA                                                                       *0100112160824033002138                        $        2,167.76
APPLIANCE
09/01          PAYMENT - THANK YOU                                                                               7426937L609A23DW2                              $        2,600.00-
8 HM 12
PLEASE SEE IMPORTANT INFORMATION ON PAGES 2 AND 4.                   Page 1 of 6                                            This Account is Issued by Citibank, N.A.
ê Please detach and return lower portion with your payment to insure proper credit. Retain upper portion for your records. ê
Your Account Number is 4269 3800 2234 2756
Payment Due Date                                     October 13, 2016
PO BOX 6204                                                                                                    New Balance                                                    $70.61
SIOUX FALLS, SD 57117-6204
Past Due Amount                                                 $0.00
Minimum Payment Due                                           $27.00
Statement Enclosed
Please print address changes on the reverse side.
Make Checks Payable to
BEST BUY CREDIT SERVICES
ROBIN DIMAGGIO                                                                                 PO BOX 78009
117                                                                                            PHOENIX, AZ 85062-8009
5737 KANAN RD
AGOURA HILLS, CA 91301-1601
07726 0002700 0007061 0260000 04269380022342756 1216




                                                                                                                                                                                                EX. LLL - 217
Account: **** **** **** 2756
TRANSACTIONS (cont.)
Trans Date Description                                                                                    Reference #                           Amount
FEES
TOTAL FEES FOR THIS PERIOD                                                                                                           $           0.00
INTEREST CHARGED
TOTAL INTEREST FOR THIS PERIOD                                                                                                       $           0.00
2016 Totals Year-to-Date
Total Fees Charged in 2016                              $0.00
Total Interest Charged in 2016                          $0.00
ACTIVITY AND PROMOTIONS DETAIL
Original                                          Purchases,
Promotion Promotion                       Payments Cash Adv,                                         Promotion Deferred                  Promotion
Trans     Trans          Previous        & Other    Fees &              Interest           New      Minimum Interest                   Expiration
Amount      Date          Balance         Credits Other Debits           Charged           Balance Payment Due Charges                     Date
PURCHASES




                                                                                                                    Case 1:17-ap-01099-VK                         Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
REGULAR
-     -            $502.85    $2,600.00-     $2,167.76              -              $70.61             -              -             -
CASH ADVANCES
REGULAR
-     -               -            -              -                 -                 -               -              -             -
275602
TOTAL                                      $502.85    $2,600.00-      $2,167.76           $0.00           $70.61           $0.00        $0.00
INTEREST CHARGE CALCULATION                                                      Your Annual Percentage Rate (APR) is the annual interest rate on your account.
Type of Balance                                       Annual Percentage Rate (APR)              Balance Subject to Interest Rate          Interest Charge
PURCHASES
REGULAR                                                       25.49% (M)(V)                                      $0.00                             $0.00




                                                                                                                                                                   Exhibit LLL pt.3 Page 19 of 150
CASH ADVANCES
REGULAR                                                       28.24% (M)(V)                                      $0.00                             $0.00
(V) = Variable Rate
Page 3 of 6




                                                                                                                                                                           EX. LLL - 218
Account Statement
Send Notice of Billing Errors and Customer Service Inquiries to:
Customer Service:                                    BEST BUY CREDIT SERVICES
PO Box 790441, St. Louis, MO 63179
bestbuy.accountonline.com
Account Inquiries:                                    Account Number: 4269 3800 2234 2756
1-888-574-1301
Summary of Account Activity                                                Payment Information
Previous Balance                                            $70.61          New Balance                                                                  $0.00
Payments                                                  -$581.55          Minimum Payment Due                                                          $0.00
Other Credits                                              -$47.96          Payment Due Date                                                 November 13, 2016
Purchases                                                 +$558.90
Cash Advances                                               +$0.00          Late Payment Warning: If we do not receive your minimum payment by the
Fees Charged                                                 +$0.00         date listed above, you may have to pay alate fee up to $37.
Interest Charged                                             +$0.00         If you would like information about credit counseling services, call 1-877-337-8187.
New Balance                                                  $0.00




                                                                                                                 Case 1:17-ap-01099-VK                                           Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Past Due Amount                                              $0.00
Credit Limit                                            $10,000.00
Available Credit                                        $10,000.00
Cash Advance Limit                                         $200.00
Available Cash Limit                                       $200.00
Amount Over Credit Limit                                     $0.00
Statement Closing Date                                  10/19/2016
Next Statement Closing Date                             11/18/2016
Days in Billing Cycle                                           31
275601
Please update your phone number, including cell phone number on the back of the payment coupon.




                                                                                                                                                                                  Exhibit LLL pt.3 Page 20 of 150
TRANSACTIONS
Trans Date Description                                                                                          Reference #                                   Amount
09/21          BEST BUY, THOUSAND OAKS, CA                                                                      *0100112160921064005729                       $        558.90
COMPUTERS
09/21          BEST BUY, THOUSAND OAKS, CA                                                                      *0100112160921064005730                       $        47.96-
COMPUTERS
10/05          PAY-BY-PHONE PAYMENT DEERFIELD IL                                                                7426937M7EYB3AQHV                             $        581.55-
HM 12
PLEASE SEE IMPORTANT INFORMATION ON PAGES 2 AND 4.                   Page 1 of 6                                          This Account is Issued by Citibank, N.A.
ê Please detach and return lower portion with your payment to insure proper credit. Retain upper portion for your records. ê
Your Account Number is 4269 3800 2234 2756
Payment Due Date                                 November 13, 2016
PO BOX 6204                                                                                                   New Balance                                               $0.00
SIOUX FALLS, SD 57117-6204
Past Due Amount                                              $0.00
Minimum Payment Due                                          $0.00
Statement Enclosed
Please print address changes on the reverse side.
Make Checks Payable to
BEST BUY CREDIT SERVICES
ROBIN DIMAGGIO                                                                                PO BOX 78009
117                                                                                           PHOENIX, AZ 85062-8009
5737 KANAN RD
AGOURA HILLS, CA 91301-1601
07700 0000000 0000000 0058155 04269380022342756 1218




                                                                                                                                                                                          EX. LLL - 219
Account: **** **** **** 2756
TRANSACTIONS (cont.)
Trans Date Description                                                                                Reference #                            Amount
FEES
TOTAL FEES FOR THIS PERIOD                                                                                                        $           0.00
INTEREST CHARGED
TOTAL INTEREST FOR THIS PERIOD                                                                                                    $           0.00
2016 Totals Year-to-Date
Total Fees Charged in 2016                            $0.00
Total Interest Charged in 2016                        $0.00
ACTIVITY AND PROMOTIONS DETAIL
Original                                        Purchases,
Promotion Promotion                     Payments Cash Adv,                                       Promotion Deferred                   Promotion
Trans     Trans          Previous      & Other    Fees &             Interest          New      Minimum Interest                    Expiration
Amount      Date          Balance       Credits Other Debits          Charged          Balance Payment Due Charges                      Date
PURCHASES




                                                                                                                   Case 1:17-ap-01099-VK                       Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
REGULAR
-     -            $70.61     $629.51-      $558.90               -                -              -              -              -
CASH ADVANCES
REGULAR
-     -              -            -             -                 -                -              -              -              -
275602
TOTAL                                     $70.61     $629.51-       $558.90           $0.00            $0.00           $0.00         $0.00
INTEREST CHARGE CALCULATION                                                   Your Annual Percentage Rate (APR) is the annual interest rate on your account.
Type of Balance                                     Annual Percentage Rate (APR)            Balance Subject to Interest Rate           Interest Charge
PURCHASES
REGULAR                                                     25.49% (M)(V)                                    $0.00                              $0.00




                                                                                                                                                                Exhibit LLL pt.3 Page 21 of 150
CASH ADVANCES
REGULAR                                                     28.24% (M)(V)                                    $0.00                              $0.00
(V) = Variable Rate
Page 3 of 6




                                                                                                                                                                        EX. LLL - 220
Account Statement
Send Notice of Billing Errors and Customer Service Inquiries to:
Customer Service:                                   BEST BUY CREDIT SERVICES
PO Box 790441, St. Louis, MO 63179
bestbuy.accountonline.com
Account Inquiries:                                   Account Number: 4269 3800 2234 2756
1-888-574-1301
Summary of Account Activity                                               Payment Information
Previous Balance                                            $0.00          New Balance                                                                  $0.00
Payments                                                 -$315.64          Minimum Payment Due                                                          $0.00
Other Credits                                            -$991.88          Payment Due Date                                                 December 13, 2016
Purchases                                              +$1,307.52
Cash Advances                                              +$0.00          Late Payment Warning: If we do not receive your minimum payment by the
Fees Charged                                                +$0.00         date listed above, you may have to pay alate fee up to $37.
Interest Charged                                            +$0.00         If you would like information about credit counseling services, call 1-877-337-8187.
New Balance                                                 $0.00




                                                                                                                Case 1:17-ap-01099-VK                                             Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Past Due Amount                                             $0.00
Credit Limit                                           $10,000.00
Available Credit                                       $10,000.00
Cash Advance Limit                                        $200.00
Available Cash Limit                                      $200.00
Amount Over Credit Limit                                    $0.00
Statement Closing Date                                 11/18/2016
Next Statement Closing Date                            12/19/2016
Days in Billing Cycle                                          30
275601
Please update your phone number, including cell phone number on the back of the payment coupon.




                                                                                                                                                                                   Exhibit LLL pt.3 Page 22 of 150
TRANSACTIONS
Trans Date Description                                                                                         Reference #                                   Amount
11/09          T-MOBILE #1704 WOODLAND HILL CA                                                                 7473309NBBLJPWSBF                             $           43.59-
11/09          T-MOBILE #1704 WOODLAND HILL CA                                                                 7473309NBBLJPWSB7                             $          948.29-
11/09          BEST BUY, CANOGA PARK, CA                                                                       *0100116161109060009582                       $        1,307.52
HM 12
PLEASE SEE IMPORTANT INFORMATION ON PAGE 2.                         Page 1 of 8                                          This Account is Issued by Citibank, N.A.
ê Please detach and return lower portion with your payment to insure proper credit. Retain upper portion for your records. ê
Your Account Number is 4269 3800 2234 2756
Payment Due Date                                December 13, 2016
PO BOX 6204                                                                                                  New Balance                                                 $0.00
SIOUX FALLS, SD 57117-6204
Past Due Amount                                             $0.00
Minimum Payment Due                                         $0.00
Statement Enclosed
Please print address changes on the reverse side.
Make Checks Payable to
BEST BUY CREDIT SERVICES
ROBIN DIMAGGIO                                                                               PO BOX 78009
117                                                                                          PHOENIX, AZ 85062-8009
5737 KANAN RD
AGOURA HILLS, CA 91301-1601
07700 0000000 0000000 0031564 04269380022342756 1210




                                                                                                                                                                                           EX. LLL - 221
Account: **** **** **** 2756
TRANSACTIONS (cont.)
Trans Date Description                                                                                Reference #                            Amount
DIGITAL COMMUNICATIO
11/18         PAY-BY-PHONE PAYMENT DEERFIELD IL                                                       7426937NKEYB1D5LT                      $      315.64-
FEES
TOTAL FEES FOR THIS PERIOD                                                                                                       $           0.00
INTEREST CHARGED
TOTAL INTEREST FOR THIS PERIOD                                                                                                   $           0.00
2016 Totals Year-to-Date
Total Fees Charged in 2016                            $0.00
Total Interest Charged in 2016                        $0.00
ACTIVITY AND PROMOTIONS DETAIL
Original                                        Purchases,
Promotion Promotion                     Payments Cash Adv,                                      Promotion Deferred                   Promotion
Trans     Trans          Previous      & Other    Fees &            Interest          New      Minimum Interest                    Expiration




                                                                                                                   Case 1:17-ap-01099-VK                       Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Amount      Date          Balance       Credits Other Debits         Charged          Balance Payment Due Charges                      Date
PURCHASES
REGULAR
-     -              -      $1,307.52-     $1,307.52             -                -              -              -              -
CASH ADVANCES
275602
REGULAR
-     -              -           -              -                -                -              -              -              -
TOTAL                                       $0.00    $1,307.52-    $1,307.52          $0.00            $0.00           $0.00         $0.00
INTEREST CHARGE CALCULATION                                                   Your Annual Percentage Rate (APR) is the annual interest rate on your account.
Type of Balance                                      Annual Percentage Rate (APR)           Balance Subject to Interest Rate           Interest Charge




                                                                                                                                                                Exhibit LLL pt.3 Page 23 of 150
PURCHASES
REGULAR                                                     25.49% (M)(V)                                    $0.00                              $0.00
CASH ADVANCES
REGULAR                                                     28.24% (M)(V)                                    $0.00                              $0.00
(V) = Variable Rate
Page 3 of 8




                                                                                                                                                                        EX. LLL - 222
Account Statement
Send Notice of Billing Errors and Customer Service Inquiries to:
Customer Service:                                   HOME DEPOT CREDIT SERVICES
PO Box 790328, St. Louis, MO 63179
homedepot.com/mycard
Account Inquiries:                                   Account Number: 6035 3202 6804 4920
1-800-677-0232
Summary of Account Activity                                               Payment Information
Previous Balance                                             $0.00         New Balance                                                                  $187.69
Payments                                                    -$0.00         Minimum Payment Due                                                           $25.00
Other Credits                                              -$86.77         Payment Due Date                                                    September 4, 2015
Purchases                                                 +$274.46         Late Payment Warning: If we do not receive your minimum payment by the
Fees Charged                                                 +$0.00        date listed above, you may have to pay a late fee up to $35.
Interest Charged                                             +$0.00        Minimum Payment Warning: If you make only the minimum payment each
New Balance                                                $187.69         period, you will pay more in interest and it will take you longer to pay off your
balance. For example:




                                                                                                                  Case 1:17-ap-01099-VK                                          Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Past Due Amount                                              $0.00             If you make no additional         You will pay off the          And you will
Credit Limit                                             $4,000.00              charges using this card       balance shown on this end up paying an
and each month you pay... statement in about... estimated total of...
Available Credit                                         $3,812.00
Amount Over Credit Limit                                     $0.00          Only the minimum payment                 9 months                       $207
Statement Closing Date                                 08/07/2015          If you would like information about credit counseling services, call 1-877-337-8187.
Next Statement Closing Date                            09/07/2015
Days in Billing Cycle                                           30
Your Minimum Payment Due is $25.00. If you paid your non-promotional (revolving) balances and any expiring promotional balances in full on your last
statement, you can avoid interest charges on any new non-promotional (revolving) balances and any expiring promotional balances if you pay $187.69 by
09/04/15. Otherwise, interest will accrue from your statement closing date until we receive your payment. The _How to Avoid Paying Interest on Purchases_




                                                                                                                                                                                  Exhibit LLL pt.3 Page 24 of 150
section on page 2 has more information.
Please update your phone number, including cell phone number on the back of the payment coupon.
Please note that if we received your pay by phone or online payment between 5 p.m. ET and midnight ET on the last day of your billing period, your
payment will not be reflected until your next statement.
TRANSACTIONS
Trans Date Description                                                                                           Reference #                                   Amount
07/24        THE HOME DEPOT THOUSAND OAKS CA                                                                     9260093                                       $        274.46
SEASONAL/GARDEN
08/02        THE HOME DEPOT WOODLAND HLS CA                                                                      0244204                                       $        86.77-
SEASONAL/GARDEN
8 HD 3
PLEASE SEE IMPORTANT INFORMATION ON PAGES 2 AND 4.                  Page 1 of 6                                            This Account is Issued by Citibank, N.A.
ê Please detach and return lower portion with your payment to insure proper credit. Retain upper portion for your records. ê
Your Account Number is 6035 3202 6804 4920
Payment Due Date                                 September 4, 2015
New Balance                                                $187.69
Past Due Amount                                               $0.00
Minimum Payment Due                                         $25.00
Statement Enclosed
Please print address changes on the reverse side.
Make Checks Payable to
HOME DEPOT CREDIT SERVICES
ROBIN CHRISTIAN DIMAGGIO                                                                       PROCESSING CENTER
5737 KANAN RD # 117                                                                            DES MOINES IA 50364-0500
AGOURA HILLS, CA 91301-1601
03000 0002500 0018769 0037409 06035320268044920 0313




                                                                                                                                                                                          EX. LLL - 223
Account: **** **** **** 4920
TRANSACTIONS (cont.)
Trans Date Description                                                           Reference #                           Amount
FEES
TOTAL FEES FOR THIS PERIOD                                                                                  $         0.00
INTEREST CHARGED
TOTAL INTEREST FOR THIS PERIOD                                                                              $         0.00
2015 Totals Year-to-Date
Total Fees Charged in 2015          $0.00
Total Interest Charged in 2015      $0.00
INTEREST CHARGE CALCULATION                               Your Annual Percentage Rate (APR) is the annual interest rate on your account.
Type of Balance                  Annual Percentage Rate (APR)        Balance Subject to Interest Rate             Interest Charge
PURCHASES
Revolving Balance                      25.99% (M)                                      $0.00                              $0.00
Page 3 of 6




                                                                                                  Case 1:17-ap-01099-VK                    Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                                                                                                                                            Exhibit LLL pt.3 Page 25 of 150




                                                                                                                                                    EX. LLL - 224
Account Statement
Send Notice of Billing Errors and Customer Service Inquiries to:
Customer Service:                                   HOME DEPOT CREDIT SERVICES
PO Box 790328, St. Louis, MO 63179
homedepot.com/mycard
Account Inquiries:                                   Account Number: 6035 3202 6804 4920
1-800-677-0232
Summary of Account Activity                                                Payment Information
Previous Balance                                           $187.69          New Balance                                                                     $0.00
Payments                                                  -$187.69          Minimum Payment Due                                                             $0.00
Other Credits                                               -$0.00          Payment Due Date                                                      October 4, 2015
Purchases                                                   +$0.00          Late Payment Warning: If we do not receive your minimum payment by the
Fees Charged                                                +$0.00          date listed above, you may have to pay a late fee up to $35.
Interest Charged                                            +$0.00          If you would like information about credit counseling services, call 1-877-337-8187.
New Balance                                                 $0.00
Past Due Amount                                             $0.00




                                                                                                                 Case 1:17-ap-01099-VK                                           Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Credit Limit                                            $4,000.00
Available Credit                                        $4,000.00
Amount Over Credit Limit                                    $0.00
Statement Closing Date                                 09/07/2015
Next Statement Closing Date                            10/08/2015
Days in Billing Cycle                                          31
Please update your phone number, including cell phone number on the back of the payment coupon.
TRANSACTIONS
Trans Date Description                                                                                          Reference #                                   Amount
08/13        PAY-BY-PHONE PAYMENT DEERFIELD IL                                                                  P91940072ETFHFGQZ                             $        187.69-
FEES




                                                                                                                                                                                  Exhibit LLL pt.3 Page 26 of 150
TOTAL FEES FOR THIS PERIOD                                                                                                                        $            0.00
INTEREST CHARGED
TOTAL INTEREST FOR THIS PERIOD                                                                                                                    $            0.00
5 HD 3
PLEASE SEE IMPORTANT INFORMATION ON PAGES 2 AND 4.                   Page 1 of 6                                          This Account is Issued by Citibank, N.A.
ê Please detach and return lower portion with your payment to insure proper credit. Retain upper portion for your records. ê
Your Account Number is 6035 3202 6804 4920
Payment Due Date                                     October 4, 2015
New Balance                                                    $0.00
Past Due Amount                                                $0.00
Minimum Payment Due                                            $0.00
Statement Enclosed
Please print address changes on the reverse side.
Make Checks Payable to
HOME DEPOT CREDIT SERVICES
ROBIN CHRISTIAN DIMAGGIO                                                                       PO BOX 78011
5737 KANAN RD # 117                                                                            PHOENIX, AZ 85062-8011
AGOURA HILLS, CA 91301-1601
03000 0000000 0000000 0018769 06035320268044920 0316




                                                                                                                                                                                          EX. LLL - 225
Account: **** **** **** 4920
2015 Totals Year-to-Date
Total Fees Charged in 2015            $0.00
Total Interest Charged in 2015        $0.00
INTEREST CHARGE CALCULATION                               Your Annual Percentage Rate (APR) is the annual interest rate on your account.
Type of Balance                  Annual Percentage Rate (APR)        Balance Subject to Interest Rate             Interest Charge
PURCHASES
Revolving Balance                      25.99% (M)                                      $0.00                              $0.00
Page 3 of 6




                                                                                                    Case 1:17-ap-01099-VK                  Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                                                                                                                                            Exhibit LLL pt.3 Page 27 of 150




                                                                                                                                                    EX. LLL - 226
Account Statement
Send Notice of Billing Errors and Customer Service Inquiries to:
Customer Service:                                   HOME DEPOT CREDIT SERVICES
PO Box 790328, St. Louis, MO 63179
homedepot.com/mycard
Account Inquiries:                                   Account Number: 6035 3202 6804 4920
1-800-677-0232
Summary of Account Activity                                               Payment Information
Previous Balance                                            $0.00          New Balance                                                                   $0.00
Payments                                                 -$745.54          Minimum Payment Due                                                           $0.00
Other Credits                                              -$0.00          Payment Due Date                                                   November 4, 2015
Purchases                                                +$745.54          Late Payment Warning: If we do not receive your minimum payment by the
Fees Charged                                                +$0.00         date listed above, you may have to pay a late fee up to $35.
Interest Charged                                            +$0.00         If you would like information about credit counseling services, call 1-877-337-8187.
New Balance                                                 $0.00
Past Due Amount                                             $0.00




                                                                                                                Case 1:17-ap-01099-VK                                           Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Credit Limit                                            $4,000.00
Available Credit                                        $4,000.00
Amount Over Credit Limit                                    $0.00
Statement Closing Date                                 10/08/2015
Next Statement Closing Date                            11/06/2015
Days in Billing Cycle                                          31
Please update your phone number, including cell phone number on the back of the payment coupon.
TRANSACTIONS
Trans Date Description                                                                                         Reference #                                   Amount
09/13        THE HOME DEPOT WEST HILLS CA                                                                      8021679                                       $        548.04
BUILDING MATERIALS MILLWORK LUMBER ELECTRICAL AND LIGHTING




                                                                                                                                                                                 Exhibit LLL pt.3 Page 28 of 150
SEASONAL/GARDEN
09/20        THE HOME DEPOT WEST HILLS CA                                                                      1061524                                       $        197.50
BUILDING MATERIALS ELECTRICAL AND LIGHTING SEASONAL/GARDEN
10/02        PAY-BY-PHONE PAYMENT DEERFIELD IL                                                                 P9194008METFHEMBX                             $        745.54-
FEES
TOTAL FEES FOR THIS PERIOD                                                                                                                       $            0.00
INTEREST CHARGED
TOTAL INTEREST FOR THIS PERIOD                                                                                                                   $            0.00
HD 3
PLEASE SEE IMPORTANT INFORMATION ON PAGES 2 AND 4.                  Page 1 of 6                                          This Account is Issued by Citibank, N.A.
ê Please detach and return lower portion with your payment to insure proper credit. Retain upper portion for your records. ê
Your Account Number is 6035 3202 6804 4920
Payment Due Date                                  November 4, 2015
New Balance                                                  $0.00
Past Due Amount                                              $0.00
PO Box 78011
Phoenix, AZ 85062-8011                            Minimum Payment Due                                          $0.00
Statement Enclosed
Please print address changes on the reverse side.
Make Checks Payable to
HOME DEPOT CREDIT SERVICES
ROBIN CHRISTIAN DIMAGGIO                                                                      PO BOX 78011
5737 KANAN RD # 117                                                                           PHOENIX, AZ 85062-8011
AGOURA HILLS, CA 91301-1601
03000 0000000 0000000 0074554 06035320268044920 0318




                                                                                                                                                                                         EX. LLL - 227
Account: **** **** **** 4920
2015 Totals Year-to-Date
Total Fees Charged in 2015            $0.00
Total Interest Charged in 2015        $0.00
INTEREST CHARGE CALCULATION                               Your Annual Percentage Rate (APR) is the annual interest rate on your account.
Type of Balance                  Annual Percentage Rate (APR)        Balance Subject to Interest Rate             Interest Charge
PURCHASES
Revolving Balance                      25.99% (M)                                      $0.00                              $0.00
Page 3 of 6




                                                                                                    Case 1:17-ap-01099-VK                  Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                                                                                                                                            Exhibit LLL pt.3 Page 29 of 150




                                                                                                                                                    EX. LLL - 228
Account Statement
Send Notice of Billing Errors and Customer Service Inquiries to:
Customer Service:                                   HOME DEPOT CREDIT SERVICES
PO Box 790328, St. Louis, MO 63179
homedepot.com/mycard
Account Inquiries:                                   Account Number: 6035 3202 6804 4920
1-800-677-0232
Summary of Account Activity                                                 Payment Information
Previous Balance                                              $0.00          New Balance                                                                   $39.07CR
Payments                                                     -$0.00          Minimum Payment Due                                                             $0.00
Other Credits                                               -$82.80          Payment Due Date                                                      January 4, 2016
Purchases                                                   +$43.73          Late Payment Warning: If we do not receive your minimum payment by the
Fees Charged                                                 +$0.00          date listed above, you may have to pay a late fee up to $35.
Interest Charged                                             +$0.00          If you would like information about credit counseling services, call 1-877-337-8187.
New Balance                                                 $39.07CR
Past Due Amount                                              $0.00




                                                                                                                  Case 1:17-ap-01099-VK                                          Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Credit Limit                                            $4,000.00
Available Credit                                         $3,853.00
Amount Over Credit Limit                                     $0.00
Statement Closing Date                                 12/08/2015
Next Statement Closing Date                            01/08/2016
Days in Billing Cycle                                           32
Your account has a credit balance that is owed to you. You may make charges against it if your account is open. We will send you a refund of any
remaining balance of $1.00 or more after the balance has been on your account for 90 days or upon request made to the customer service address or
phone number above.
Please update your phone number, including cell phone number on the back of the payment coupon.
Please note that if we received your pay by phone or online payment between 5 p.m. ET and midnight ET on the last day of your billing period, your




                                                                                                                                                                                  Exhibit LLL pt.3 Page 30 of 150
payment will not be reflected until your next statement.
TRANSACTIONS
Trans Date Description                                                                                           Reference #                                   Amount
11/25        THE HOME DEPOT WEST HILLS CA                                                                        5150009                                       $        82.80-
ELECTRICAL AND LIGHTING
11/25        THE HOME DEPOT WEST HILLS CA                                                                        5074002                                       $        43.73
SEASONAL/GARDEN FEES
HD 3
PLEASE SEE IMPORTANT INFORMATION ON PAGES 2 AND 4.                    Page 1 of 6                                          This Account is Issued by Citibank, N.A.
ê Please detach and return lower portion with your payment to insure proper credit. Retain upper portion for your records. ê
Your Account Number is 6035 3202 6804 4920
Payment Due Date                                     January 4, 2016
New Balance                                               $39.07 CR
Past Due Amount                                                 $0.00
Minimum Payment Due                                             $0.00
Statement Enclosed
Please print address changes on the reverse side.
Make Checks Payable to
HOME DEPOT CREDIT SERVICES
ROBIN CHRISTIAN DIMAGGIO                                                                        PO BOX 78011
5737 KANAN RD # 117                                                                             PHOENIX, AZ 85062-8011
AGOURA HILLS, CA 91301-1601
03000 0000000 0000000 0074554 06035320268044920 0318




                                                                                                                                                                                          EX. LLL - 229
Account: **** **** **** 4920
TRANSACTIONS (cont.)
Trans Date Description                                                                               Reference #                            Amount
FEES
TOTAL FEES FOR THIS PERIOD                                                                                                       $            0.00
INTEREST CHARGED
TOTAL INTEREST FOR THIS PERIOD                                                                                                   $            0.00
2015 Totals Year-to-Date
Total Fees Charged in 2015                              $0.00
Total Interest Charged in 2015                          $0.00
ACTIVITY AND PROMOTIONS DETAIL
Original
Promotion Promotion                     Payments Purchases,                                      Promotion Deferred                    Promotion
Trans     Trans        Previous        & Other   Fees &                 Interest       New      Minimum Interest                     Expiration
Amount      Date         Balance        Credits Other Debits             Charged       Balance Payment Due Charges                       Date
PURCHASES




                                                                                                                      Case 1:17-ap-01099-VK                    Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Revolving Balance
-       -              -           $82.80-        $43.73             -             $39.07-          -               -              -
TOTAL                                        $0.00       $82.80-    $43.73           $0.00            $39.07-         $0.00          $0.00
INTEREST CHARGE CALCULATION                                                   Your Annual Percentage Rate (APR) is the annual interest rate on your account.
Type of Balance                                      Annual Percentage Rate (APR)          Balance Subject to Interest Rate            Interest Charge
PURCHASES
Revolving Balance                                          25.99% (M)                                      $0.00                               $0.00
Page 3 of 6




                                                                                                                                                                Exhibit LLL pt.3 Page 31 of 150




                                                                                                                                                                        EX. LLL - 230
Account Statement
Send Notice of Billing Errors and Customer Service Inquiries to:
Customer Service:                                   HOME DEPOT CREDIT SERVICES
PO Box 790328, St. Louis, MO 63179
homedepot.com/mycard
Account Inquiries:                                   Account Number: 6035 3202 6804 4920
1-800-677-0232
Summary of Account Activity                                                 Payment Information
Previous Balance                                            $39.07CR         New Balance                                                                   $107.99
Payments                                                    -$0.00           Minimum Payment Due                                                            $25.00
Other Credits                                               -$0.00           Payment Due Date                                                      February 4, 2016
Purchases                                                 +$147.06           Late Payment Warning: If we do not receive your minimum payment by the
Fees Charged                                                 +$0.00          date listed above, you may have to pay a late fee up to $35.
Interest Charged                                             +$0.00          Minimum Payment Warning: If you make only the minimum payment each
New Balance                                                $107.99           period, you will pay more in interest and it will take you longer to pay off your
balance. For example:




                                                                                                                  Case 1:17-ap-01099-VK                                Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Past Due Amount                                              $0.00              If you make no additional         You will pay off the          And you will
Credit Limit                                             $4,000.00                charges using this card       balance shown on this end up paying an
and each month you pay... statement in about... estimated total of...
Available Credit                                         $3,892.00
Amount Over Credit Limit                                     $0.00            Only the minimum payment                5 months                       $114
Statement Closing Date                                 01/08/2016            If you would like information about credit counseling services, call 1-877-337-8187.
Next Statement Closing Date                            02/05/2016
Days in Billing Cycle                                           31
Your Minimum Payment Due is $25.00. If you paid your non-promotional (revolving) balances and any expiring promotional balances in full on your last
statement, you can avoid interest charges on any new non-promotional (revolving) balances and any expiring promotional balances if you pay $107.99 by
02/04/16. Otherwise, interest will accrue from your statement closing date until we receive your payment. The _How to Avoid Paying Interest on Purchases_




                                                                                                                                                                        Exhibit LLL pt.3 Page 32 of 150
section on page 2 has more information.
Beginning early 2016, cash payments made in-store at The Home Depot for Home Depot Credit Card account balances will be limited to a maximum
amount of $3,000 per day. For your convenience and security, if you wish to make payments for any amount, including amounts greater than $3,000, you
are welcome to do so via check or ATM/debit cards. Please also remember you can pay your account online using our pay now feature, set up reoccurring
payments, set account alerts, and access other valuable account features at www.myhomedepotaccount.com.
Please update your phone number, including cell phone number on the back of the payment coupon.
Please note that if we received your pay by phone or online payment between 5 p.m. ET and midnight ET on the last day of your billing period, your
payment will not be reflected until your next statement.
8 HD 3
PLEASE SEE IMPORTANT INFORMATION ON PAGES 2 AND 4.                    Page 1 of 6                                           This Account is Issued by Citibank, N.A.
ê Please detach and return lower portion with your payment to insure proper credit. Retain upper portion for your records. ê
Your Account Number is 6035 3202 6804 4920
Payment Due Date                                    February 4, 2016
New Balance                                                  $107.99
Past Due Amount                                                 $0.00
Minimum Payment Due                                           $25.00
Statement Enclosed
Please print address changes on the reverse side.
Make Checks Payable to
HOME DEPOT CREDIT SERVICES
ROBIN CHRISTIAN DIMAGGIO                                                                         PO BOX 78011
5737 KANAN RD # 117                                                                              PHOENIX, AZ 85062-8011
AGOURA HILLS, CA 91301-1601
03000 0002500 0010799 0074554 06035320268044920 0314




                                                                                                                                                                                EX. LLL - 231
Account: **** **** **** 4920
TRANSACTIONS
Trans Date Description                                                                                   Reference #                            Amount
12/08       THE HOME DEPOT WEST HILLS CA                                                                 2063941                                $      147.06
HARDWARE PAINT SEASONAL/GARDEN FEES
FEES
TOTAL FEES FOR THIS PERIOD                                                                                                           $            0.00
INTEREST CHARGED
TOTAL INTEREST FOR THIS PERIOD                                                                                                       $            0.00
2016 Totals Year-to-Date
Total Fees Charged in 2016                               $0.00
Total Interest Charged in 2016                           $0.00
ACTIVITY AND PROMOTIONS DETAIL
Original
Promotion Promotion                       Payments Purchases,                                        Promotion Deferred                   Promotion
Trans      Trans        Previous         & Other    Fees &              Interest           New      Minimum Interest                    Expiration




                                                                                                                     Case 1:17-ap-01099-VK                        Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Amount      Date         Balance          Credits Other Debits            Charged          Balance Payment Due Charges                      Date
PURCHASES
Revolving Balance
-        -             $39.07-        -           $147.06               -             $107.99            -              -              -
TOTAL                                     $39.07-         $0.00      $147.06             $0.00          $107.99           $0.00         $0.00
INTEREST CHARGE CALCULATION                                                      Your Annual Percentage Rate (APR) is the annual interest rate on your account.
Type of Balance                                      Annual Percentage Rate (APR)              Balance Subject to Interest Rate           Interest Charge
PURCHASES
Revolving Balance                                            25.99% (M)                                         $0.00                              $0.00
Page 3 of 6




                                                                                                                                                                   Exhibit LLL pt.3 Page 33 of 150




                                                                                                                                                                           EX. LLL - 232
Account Statement
Send Notice of Billing Errors and Customer Service Inquiries to:
Customer Service:                                   HOME DEPOT CREDIT SERVICES
PO Box 790328, St. Louis, MO 63179
homedepot.com/mycard
Account Inquiries:                                   Account Number: 6035 3202 6804 4920
1-800-677-0232
Summary of Account Activity                                                 Payment Information
Previous Balance                                           $107.99           New Balance                                                                     $878.08
Payments                                                   -$50.00           Minimum Payment Due                                                              $25.00
Other Credits                                               -$0.00           Payment Due Date                                                           March 4, 2016
Purchases                                                 +$812.63           Late Payment Warning: If we do not receive your minimum payment by the
Fees Charged                                                 +$0.00          date listed above, you may have to pay a late fee up to $35.
Interest Charged                                             +$7.46          Minimum Payment Warning: If you make only the minimum payment each
New Balance                                                $878.08           period, you will pay more in interest and it will take you longer to pay off your
balance. For example:




                                                                                                                   Case 1:17-ap-01099-VK                                Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Past Due Amount                                              $0.00              If you make no additional         You will pay off the           And you will
Credit Limit                                             $4,000.00                charges using this card       balance shown on this end up paying an
and each month you pay... statement in about... estimated total of...
Available Credit                                         $3,121.00
Amount Over Credit Limit                                     $0.00            Only the minimum payment                  5 years                      $1,615
Statement Closing Date                                  02/05/2016                          $35                         3 years                      $1,274
(Savings=$341)
Next Statement Closing Date                            03/08/2016
Days in Billing Cycle                                           28           If you would like information about credit counseling services, call 1-877-337-8187.
Your Minimum Payment Due is $25.00. If you paid your non-promotional (revolving) balances and any expiring promotional balances in full on your last
statement, you can avoid interest charges on any new non-promotional (revolving) balances and any expiring promotional balances if you pay $878.08 by




                                                                                                                                                                         Exhibit LLL pt.3 Page 34 of 150
03/04/16. Otherwise, interest will accrue from your statement closing date until we receive your payment. The _How to Avoid Paying Interest on Purchases_
section on page 2 has more information.
If your Payment Due Date and Next Statement Closing Date are the same in February, and your payment was received by the Payment Due Date but
posted after the due date, you may see a late fee billed in February which we will automatically credit and will appear on your March statement. Your
account will not be reported as delinquent to the credit bureaus. To easily verify the credit, you may log into Account Online or call the automated system to
confirm the credit 5 days after your February due date.
Beginning early 2016, cash payments made in-store at The Home Depot for Home Depot Credit Card account balances will be limited to a maximum
amount of $3,000 per day. For your convenience and security, if you wish to make payments for any amount, including amounts greater than $3,000, you
are welcome to do so via check or ATM/debit cards. Please also remember you can pay your account online using our pay now feature, set up reoccurring
payments, set account alerts, and access other valuable account features at homedepot.com/mycard.
Please update your phone number, including cell phone number on the back of the payment coupon.
HD 3
PLEASE SEE IMPORTANT INFORMATION ON PAGES 2 AND 4.                    Page 1 of 6                                            This Account is Issued by Citibank, N.A.
ê Please detach and return lower portion with your payment to insure proper credit. Retain upper portion for your records. ê
Your Account Number is 6035 3202 6804 4920
Payment Due Date                                         March 4, 2016
New Balance                                                   $878.08
Past Due Amount                                                  $0.00
Minimum Payment Due                                            $25.00
Statement Enclosed
Please print address changes on the reverse side.
Make Checks Payable to
HOME DEPOT CREDIT SERVICES
ROBIN CHRISTIAN DIMAGGIO                                                                         PO BOX 78011
5737 KANAN RD # 117                                                                              PHOENIX, AZ 85062-8011
AGOURA HILLS, CA 91301-1601
03000 0002500 0087808 0005000 06035320268044920 0315




                                                                                                                                                                                 EX. LLL - 233
Account: **** **** **** 4920
TRANSACTIONS
Trans Date Description                                                                                  Reference #                           Amount
01/24       THE HOME DEPOT WEST HILLS CA                                                                5171777                               $      380.65
SEASONAL/GARDEN ELECTRICAL AND LIGHTING
01/24       THE HOME DEPOT WEST HILLS CA                                                                5171802                               $      181.10
SEASONAL/GARDEN
01/31       THE HOME DEPOT WEST HILLS CA                                                                8070462                               $      250.88
SEASONAL/GARDEN HARDWARE PAINT         FEES
02/03       PAY-BY-PHONE PAYMENT DEERFIELD IL                                                           P919400DJETFHGMLB                     $        50.00-
FEES
TOTAL FEES FOR THIS PERIOD                                                                                                        $             0.00
INTEREST CHARGED
02/05       INTEREST CHARGE ON PURCHASES                                                                                                      $            7.46
TOTAL INTEREST FOR THIS PERIOD                                                                                                    $             7.46
2016 Totals Year-to-Date




                                                                                                                    Case 1:17-ap-01099-VK                         Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Total Fees Charged in 2016                             $0.00
Total Interest Charged in 2016                         $7.46
ACTIVITY AND PROMOTIONS DETAIL
Original
Promotion Promotion                       Payments Purchases,                                     Promotion Deferred                    Promotion
Trans      Trans        Previous         & Other   Fees &             Interest         New       Minimum Interest                     Expiration
Amount      Date         Balance          Credits Other Debits         Charged         Balance Payment Due Charges                        Date
PURCHASES
Revolving Balance
-        -             $107.99      $50.00-     $812.63            $7.46           $878.08            -                -            -
TOTAL                                     $107.99       $50.00-    $812.63            $7.46           $878.08          $0.00          $0.00




                                                                                                                                                                   Exhibit LLL pt.3 Page 35 of 150
INTEREST CHARGE CALCULATION                                                   Your Annual Percentage Rate (APR) is the annual interest rate on your account.
Type of Balance                                     Annual Percentage Rate (APR)           Balance Subject to Interest Rate             Interest Charge
PURCHASES
Revolving Balance                                          25.99% (M)                                      $374.33                               $7.46
Page 3 of 6




                                                                                                                                                                           EX. LLL - 234
Account Statement
Send Notice of Billing Errors and Customer Service Inquiries to:
Customer Service:                                   HOME DEPOT CREDIT SERVICES
PO Box 790328, St. Louis, MO 63179
homedepot.com/mycard
Account Inquiries:                                   Account Number: 6035 3202 6804 4920
1-800-677-0232
Summary of Account Activity                                               Payment Information
Previous Balance                                           $878.08         New Balance                                                                         $0.00
Payments                                                -$1,628.74         Minimum Payment Due                                                                 $0.00
Other Credits                                               -$0.60         Payment Due Date                                                            April 4, 2016
Purchases                                                +$751.26          Late Payment Warning: If we do not receive your minimum payment by the
Fees Charged                                                +$0.00         date listed above, you may have to pay a late fee up to $35.
Interest Charged                                            +$0.00         If you would like information about credit counseling services, call 1-877-337-8187.
New Balance                                                 $0.00
Past Due Amount                                             $0.00




                                                                                                                Case 1:17-ap-01099-VK                                            Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Credit Limit                                            $4,000.00
Available Credit                                        $4,000.00
Amount Over Credit Limit                                    $0.00
Statement Closing Date                                 03/08/2016
Next Statement Closing Date                            04/07/2016
Days in Billing Cycle                                          32
Beginning early 2016, cash payments made in-store at The Home Depot for Home Depot Credit Card account balances will be limited to a maximum
amount of $3,000 per day. For your convenience and security, if you wish to make payments for any amount, including amounts greater than $3,000, you
are welcome to do so via check or ATM/debit cards. Please also remember you can pay your account online using our pay now feature, set up reoccurring
payments, set account alerts, and access other valuable account features at homedepot.com/mycard.
Please update your phone number, including cell phone number on the back of the payment coupon.




                                                                                                                                                                                  Exhibit LLL pt.3 Page 36 of 150
TRANSACTIONS
Trans Date Description                                                                                         Reference #                                   Amount
02/05        PAY-BY-PHONE PAYMENT DEERFIELD IL                                                                 P919400DNETFHFB37                             $         840.00-
02/05        *INTEREST* PREV CYCLE PURCHASES                                                                                                                 $           0.60-
02/14        THE HOME DEPOT WEST HILLS CA                                                                      4065687                                       $         140.62
PAINT PLUMBING       FEES
02/15        THE HOME DEPOT WOODLAND HLS CA                                                                    3574359                                       $         42.70
BUILDING MATERIALS SEASONAL/GARDEN FEES
HD 3
PLEASE SEE IMPORTANT INFORMATION ON PAGES 2 AND 4.                  Page 1 of 6                                          This Account is Issued by Citibank, N.A.
ê Please detach and return lower portion with your payment to insure proper credit. Retain upper portion for your records. ê
Your Account Number is 6035 3202 6804 4920
Payment Due Date                                         April 4, 2016
New Balance                                                      $0.00
Past Due Amount                                                  $0.00
Minimum Payment Due                                              $0.00
Statement Enclosed
Please print address changes on the reverse side.
Make Checks Payable to
HOME DEPOT CREDIT SERVICES
ROBIN CHRISTIAN DIMAGGIO                                                                      PO BOX 78011
5737 KANAN RD # 117                                                                           PHOENIX, AZ 85062-8011
AGOURA HILLS, CA 91301-1601
03000 0000000 0000000 0078874 06035320268044920 0312




                                                                                                                                                                                          EX. LLL - 235
Account: **** **** **** 4920
TRANSACTIONS (cont.)
Trans Date Description                                                                                 Reference #                           Amount
02/18       THE HOME DEPOT WOODLAND HLS CA                                                             0011594                               $      567.94
LUMBER MILLWORK HARDWARE       FEES
02/25       PAY-BY-PHONE PAYMENT DEERFIELD IL                                                          P919400E8ETFHDY7F                     $      788.74-
FEES
TOTAL FEES FOR THIS PERIOD                                                                                                       $             0.00
INTEREST CHARGED
TOTAL INTEREST FOR THIS PERIOD                                                                                                   $             0.00
2016 Totals Year-to-Date
Total Fees Charged in 2016                            $0.00
Total Interest Charged in 2016                        $6.86
ACTIVITY AND PROMOTIONS DETAIL
Original
Promotion Promotion                      Payments Purchases,                                      Promotion Deferred                   Promotion




                                                                                                                   Case 1:17-ap-01099-VK                      Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Trans      Trans        Previous        & Other   Fees &            Interest            New      Minimum Interest                    Expiration
Amount      Date         Balance         Credits Other Debits         Charged           Balance Payment Due Charges                      Date
PURCHASES
Revolving Balance
-        -             $878.08   $1,629.34-    $751.26              -                 -              -                -            -
TOTAL                                    $878.08   $1,629.34-    $751.26             $0.00              $0.00           $0.00        $0.00
INTEREST CHARGE CALCULATION                                                  Your Annual Percentage Rate (APR) is the annual interest rate on your account.
Type of Balance                                    Annual Percentage Rate (APR)             Balance Subject to Interest Rate           Interest Charge
PURCHASES
Revolving Balance                                        25.99% (M)                                         $22.60                              $0.00
Page 3 of 6




                                                                                                                                                               Exhibit LLL pt.3 Page 37 of 150




                                                                                                                                                                       EX. LLL - 236
Account Statement
Send Notice of Billing Errors and Customer Service Inquiries to:
Customer Service:                                   HOME DEPOT CREDIT SERVICES
PO Box 790328, St. Louis, MO 63179
homedepot.com/mycard
Account Inquiries:                                   Account Number: 6035 3202 6804 4920
1-800-677-0232
Summary of Account Activity                                                Payment Information
Previous Balance                                             $0.00          New Balance                                                                         $0.00
Payments                                                  -$211.40          Minimum Payment Due                                                                 $0.00
Other Credits                                               -$0.00          Payment Due Date                                                            April 4, 2017
Purchases                                                 +$211.40          Late Payment Warning: If we do not receive your minimum payment by the
Fees Charged                                                 +$0.00         date listed above, you may have to pay a late fee up to $35.
Interest Charged                                             +$0.00         If you would like information about credit counseling services, call 1-877-337-8187.
New Balance                                                  $0.00
Past Due Amount                                              $0.00




                                                                                                                 Case 1:17-ap-01099-VK                                            Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Credit Limit                                            $4,000.00
Available Credit                                        $4,000.00
Amount Over Credit Limit                                     $0.00
Statement Closing Date                                 03/08/2017
Next Statement Closing Date                            04/07/2017
Days in Billing Cycle                                           31
Please update your phone number, including cell phone number on the back of the payment coupon.
TRANSACTIONS
Trans Date Description                                                                                          Reference #                                   Amount
02/19        THE HOME DEPOT WOODLAND HLS CA                                                                     3072284                                       $         211.40
MILLWORK ELECTRICAL AND LIGHTING SEASONAL/GARDEN HARDWARE




                                                                                                                                                                                   Exhibit LLL pt.3 Page 38 of 150
02/23        PAY-BY-PHONE PAYMENT DEERFIELD IL                                                                  P9194001NETFHESAQ                             $         211.40-
FEES
TOTAL FEES FOR THIS PERIOD                                                                                                                        $            0.00
INTEREST CHARGED
TOTAL INTEREST FOR THIS PERIOD                                                                                                                    $            0.00
HD 3
PLEASE SEE IMPORTANT INFORMATION ON PAGE 2.                          Page 1 of 6                                          This Account is Issued by Citibank, N.A.
ê Please detach and return lower portion with your payment to insure proper credit. Retain upper portion for your records. ê
Your Account Number is 6035 3202 6804 4920
Payment Due Date                                         April 4, 2017
New Balance                                                       $0.00
Past Due Amount                                                   $0.00
Minimum Payment Due                                               $0.00
Statement Enclosed
Please print address changes on the reverse side.
Make Checks Payable to
HOME DEPOT CREDIT SERVICES
ROBIN CHRISTIAN DIMAGGIO                                                                       PO BOX 78011
5737 KANAN RD # 117                                                                            PHOENIX, AZ 85062-8011
AGOURA HILLS, CA 91301-1601
03000 0000000 0000000 0021140 06035320268044920 0310




                                                                                                                                                                                           EX. LLL - 237
Account: **** **** **** 4920
2017 Totals Year-to-Date
Total Fees Charged in 2017                         $0.00
Total Interest Charged in 2017                     $0.00
ACTIVITY AND PROMOTIONS DETAIL
Original
Promotion Promotion                   Payments Purchases,                                     Promotion Deferred                Promotion
Trans     Trans         Previous     & Other   Fees &            Interest           New      Minimum Interest                 Expiration
Amount      Date         Balance      Credits Other Debits        Charged           Balance Payment Due Charges                   Date
PURCHASES
Revolving Balance
-       -             -        $211.40-     $211.40             -                 -               -              -            -
TOTAL                                   $0.00    $211.40-     $211.40            $0.00              $0.00          $0.00        $0.00
INTEREST CHARGE CALCULATION                                               Your Annual Percentage Rate (APR) is the annual interest rate on your account.
Type of Balance                                 Annual Percentage Rate (APR)            Balance Subject to Interest Rate          Interest Charge
PURCHASES




                                                                                                                  Case 1:17-ap-01099-VK                    Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Revolving Balance                                     25.99% (M)                                          $0.00                           $0.00
Page 3 of 6




                                                                                                                                                            Exhibit LLL pt.3 Page 39 of 150




                                                                                                                                                                    EX. LLL - 238
I 07/10/17 “iii-4:13
ROBIN c DIMAGGIO
Member Since 2014 Account number ending in: 0603
Billing Period: 12/13/14-01114115
Minimum payment due: $25.00
New balance: $908.97
Payment due date: 02/10/15
Late Payment Warning: If we do not receive your minimum payment by the
date listed above, you may have to pay a late fee of up to $35 and your APRs
may be increased up to the variable Penalty APR of 29.99%.
For information about credit counseling services, call i-877-337-8i87.
000000 MC 00 A O
ROBIN C DIMAGGIO
5737 KANAN RD
STE 117
AGOURA HILLS CA 9i30i-1601




                                                                               Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
How to reach us
www.cltlcards.com
1-800-THANKYOU(l-800-842-6596)
BOX 6500 SIOUX FALLS. SD 5711?
Account Summary
Previous balance -$8.55
Payments -$400.00
Credits $0.00
Purchases +$i.317.52
Cash advances +5000
Fees +5000




                                                                                                        Exhibit LLL pt.3 Page 40 of 150
Interest +5000
New balance $908.97
Credit Limit
Credit limit $11,100
Includes $3.400 cash advance limit
Available credit I Sidii'éi"
'nciudes $3.400 available for cash advances
Total ThankYou Member
Available Point Balance:
as of 12/31/14
» See page 3 for more information
about your rewards.
77,890
Please print Address Changes on the reverse side
Minimum payment due $25.00
New balance $908.97
Payment due date 02/10/15
Amount enclosed:
Account number ending in 0608
CITI CARDS
PO BOX 78045
Phoenix. AZ 85062-3045




                                                                                                                EX. LLL - 239
HUDIN L UIMAbeU
WWWJIIWSJIH‘I‘I Page I: G] J
1-BUG-THANHYDU_-B__-Bda'___}
Account Summary
Trans. Post
date data [In Icrip_on
Ari-Lotti!
Payments; tredite and Adjustment:
EHO PAYMENT THANK rou
Eé__t____I_l_j_te_______j_i_lIljéé_tl___jlLILIIIZIIZIIZILLI
....'.??FF.’199
Stendard Pumas-ea
12:22 I232: Resssrones are mousauo oarsca
ear'"""""'era"""'aa3aaraeaafai_‘a_a'aria;'aaa'éaaa'_‘““““
_......wag"...EH“.____é.__é_mm_é_..__...___.......___.....____
. om mugé__




                                                                                             Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
.
"ENE-3?
ifi_t__
Zit_e__
:It__tt_
Fees charged
Total fee: charged in thin billing period $0.00
Interest charged
Total Int-mt charged in an: billing period $0M
2015 totals yearn-date
_._.___.....It!!!TEEEEHFEEEFPE........___    .. . ...§'E:°F' . _.




                                                                                                                      Exhibit LLL pt.3 Page 41 of 150
'1 Total htereet charged In 2015 $o.oo
Interest charge calculation
129$._attelrrr_nieatm.155!!!.}5.i__.a_ti.i__i__t5?!enrif_i:..___......._.....___........_
Annual lure-n e Balance eulieet
rate IMP i to intorect rate Interact charge
Day; in taming Crete: 133
Balance type
Ite_§_u_rtfiiIfn_umn_mumumnmu_uunmet”
Standard Purch G_mtl
(Introductory Rate}
f___é_t_é_I111III;ILIIIII:IIiIIII:12:IIIIIIIfiilfIIIfIZIfiijm_
Standardm swam ..t9-.9.e_<91..___,_ ._.§°-D°i
W1
Your Anmai Percentage Rare {APR} is the mar _tter-ear rate or! rear account. APR: TDNUWEEI
by {V} vary With the market based on the Prime Rate. Emu fol-towed by {D} are deteer
by the dairy baianre melhod (Indudfng current transactions}.
Your IntroductoryI Purchase rate Irii‘l expire in E billing periods.
Account messages
Each extra card earns Thanh‘r’ou Points on purchases. so you Can get the
rewards you want faster by ageing authorized usem. Learn more about adding
authorized nears at www.crtrcardsxem.
Member ID: 59102351392115195
Thanh‘rou Points Earned This Period
2:: on Dining D
21: on Entertainment 0
1: on Other Purchases 1.313
Total Earned 1.316
» Visit thankyou.com to redeem
points or see full rewards
details.
Home Points may tetra one to two hitting
order to appear on your statement. Please
rem to the operatic terms and conditioro
pertaining to Irreprornutinn for further
details.




                                                                                                                              EX. LLL - 240
9" have; u: u inn-v uuuv nun-In a.” nu...-
07/10/17 12:24:18
ROBIN c DIMAGGIO
Member Since 2014 Account number ending in: 0608
Billing Period: 01/15/15-02/13/15
Minimum payment due: 50-00
New balance: $0.00
Payment due date: 03/10/15
Late Payment Warning: If we do not receive your minimum payment by the
date listed above. you may have to pay a late fee of up to $35 and your APRs
may be increased up to the variable Penalty APR of 29.99%.
For information about credit counseling services, call 1-877-337-8187.
000000 MC 00 A 0
ROBIN C DIMAGGIO
5737 KANAN RD
STE 117




                                                                               Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
AGDURA HILLS CA 91301-1601
How to reach us
www.citicards.com
1-800-THANKYOU(l-800-842-6596)
BOX 6500 SIOUX FALLS. SD 5711?
Account Summary
Previous balance $908.97
Payments -$0.00
Credits $4,569.60
Purchases +$3.660.63
Cash advances +$0.00




                                                                                                        Exhibit LLL pt.3 Page 42 of 150
Fees +5000
Interest +$0.00
New balance $0.00
Credit Limit
Credit limit $11,100
Includes $3.400 cash advance limit
Available credit $111013"
Includes $3.400 available for cash advances
Total ThankYou Member
Available Point Balance:
as of 01/31/15
» See page 3 for more information
about your rewards.
80,155
Please print Address Changes on the reverse side
Minimum payment due $13-00
New balance $0.00
Payment due date 03/10/15
Amount enclosed:
Account number ending in 0608
CITI CARDS
P0 BOX 78045
Phoenix. AZ 85062-6045




                                                                                                                EX. LLL - 241
ROBIN C DIMAGGIO
WWW.CIIICBI’GS.COI’D
l-BOO-THANKYOUil-BOO-842-6596)
Account Summary
Trans. Post
date date
Description Amount
Payments, Credits and Adjustments
Oll’l9 0l/l9 VAEATION EXPRESS 404-321-7742 GA -$4.569.60
JMJKLGOO ....... .. 7.i.........4722USA   ..
01/23 c'i't’E‘oiT REFUND Kantian “FEB” """"§§."3"7'6L'is"§
.................... .......................................... ..
Standard Purchases
0l/l9 Ol/l9 SO ‘GARY WHITTEMORE San Francisco CA $138.00
................. ...... .......... ................................................................ e.
Bins 01/20 shiii'nr TAXI ENTEii_ié'ist"5EEK§K_ioi§i""cit """""""" " "




                                                                                                          Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Fees charged
Total fees eharged in this billing period $0.00
Interest charged
Total interest charged in this billing period 5000
2015 totals year-to-date
Total fees charged in 2015 $0.00
Total interest charged in 2015 $0.00
= Interest charge calculation Days in billing cyclez30
Your Annual Percentage Rate (APR) is the annual interest rate on your account.
Annual percenta e Balance subject
Balance type rate (AP ) to interest rate Interest charge!




                                                                                                                                   Exhibit LLL pt.3 Page 43 of 150
Peasants:iiiZZII:_____IfIIIif:Iiii:11.f.f.._.___...QIil_lifiifj_li1:22:11:LIIII.._IIII:
Standard Purch 0,00% 50.00 (D) 50.00 I
Standard Adv 25.24% (V) $0.00 $0.00 |
Your Annual Percentage Rate (APR) is the annual interest rate on your account. APRs followed
by {V} vary with the market based on the Prime Rate. Balances followed by (D) are determined
by the daily balance method (Inc'.uding current transactions).
Your Introductory Purchase rate will expire In 7 billing periods.
Account messages
You may pay all or part at your account balance at any time. However, you
must pay, by the payment due date. at least the minimum payment due.
Your Annual Account Summary is now available online. To easily view this
detailed summary. sign on to Account Online at www.citicards.com.
Member ID: 8910235092116106
ThankYou Points Earned This Period
2:: on Dining 0
2x on Entertainment 0
ix on Other Purchases «4.286
Total Earned '4r236
)) Visit thankyou.com to redeem
points or see full rewards
details.
Bonus Points may take one to two billing
cycles to appear on your statement. Please
refer to the specific terms and conditions
pertaining to the promotion for further
details.
rage 11 0| 6




                                                                                                                                           EX. LLL - 242
:I I L23U'Lpl INHLU'DUUU Hblle'Dl HD-JU
OHIO/17 12:24:13
ROBIN C DIMAGGIO How to rech us
Member Since 2014 Account number ending in: 0608 www.cltlcards.com
Billing Period: 02/14/15-03/13115 i-BOO-THANKYOU(1-800~842-6596)
BOX 6500 SIOUX FALLS, SD 57117
Account Summary
Minimum payment due: Previous balance $0.00
Payments ~52 356.00
New balance: 1 449.81 '
s ' Credits 5940.9?
Paymem due date: 04/10/15 Purchases +$4.746.78
Cash advances +$0.00
Late Payment Warning: if we do not receive your minimum payment by the Fees +5000
date listed above, you may have to pay a late fee of up to $35 and your APRs interest +50 00
may be Increased up to the variable Penalty APR of 29.99%. 1




                                                                                               Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
For Information about credit counseling services, call 1-877-337-8187. new balance 9'44 '8
Credit Limit
Credit limit $11,100
Includes $3,400 cash advance limit
Available credit $9.650
includes $3.400 available for cash advances
Total ThankYou Member
Available Point Balance: 96,570
as 01 02/23/15
» See page 3 for more information
about your rewards.




                                                                                                                        Exhibit LLL pt.3 Page 44 of 150
Please print Address Changes on the reverse side
Minimum payment due $25.00
New balance $1,449.81
Payment due date 04/10/15
Amount enclosed:
oooooo MC 00 A 0 Account number ending in 0608
ROBIN C DIMAGGIO CITI CARDS
5737 KANAN RD P0 BOX7BO4S
STE 117 Phoenix. AZ 85062-8045
AGOURA HILLS CA 91301-1601




                                                                                                                                EX. LLL - 243
_ll-HIM t: DIHAGBIO
Aeeeunt Summaryr
Trans. Pest
date date
Payments. credit: and Adjustment:
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                                                                                     Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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Fees charged
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                                                                                                              Exhibit LLL pt.3 Page 45 of 150
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'f_'ii'im'
ww.e1tieards.eam Page a m a
t'__D-THANK‘I'OUIIl-EDD—B4E_59_}
hnnml
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issue
Total teas shamed in this billing period
Wan
Member ID: _____DQZHEI_-i
Thmk‘l'eu Points Earned Thls Perled
21 on Dining 1.55m
23: on Entertainment 269
hr. on Other Purchases 2.526
Tntal Earned 41.135
» Visit thankyou.com to redeem
points or see full rewards
details.
Benus Paints may take me in two biltinq
cycles to appear on your statement. Please
reier tn the speritie terms and cM_ans
pertaining to the premniim tor iurther
claims.




                                                                                                                      EX. LLL - 244
ROBIN C DIMAGGIO www.cltlcards.eom Page .5 01 J
I-BOO-THANKYOU(1-800-842-6596)
Interest charged
Total Interest charged in this billing period 50-00
2015_totals year-to-date m u
|
Total fees charged in 2015 $0.00
Total Interest charged in 2015 $0.00
Interest charge calculation Days in billino cycle:28
} Your Annual Percentage Rate (APR) is the annual Inlerest rate on your account.
Annual percentage Balance subject |
Balance type rate (AP I to interest rate Interest charge
! Standard Purch 0.00% $0.00(D) 5000'
I StandardAdv 25.24% (V) 50.00 (D) 50.00.
You: Annual Percentage Rate (APR) Is the annual Interest rate on your account. APRs followed
by W] vary with the market based on the Prime Rate. Balances followed by (D) are determined




                                                                                               Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
by the daily balance meth oat (Including current transactions).
Your Introductory Purchase rate will expire In 6 billing periods.
Account messages
You may pay all or part of your account balance at any time. However, you
must pay, by the payment due date, at least the minimum payment due.




                                                                                                                        Exhibit LLL pt.3 Page 46 of 150




                                                                                                                                EX. LLL - 245
all L.DU'\'I llNd-U'JUUU HEIUJ’D! IIDJU
07/10/17 12:24:18
ROBIN c DIMAGGIO
Member Since 2014 Account number ending in: 0608
Billing Period: 03/14/15-04/14/15
Minimum payment due: $25.00
New balance: $240.79
Payment due date: 05/10/15
Late Payment Warning: If we do not receive your minimum payment by the
date listed abover you may have to pay a late fee of up to $35 and your APRs
may be increased up to the variable Penalty APR of 29.99%.
For information about credit counseling services. call 1-877-337-8187.
000000 MC 00 A 0
ROBIN C DIMAGGIO
5737 KANAN RD.
SUITE 117




                                                                               Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
AGOURA HILLS CA 91301-1601
HowI to reach us
www.citlcards.com
1-8DO-THANKYOUll-BOO-B42-6596)
BEIX 6500 SIOUX FALLS, SD 5711?
Account Summary
Previous balance $1,449.81
Payments 63504.4?
Credits 516.72
Purchases +$2.312.17
Cash advances +$0.00




                                                                                                        Exhibit LLL pt.3 Page 47 of 150
Fees +$0.00
Interest +5000
New balance $240.79
Credit Limit
Credit limit $11,100
includes $3.400 cash advance limit
.A
Includes $3.400 available for cash advances
Total ThankYou Member
Available Point Balance:
as of 031'311’15
» See page 3 for more information
about your rewards.
102,189
Please print Address Changes on the reverse side
Minimum payment due $25-00
New balance $240.79
Payment due date 05110115
Amount enclosed:
Account number ending in 0608
CITI CARDS
PO BOX 75045
Phoenix. AZ 85062-3045




                                                                                                                EX. LLL - 246
ROBIN C DIMAGGIO
Account Elll'l'tl‘llil'f
Tram. Past
Description
Payments. emits and Adluttments
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Standard Purchases
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034M
semess
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25???....___.....................
Lm'stm '
“Gm-'54!
03f”:
smear"




                                                         Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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osne
03m
Ei_t.:._......._
omens:
iii-iii:I_i_téi_
HEREIN?
Fees eharned




                                                                                  Exhibit LLL pt.3 Page 48 of 150
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__a_a______ mum"
2222
HE__a_.Mia..____E_i_m.._..__..._.........___.......___
.___g566%...........____mu_m _
___g_a”.___......._.__
ma_a”...
2222
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2222
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www.memmsem Page 1': 0| .3
I'EO0THANKYDUIPBW'BdE'E'I-__}
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Lillie}???
'Ziiiiiiti_-Ei
_t___
Total hes eharped in this bill“ period
interest shamed
5m
Total tutu-"t charged in this tiling period
sepe
2015 tetals rear-te-data
Tut‘ll lees Md In 2015
Tutll interest charged in 2015
we
Member ID: emeesseeensiee
Thanth Pelnts Earned This Peried
23'. on Dining ii?
2: on Entertainment 0
it“. on Other Purchases 1.901r
Tetel Earned 2.654
» Vlslt thankyou.com to redeem
points or see full rewards
details.
Ems Paints may take me to twp billing
ewes to appear on your statement. Plaasa
refer to the specific terrns and cmditions
pertaining to tI-Iepreme_en for further
detaits.




                                                                                          EX. LLL - 247
RUBIN C DIHAGGiD www.c1tlcnrds.com
l-BD GI-T HANK ‘r'O Uii-BDD-E 42 15596]
' Interest charge calculation Days in billing cyc'e:32
199133.99“ P9599?!9.59.92.55.33?“fif_'if_'lua'li‘t__sf.F933.991?}![PEFEEEE:.___......
3 Annual percentage Balance subject
5 alance type rate (AP 3 to interest rate Interest charge
II__é__é_éil_:I:IIII:I:QLILLKIILIIf:I:IIILILIIIIICIILIJILL1:111:22If"""""""'
Standard Purch 0.00% 5030 (D)
____£l_ntroductory Rate) _
""séaaa'sla'iql _
“€6.66”
Your Annual Percentage Rate (APR) is the annual interest rate on your account. APRs followed
by (V) vary with the market based on the Prime Rate. Balances followed by (D) are determined
by the daily balance method (including current transactions).
Your Introductory Purchase rate will expire in S billing periods.
Account messages




                                                                                               Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
You may pay all or part of your account balance at any time. However. you
must pay. by the payment due date. at least the minimum payment due.
Page .1 or a




                                                                                                                        Exhibit LLL pt.3 Page 49 of 150




                                                                                                                                EX. LLL - 248
5| | L15U‘LI I MlLU'DUUU ALIUIl‘_! IIDDU
07/10/17 12:24:13
ROBIN C DIMAGGIO
Member Since 2014 Account number ending in: 0608
Billing Period: 04/15/15-05114115
Minimum payment due: $131.00
New balance: $8,773.15
Payment due date: 06/10/15
Late Payment Warning: If we do not receive your minimum payment by the
date listed above. you may have to pay a late fee of up to $35 and your APRs
may be increased up to the variable Penalty APR of 29.99%.
For information about credit counseling services. call 1-877-337-8137.
000000 MC 00 A 0
ROBIN C DIMAGGIO
5737 KANAN RD.
SUITE 117




                                                                               Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
AGOURA HILLS CA 91301-1601
How to reach us
www.cltlcards.com
1-300-THANKYOU(l-BOO-842-6596)
BOX 6500 SIOUX FALLS. 50 571i?
Account Summary
Previous balance $240.79
Payments £241.00
Credits $992.08
Purchases +59.765.44
Cash advances +5000




                                                                                                        Exhibit LLL pt.3 Page 50 of 150
Fees +S0.00
Interest +5000
New balance $8,773.15
Credit Limit
Credit limit 511.100
Includes $3,400 cash advance limit
Available éFé'ait ' $22356"
Includes $2.326 available for cash advances
Total ThankYou Member
Available Point Balance:
as 0104/30/15
» See page 3 for more information
about your rewards.
105,473
Please print Address Changes on the reverse side
Minimum payment due $131.00
New balanCe $8,773.15
Payment due date 06/10/15
Amount enclosed:
Account number ending in 0608
CiTI CARDS
PO BOX 78045
Phoenix, AZ 85062-8045




                                                                                                                EX. LLL - 249
R_BtN C DEHAGGtG
www.cltlcards.corn Page d 01 J
I-ECIO-THAN KYOUU-BOO-B42-6596)
Account summary
trans. Post
date eate Description Arnaunt
Payments, credit: and Adjuttrne lit:
04!” PATHENT THANK YOU
Etiitiiiié_iiZI:tiiii_tiiéiii_:2:fifi_i_'_mm'2I:I1:11:2:1”:
Standard Purchase:
W03 05302 Eli-5.1.EH!.....E‘PFEP§§.TE'PH§§HPHM5“i
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""i'.’.iii"ii_ii
' if "31 __iiéitiiieiéi.Eiiiii_éi_iiii11:17"
RENTAL




                                                                                                   Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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Fees charged
Tetal rm uhquul in w: billing period 30-0“
Interest charged
Total interest charged in thl: billing period seen
ears toth year-tween
Total fm charged it EDIE 30“
Tntll Interest charged in 2015 acne
Interest charge calculation new in billing wcieac
$519.!!!fi't__f_ttti'ff‘mi t‘tPtt_




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Standard Perch glam
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Your Annuat Farming: Rate (APR: is the annual rim-res! rate e_ veer a_an APR: felched
lair w] van- with tn market based on the Prim Hate. Eta-tennis tailor-red bur tDi are determ'_cd
by the duty haiame method [mclmiirtg current transactions].
‘r'our Inh‘educterv Purchase rate wiil expire in a hiring parted:
Member ID: 8910235092116106
ThankYou Points Earned This Period
2x on Dining 26
2x on Entertainment 0
1): on Other Purchases 8.760
Total Earned 3.755
» Visit thankyou.com to redeem
points or see full rewards
details.
Bonus Points may take one to two billing
cycles to appear on your statement. Please
refer to the specific terms and conditions
pertaining to the promotion for further
details.




                                                                                                                                    EX. LLL - 250
5|TE:SD-C| TM:LG-5000 ACID:P5711550
07/10/17 12:24:18
ROBIN C DIMAGGIO
Member Since 2014 Account number ending in: 7352
Bllllng Period: 05/15/15—06112115
Minimum payment due: $29.00
New balance: $1,954.58
Payment due date: 07/10/15
Late Payment Warning: If we do not receive your minimum payment by the
date listed above. you may have to pay a late fee of up to $35 and your APRs
may be increased up to the variable Penalty APR of 29.99%.
Minimum Payment Warning: if you make only the minimum payment each
period, you will pay more in interest and It will take you longer to pay off your
balance. For example:
If you make no additional
You will pay off the




                                                                                    Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
charges using this card
And you will end up
balance shown on this
aying an estimated
and each month you pay... statement in about... tal of...
Only the minimum payment 10 year(s) $3.194
$2.32:
$64 3 Year“) (Savings: $873)
For information about credit counseling services. call 1-877-337-BIB7.
000000 MC 00 A 0
ROBIN C DIMAGGIO




                                                                                                             Exhibit LLL pt.3 Page 52 of 150
5737 KANAN RD.
SUITE 117
AGOURA HILLS CA 91301-1601
How to reach us
www.cltlcards.com
l-BOO-THANKYOU(1-800-842-6596)
BOX 6500 SIDUX FALLS. SD 5711?
Account Summary
Previous balance $8,773.15
Payments 64,773.15
Credits $4,000.00
Purchases +51.954.58
Cash advances +$0.00
Fees +$0.00
Interest +$0.00
New balance $1,954.58
Credit Limit
Credit limit $11,100
includes $3.400 cash advance limit
Kggiiagié..élrgai
Includes $3.400 available for cash advances
Total ThankYou Member
Available Point Balance:
as of OSi'3li'lS
» See page 3 for more Information
about your rewards.
115,459
Please print Address Changes on the reverse side
Minimum payment due $29.00
New balance $1,954.58
Payment due date 07/10115
Amount enclosed:
Account number ending in 7352
CITI CARDS
PO BOX 78045
Phoenix, AZ 85062-8045




                                                                                                                     EX. LLL - 251
ROBIN C DIMAGGIO
Account Summaryr
Trans. Post
data date
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Formats, credit: and Adjushnents
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Standard Purchases
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                                                               Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                                        Exhibit LLL pt.3 Page 53 of 150
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2222
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Interest charged
EM
Total interest charged In _ul: Idlltna period
Ems totals par-tram
T_t_ [EOE I:th III 2015
i Total interest Warped in 21315
“it”
_ $_m
"ember ID: amoaasosansms
Thanth Polnts Earned This Period
2:: on Dining 265
2: on Entertainment 0
11 on Other Purchases 2173
Total Earned 4.913
» Visit thankyou.com to redeem
points or see full rewards
details.
Bonus Points may take one to two hitting
wines to appear on your statement. Please
refer to the specific terms and emdition:
pertatnh'lq to the promotion for further
details.




                                                                                                EX. LLL - 252
www.cltlcards.com
ROBIN C DIMAGGIO
l-BOO-THANKYOU(1~B00-842-6595)
Interest charge calculation Days in_billing cycle:29|
.I?!T.il'.'!92!.f_.’f_'1‘.__f932.9331.if.t§?.?_f!_?ll_t_f'_?§EEE‘IEX'E’HEP599995......__...................._.I
Annual percenta e Balance subject
: Balance type rate (APa) to interest rate Interest charge
'I__ééu'ééiééii:2:22:11?""IIILIIIIi:ZIIIQIITI"ILLIIIIZIII:III?IL1227.12IIffIIIIIZIICTII
Standard Purch 0.00% n " sogowy $0.00
i'ntmclesimt_ate) . .    .   ..
I
Your Annual Percentage Rate (APR) Is the annual interest rate on your account. APRs followed
by (VJ may vary. Balances followed by (D) are determined by the daily balance method
(including current transactions).
Your Introductory Purchase rate will expire in 3 billing periods.
Account messages




                                                                                                                  Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Support Nepal: Use ThankYou® Points via Pointworthy.com to help
earthquake victims or make a donation at www.redcross.org/citigroup-pub
You may pay all or part of your account balance at any time. However, you
must pay, by the payment due date. at least the minimum payment due.
If you have not received your new card. please call the Customer Service
number on this statement.
Page .1 0| .5




                                                                                                                                           Exhibit LLL pt.3 Page 54 of 150




                                                                                                                                                   EX. LLL - 253
SlTE:SD-CI TM:LG-5000 ACID:PB711550
07/10/17 12:24:13
ROBIN C DIMAGGIO
Member Since 20l4 Account number ending in: 7352
Billing Period: 06/13/15-07/14/15
Minimum payment due: $25.00
New balance: $1,587.29
Payment due date: 08/10/15
Late Payment Warning: If we do not receive your minimum payment by the
date listed above, you may have to pay a late fee of up to $35 and your APRs
may be increased up to the variable Penalty APR of 29.99%.
Minimum Payment Warning: If you make only the minimum payment each
period. you will pay more in interest and it will take you longer to pay off your
balance. For example:
If you make no additional
You will pay off the




                                                                                    Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
charges using this card
And you will end up
balance shown on this
aylng an estimated
and each month you pay... statement in about... - tal of...
Only the minimum payment 8 yearts) $2.460
$53 = 3 year(s) $1904
(Savings=$556)
For information about credit counseling services. call 1-877-337-8187.
000000 MC 00 A O
ROBIN C DIMAGGIO




                                                                                                             Exhibit LLL pt.3 Page 55 of 150
5737 KANAN RD
STE 117
AGOURA HILLS CA 91301-1601
How to reach us
www.citloards.com
i-800-THANKYOU(l-800-842-6596)
BOX 6500 SIOUX FALLS. SD 57117
Account Summary
Previous balance $1,954.58
Payments $1,485.44
Credits 5902.88
Purchases +$2.021.03
Cash advances +$0.00
Fees +S0.00
Interest +5000
New balance $1,587.29
Credit lelt
Credit limit $11,100
includes $3,400 cash advance limit
Available credit ''''' n $9315.
Includes $3.400 available for cash advances
Total ThankYou Member
Available Point Balance: 14
as 0106/30/15
» See page 3 for more information
about your rewards.
Please print Address Changes on the reverse side
Minimum payment due $25.00
New balance $1,537.29
Payment due date 08/10/15
Amount enclosed:
Account number ending in 7352
CITI CARDS
PO BOX 75045
Phoenix, AZ 35062-8045




                                                                                                                     EX. LLL - 254
ROBIN C DIMAGGIO
www.citlcarumcem Page 2 cl J
I'000~THANKY00(I'000~042'65961
Account Summary
Trans. Pest
date date
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Standard Purchases
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EH_W_mu...
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                                                                              Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                                                       Exhibit LLL pt.3 Page 56 of 150
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Fees charged
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PAYMENT THANK YOU sues.“
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fetal fees chm In thle hillan eerie-d
$9.00
Interest charged
Total Interest churned In this hilltne pet-ted
ems tetals rear-tc-date
l‘etel fees charged In 2015 u
|_ Tctel Interest charged in 2015
$0.00
same
Member ID: EQ‘IOZZEOEIEIIEIDG
Thanth Pclnts Earned Thls Perch
2!: on Dining 219
21 on Entertainment 0
11: on Other Purchases 1.005
Total Earned 1.227
I) Vlslt thankyou.com to redeem
points or see full rewards
details.
Bonus Paints may take one to two billing
circles to appear on you statement. Please
reler to the specific terms and canditicns
pertaining to the protrtetion fur I‘th
details.




                                                                                                               EX. LLL - 255
www.cltlcards.com
ROBIN C DIMAGGIO
l-BOO-THANKYOUU'BOO-B42-6S96)
I Interest charge calculation Days in billing cycle:32
'IYour-l-l-nnuel Percentage-Fete iAP_l-Iisthe annual interest_rate on-your account.“ I _
Annual percenta e Balance subject
Balance type rate (AP I to Interest rate _ Interest chargeE
Standard Purch 0.00% 50.00 (D) 50.00 ‘
.....‘.'.F'.FF.2.‘.'HE.‘£’IY REP?)
Standard Adv_
u 2g24%(V)   _ I
Your Annual Percentage Rate (APR) is the annual interest rate on your account. APRs followed
by (V: may vary. Balances followed by (D) are determined by the daily balance method
(including current transactions).
Your Introductory Purchase rate will expire in 2 billing periods.
Account messages




                                                                                               Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
You may pay all or part oi your account balance at any time. However, you
must pay. by the payment due date. at least the minimum payment due.
Page 3 oi 3




                                                                                                                        Exhibit LLL pt.3 Page 57 of 150




                                                                                                                                EX. LLL - 256
5|TE:SD-Cl TM:LG-5ooo ACID:l-'Bfllu:10
07/10/17 12:24:18
ROBIN C DIMAGGIO
Member Since 2014 Account number ending in: 7352
Billing Period: 07/15/15-013/14/15
Minimum payment due: $8.13
New balance: $8.18
Payment due date: 09/10/15
Late Payment Warning: If we do not receive your minimum payment by the
date listed above. you may have to pay a late fee of up to $35 and your APRs
may be Increased up to the variable Penalty APR of 29.99%.
Minimum Payment Warning: if you make only the minimum payment each
period. you will pay more in interest and it will take you longer to pay off your
balance. For example:
if you make no additional ' You will pay off the And you will end up
charges using this card balance shown on this aylng an estimated




                                                                                    Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
and each month you pay... statement in about... tal of...
|
Only the minimum payment ! l month(s) 58
For information about credit counseling services. call 1-877-337-8187.
000000 MC 00 A 0
ROBIN C DIMAGGIO
5737 KANAN RD
STE 117
AGOURA HILLS CA 91301-1601
How to reach us
www.cltioards.com




                                                                                                             Exhibit LLL pt.3 Page 58 of 150
1-800-THANKYDUO-3008426596)
BOX 6500 SIOUX FALLS. SD 5711?
Account Summary
Previous balance $1,587.29
Payments -$3.000.96
Credits 5792.00
Purchases +$2,213.85
Cash advances +$0.00
Fees +5000
Interest +$0.00
New balance $8.16
Credit Limit
Credit limit $11,100
Includes $3.400 cash advance limit
Includes $3.400 available for cash advances
Total ThanItYou Member
Available Point Balance: 1,478
as of 07/31!15
» See page 3 for more information
about your rewards.
Please print Address Changes on the reverse side
Minimum payment due $3.18
New balance $8.18
Payment due date 09/10/15
Amount enclosed:
Account number ending in 7352
cm CARDS
PO BOX 78045
Phoenix. AZ 35062-3045




                                                                                                                     EX. LLL - 257
ROBIN E DIHAGGIO
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l-EGWTHAHH‘I‘DUil-BO'D-Bd_-ESQE}
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Trans. Post
date date
Payments. Credit: and Mjuctment:
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                                                                   Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                                            Exhibit LLL pt.3 Page 59 of 150
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Tetel fee: charged in thl: lilting period
$03!?!
Interest charged
Total iI'IterI-It charges! in this Ililllnq period
$OM
“ember ID: EWOZESWZIIHOE
Thank‘l'eu Paints Earned This Period
21: on Dining 561'
21 on Entertainment D
11: on Other Purchases 1.123
Total Earnest 1.715
» Visit thanhyou.com to redeem
points or see full rewards
details.
Bonus Pei-It: may take one to true bill-'11;
cycles to appear on your statement. Please
refer to the specific terms and rmditiem
pertaining to thepromutiun for further
details.




                                                                                                    EX. LLL - 258
ROBIN C DIMAGGIO
[2015 totals year-to-date'
Total Interest charged in 2015
interest charge calculation Days in billing cycle:3l
Your Annual Percentage Reta (APR) is the annual inlelest rate on your account.
Annual percenta e Balance subject
Balance type rate (AP ) to interest rate Interest charge
........................... .fj ...................................................................... ..
Standard Purch 0,00% $2.4l3.40 (D) 50.00
..._.(.I'.‘.I.’9“.HEF°’Y B_t_l... ..
.AQY6NS.E§...............
Standard Adv 25.24% 5000(0) _ $0.00
Your Annual Percentage Rate (APR) Is the annual interest rate on your account. APRs followed
by (V) may vary. Balances followed by (D) are determined by the daily balance method
(Including current transactions).
Your Introductory Purchase rate will expire In I billing period.




                                                                                                            Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
www.cltlcards.com
I-BOO-THANKYOUU-B00-842-6596)
Page a or a




                                                                                                                                     Exhibit LLL pt.3 Page 60 of 150




                                                                                                                                             EX. LLL - 259
SIT E:SD-Ci TM:LG-5000 AC:.D:P8711550
07/10/17 12:24:18
ROBIN C DiMAGGIO
Member Since 20l4 Account number ending in: 7352
Billing Period: 08/15/15-09114/15
Minimum payment due: $0.00
New balance: -$2.53
Payment due date: 10/10/15
Late Payment Warning: If we do not receive your minimum payment by the
date listed above. you may have to pay a late fee of up to $35 and your APRs
may be increased up to the variable Penalty APR of 29.99%.
For information about credit counseling services. call l-877-337-3187.
000000 MC 00 A 0
ROBIN C DIMAGGIO
5737 KANAN RD
STE 117




                                                                               Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
AGOURA HILLS CA 91301-1601
How to reach us
www.cltlcards.com
i-800-THANKYOU(l-800-842-6S96)
BOX 6500 SIOUX FALLS. SD 571i?
Account Summary
Previous balance $8.18
Payments $800.00
Credits -$0.00
Purchases +5789.29
Cash advances +5000




                                                                                                        Exhibit LLL pt.3 Page 61 of 150
Fees +50.00
Interest +$0.00
New balance -$2.53
Credit Limit
Credit limit $11,100
Includes $3,400 cash advance limit
‘Available credit $11,100
Includes $3.400 available for cash advances
Total ThankYou Member
Available Point Balance: 5,824
as of 08/31/15
» See page 3 for more information
about your rewards.
Please print Address Changes on the reverse side
Minimum payment due $0.00
New balance -$2.53
Payment due date 10110/15
Amount enclosed:
Account number ending in 7352
CITI CARDS
PO BOX 73045
Phoenix. AZ 85062-3045




                                                                                                                EX. LLL - 260
ROBIN C DIMAGGID
www.cltlcards.com Page 2 ol ti
I-B_D-THANHY_UiI'___'_42‘_5‘9_i
Account _umml_l
Trans. Post
date dole Description
.................... ._._.... ...... h....n...“nu...-...----.-1-----r-+.+-------—-un---nurnu-n-r-----n-----u---I--------u---n
Amount
Porn-Into. Credit: and Mioctrnont:
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'Tiitti.'i_i’9t’....___    ' _ ewe
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standard Porch-n:
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                                                                                                                Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Fees charged
Date Descripiim
aim..._....__.__é__a___g_a
total in: chimed In no: canon period 5000
Amount
$0.00
Interest charged
Total interest chm-d In on. Nilino period $o.oo
2015 totals v__tor-dlte |
Total fees charged in EMS $030
Total interest charged in 21315 $030




                                                                                                                                         Exhibit LLL pt.3 Page 62 of 150
Billing Dispute:
THE FDLLDWlNG CONDlTi_NAL CREEHT WAS REUERSEEII
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Interest cha roe calculation Days in urn-n cvcieg‘
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inject
Hit!“ if" H“ “W "*_!__........"'*'m*
Sci-'ii__is'tii...if"IIiifiifiil__.
continua.”
Witt...”
I “Indiam... - $
Your Annual Percentage Rate {APR} is the annual interest rate on IIronr account. AF_s lotion
no {in may vary. Balances fonoweo tor 11D} an deiem‘ihed by the dr'hr balance mtnod
{Including current transactions}.
Your introonclow Purci‘ul rate has expired. Jim- unpaid batonco from this offer win he ‘W‘Hm
to four Slandrd variable Purchase rate. curreflihf 12.99%
Homher ID: eoiozaoooenmoo
Thonh‘roo Points Earned This Period
2:: on Dining 0
2: on Entertainment D
1: on Other Purchases T59
Total Earned 739
» Visit thankyou.com to redeem
points or see full rewards
details.
Bonus Points may take one to two billing
cycles to appear on your statement. Please
refer to the specific terms and conditions
pertaining to the promotion for further
details.




                                                                                                                                                 EX. LLL - 261
SITE:SD-C| TMzLG-SOOO ACID:P8711850
07/10/17 12:24:18
ROBIN c DIMAGGIO
Member Since 2014 Account number ending in: 7352
Billing Period: 09/15115-10114l15
Minimum payment due:
New balance:
Payment due date:
$0.00
-$2.53
11/10/15
Late Payment Warning: If we do not receive your minimum payment by the
date listed above. you may have to pay a late tee of up to $35 and your APRs
may be Increased up to the variable Penalty APR of 29.99%.
For information about credit counseling services, call 1-877-337-3187.
000000 MC 00 A 0




                                                                               Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
ROBIN C DIMAGGIO
5737 KANAN RD
STE 117
AGOURA HILLS CA 91301-1601
How to reach us
www.cttlcards.com
I-BOO-THANKYOU(l-800-B42-65961
BOX 6500 SIOUX FALLS. SD 5711?
Account Summary
Previous balance -$2.53
Payments -$0.00




                                                                                                        Exhibit LLL pt.3 Page 63 of 150
Credits -$0.00
Purchases +5000
Cash advances +$0.00
Fees +5000
interest 4-50.00
New balance -$2.53
Credit Limit
Credit limit $11,100
includes $3.400 cash advance limit
KUé_gilib_n
includes $3.400 available for cash advances
Total ThankYou Member
Available Point Balance: 3.081
as 0109/301’15
» See page 3 for more information
about your rewards.
Please print Address Changes on the reverse side
Hlnimum payment due $0.00
New balance -$2.53
Payment due date 11/10/15
Amount enclosed:
Account number ending in T352
CITI CARDS
PO BOX 78045
Phoenix. AZ 85062-8045




                                                                                                                EX. LLL - 262
ROBIN C DIMAGGIO
WWW.C|!ICBI"IIS.COITI Page L UI L
l-BOO-THANKYOUtl-BOO-B42-6596)
Account Summary
Trans. Post
date date Description Amount
Fees charged
Total fees charged in this billing period 50-00
Interest charged
Total Interest charged in this billing period 50-00
2015 totals year-to-date
Total fees charged in 2015 $0.00
Total interest charged in 2015 $0.00
Interest charge calculation
Your Annual Percentage Rate (APR) is the annual interest rate on your account.
Days in billing cycle:30




                                                                                               Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Annual percentage Balance subject
Balance typo rate (AP to interest rate Interest charge
.... ' ‘ ‘ ‘ - . b ' I . . . . . . . . s s i . . . . . . . . . I . . ‘ .-
Standard Purch 2.99% (V) 50.00 (D) 50.00
........................................... .. ‘
Standard Adv 2524% (V) $0.00 (0) $0.00
Your Annual Percentage Rate (APR) is the annual Interest rate on your account. APRs followed
by (V) may vary. Balances followed by (D) are determined by the daily balance method
(including current transactions).
Account messages
Please note that if we received your pay by phone or online payment between




                                                                                                                        Exhibit LLL pt.3 Page 64 of 150
5 pm. ET and midnight ET on the last day at your billing period, your payment
will not be reflected until your next statemen .
Your account has a credit balance that is owed to you. You may make
charges against it if your account is open. We will send you a refund of any
remaining balance ct $1.00 or more after the balance has been on your
account for 90 days or upon request made to the customer service address or
phone number above.
Member in: 8910231539727993
ThankYou Points Earned This Period
2x on Dining
2x on Entertainment
hi on Other Purchases
0000
Total Earned
» Visit thankyoucom to redeem
points or see full rewards
details.
Bonus Points may take one to two billing
cycles to appear on your statement. Please
refer to the specific terms and conditions
pertaining to the promotion for further
details.




                                                                                                                                EX. LLL - 263
SlT BSD-CI TM:LG-5000 ACID:PB711850
07/10/17 12:24:13
ROBIN c DIMAGGIO
Member Since 2014 Account number ending in: 7352
Billing Period: 10/15/15-11/13/15
Minimum payment due: $0.00
New balance: -$2.53
Payment due date: 12/10/15
Late Payment Warning: If we do not receive your minimum payment by the
date listed above. you may have to pay a late fee of up to $35 and your APRs
may be increased up to the variable Penalty APR of 29.99%.
For information about credit counseling services, call 1-877-337-8187.
000000 MC 00 A 0
ROBIN C DIMAGGiO
5737 KANAN RD
STE 117




                                                                               Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
AGOURA HILLS CA 91301-1601
How to reach us
www.clticards.com
l-BOO-THANKYOUtl-800-842-6596)
BOX 6500 SIOUX FALLS. SD 57"?
Account Summary
Previous balance £2.53
Payments -$0.00
Credits -$0.00
Purchases +$0.00
Cash advances +5000




                                                                                                        Exhibit LLL pt.3 Page 65 of 150
Fees +$0.00
interest +5000
New balance $2.53
Credit Limit
Credit limit Sll.100
Includes $3.400 cash advance limit
Eugiig_ié..£;gai.t. ........................................... 66..
includes $3.400 available for cash advances
Total ThankYou Member
Available Point Balance: 7.635
as 0110/31/15
1) See page 3 for more information
about your rewards.
Please print Address Changes on the reverse side
Minimum payment due $0.00
New balance -$2.53
Payment due date 12/10/15
Amount enclosed:
Account number ending in 7352
CITI CARDS
PO BOX 73045
Phoenix, AZ 85062-8045




                                                                                                                EX. LLL - 264
ROBIN C DIMAGGIO
www.cltlcards.com Page .1 UI a
l-BOO-THANKYOU(1-BOO-842-6596)
Account Summary
Trans. Post
date date Description Amount
Fees charged
Total fees charged In this billing period $0.00
Interest charged
'I'otel Interest charged in this billing period $0.00
I 2015 totals year-to-date I I
Total fees chrged in 2015 $0.00
Total interest charged in 2015 $0.00
Interest charge calculation
Days in billing cycle:30 ‘
Your Annual Percentage Rate (APR) is the annual interest rate on your account. __




                                                                                               Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Annual percenta_g Balance subject
rate (AP to interest rate Interest charge
I Balance type
'_uasiiééa ........................... ..
.   1299.3/Ew) .....§9:99.(92..................._.
Standard Adv 25.24% (V) 50.00 (D)
Your Annual Percentage Rate (APR) is the annual interest rate on your account. APRs followed
by (V) may vary. Balances followed by (D) are determined by the daily balance method
(including current transactions).
Account messages
You can help those impacted by the recent flooding in South Carolina by




                                                                                                                        Exhibit LLL pt.3 Page 66 of 150
redeeming your ThankYou® Points for a donation to the American Red Cross
Disaster Relief. Many people need support during this difficult time. Visit
thankyoucom to use your points to make a donation today.
Please note that if we received your pay by phone or online payment between
5 pm. ET and midnight ET on the last day at your billing period. your payment
will not be reflected until your next statemen .
Your account has a credit balance that is owed to you. You may make
charges against it it our account is open. We will send you a reiund of any
remaining balance 0 $1.00 or more after the balance has been on your
account lor 90 days or upon request made to the customer service address or
phone number above.
Member ID: 8910231539727993
Thank‘l’ou Points Earned This Period
2x on Dining
2x on Entertainment
in on Other Purchases
Total Earned
OOOO
» Visit thankyou.com to redeem
points or see full rewards
details.
Bonus Points may take one to two billing
cycles to appear on your statement. Please
refer to the specific terms and conditions
pertaining to the promotion for further
details.




                                                                                                                                EX. LLL - 265
SlTE:SD-Cl TMzLG-SOOO AClDzPB'IilBSO
07/10/17 12:24:18
ROBIN C DIMAGGIO
Member Since 2014 Account number ending in: 7352
Billing Period: 11h4/15—iZ/14I15
Minimum payment due: $0.00
New balance: $0.00
Payment due date: 01/10/16
Late Payment Warning: if we do not receive your minimum payment by the
date listed above. you may have to pay a late fee of up to 535 and your APRs
may be increased up to the variable Penalty APR of 29.99%.
For information about credit counseling services. call 1-877-337-8187.
000000 MC 00 A 0
ROBIN C DiMAGGiD
5737 KANAN RD
STE 117




                                                                               Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
AGOURA HILLS CA 91301-1601
How to reach us
www.clticards.com
i-800-THANKYOU(i-800-B42-6596)
BOX 6500 SIOUX FALLS. SD 57117
Account Summary
Previous balance -$2.53
Payments -$0.00
Credits -$0.00
Purchases +5253
Cash advances +5000




                                                                                                        Exhibit LLL pt.3 Page 67 of 150
Fees +5000
Interest +$0.00
New balance $0.00
Credit Limit
Credit limit $11,100
Includes $3,400 cash advance limit
Avaiiable credit $11,100
Includes $3.400 available for cash advances
Total ThankYou Member
Available Point Balance:
as of ii/30/15
» See page 3 for more information
about your rewards.
45,366
Please print Address Changes on the reverse side
Minimum payment due $0.00
New balance $0.00
Payment due date 01/10/16
Amount enclosed:
Account number ending in 7352
CITI CARDS
PO BOX 78045
Phoenix. AZ 85062-8045




                                                                                                                EX. LLL - 266
ROBIN C DIMAGGIO
www.cltlcards.com Page 2 0t 2
l-BOO-THANKYOU(i-800-B42-6596)
Account Summary
Trans. Post
date date Description Amount
Payments. Credits and Adjustments
“II-4m REFUNPEREDIT BALANCE £2.53
3 0°99 . .. ..
Fees charged
Total fees charged in this billing period $0.00
Interest charged
Total interest charged in this billing period 50-00
2015 totals year-to-date —'
Total fees charged in 2015 $0.00 ‘
Total-interest charged in 2015 “ $0.00




                                                                                               Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
:_ . .
- Interest cha rge calculation Days in billing cycletal |
Fm" ‘"“PE!.E!ES!E“.‘!¥ 5'" “P” Jill's ani't'iiin'e'esi ’ait_fl.t°"'a.‘59¥'“"
Annual percentage Balance subject
Balance type rate {AP ) to interest rate Interest charge
.
Standard Adv 2524% wt $0.00 (D) " $0.00
Your Annual Percentage Rate (APR) is the annual interest rate on your account. APR: followed
by (V) may vary. Balances followed by (D) are determined by the daily balance method
(including current transactions).
Account messages




                                                                                                                        Exhibit LLL pt.3 Page 68 of 150
For Citi customers who may be impacted by the recent tragic events
We recognize that customers traveling in France and Lebanon, or with family
members in the region. may lace challenges due to the recent tragic events.
Should you need account or travel assistance, we want to assure you that Citi
izs4t}e{re to help. Just call the number on the back of your card; we're available
Please note that if we received your pay by phone or online payment between
5 pm. ET and midnight ET on the last day of your billing period. your payment
will not be reflected until your next statement.
Member ID: 6910231539727993
ThankYou Points Earned This Period
2x on Dining
2): on Entertainment
1x on other Purchases
Total Earned
OOOO
» Visit thankyou.com to redeem
points or see full rewards
details.
Bonus Points may take one to two billing
cycles to appear on your statement. Please
refer to the specific terms and conditions
pertaining to the promotion for further
details.




                                                                                                                                EX. LLL - 267
SlTE:SD-Cl TM:LG-5000 ACIDzPB711850
OTIIOIIT 12:24:18
ROBIN c DIMAGGIO
Member Since 2014 Account number ending In: 7352
Billing Period: 12/15115-01/14116
Minimum payment due:
New balance:
Payment due date:
$25.00
$233.54
02/10/15
Late Payment Warning: If we do not receive your mlnlmum payment by the
date listed above, you may have to pay a late fee of up to $35 and your APRs
may be Increased up to the variable Penalty APR of 29.99%.
For Information about credit counseling services. call 1-877-337-8187.
000000 MC 00 A 0




                                                                               Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
ROBIN C DIMAGGIO
5737 KANAN RD
STE 117
AGOURA HILLS CA 91301-1601
How to reach us
www.citlcards.com
l-BOO-THANKYOU(l-800-842-6596)
BOX 6500 SIOUX FALLS. SD 57117
Account Summary
Previous balance $0.00
Payments 61.52000




                                                                                                        Exhibit LLL pt.3 Page 69 of 150
Credits -$0.00
Purchases +$1.TS3.54
Cash advances +$0.00
Fees +5000
Interest +5000
New balance $233.54
Credit Limit
Credit limit $11,100
Includes $3,400 cash advance limit
Available credit $0.866
includes $3.400 available for cash advances
Total ThankYou Member
Available Point Balance: 364
as 0112131/15
» See page 3 for more information
about your rewards.
Please print Address Changes on the reverse side
Minimum payment due $25.00
New balance $233.54
Payment due date 02/10/16
Amount enclosed:
Account number ending in 7352
CITI CARDS
PO BOX 73045
Phoenix. AZ 85062-8045




                                                                                                                EX. LLL - 268
ROBIN C DIMAGGIO
www.cltlcards.corn Page d 01 d
l-BOO'THANKYOUU'BOO-B42-6596)
Aeeeunt Summary
Trans. Pest
date date Deseriptim
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Payments. Credits and adjustments
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Standard Purehases
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Hui-'9???
Fees charged




                                                                                                                Case 1:17-ap-01099-VK            Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Total tees ehaewd in this titling period $11-00
Interest charged
Tel-i interest charged II this billng period $9.99
Ems totals year-ism. '
Tet-1 fees charged In 2916 $9.99
|__ Tut-l interest diverged in 21116 I $9.99
Interest ehe rge eateulatlen Days in billing _rth-:31
Ettiti‘i_t..ittilt._t_t_i_t‘lt_t_ttttti
Ann-II ree e Detainees eel
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. Balance type r_e__t_e I at rate _ eharge




                                                                                                                                                  Exhibit LLL pt.3 Page 70 of 150
nda d Purth
Standard Ade
.l
‘r‘eur Anmal Percentage Rate {APR} is the annual interest rate run your mt. APR: tethered
w W} m were. Bani-urea rationed hf EDI He determined lag the deity hm rrvelhud
{including current transactions}.
Member ID: 69102315391399:
ThanIIYnu Points Earned This Perlud
2t on Dining 124
21: on Entertainment {i
In on Other Purchases 1.682
Total Earned 1.316
1) Visit thankyou.com to redeem
points or see full rewards
details.
Bonus Paints may take one to two billing
curiae to appear on your statement. Pieuse
teller lo the seedlic term! and Eil'ldilitll'l!
pertaining to the promotion for iurlher
details.




                                                                                                                                                          EX. LLL - 269
SITE:SD-CI TM:LG-5000 ACIDzPB'r'llBSO
07/10/17 12:24:18
ROBIN C DIMAGGIO How to reach us
Member Since 2014 Account number ending in: 7352 www.cltlcards.oom
Billing Period: 01/15/16-02/12116 1-800-THANKYDUO-8008426596)
BOX 6500 SIOUX FALLS. SD 5711'!
Account Summary
Minimum payment due: $0.00 Previous balance $233.54
New balance: $0.00 paVTents '5978'16
Credits -$0.00
Payment due date: 03/10/16 Purchases +3744.52
Cash advances +5000
Late Payment Warning: If we do not receive your minimum payment by the Fees +$0.00
date listed above. you may have to pay a late fee of up to $35 and your APRs Interest +5090
may be Increased up to the variable Penalty APR of 29.99%.
For information about credit counseling services, call 1-877-337-8187. New balance $0.00




                                                                                              Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Credit Limit
Credit limit $11,100
Includes $3.400 cash advance limit
Available credit $11,100
includes $3.400 available for cash advances
Total ThankYou Member
Available Point Balance: 9,162
as of 01/31/16
» See page 3 for more information
about your rewards.
Please print Address Changes on the reverse side




                                                                                                                       Exhibit LLL pt.3 Page 71 of 150
Minimum payment due $0.00
New balance $0.00
Payment due date 03110116
Amount enclosed:
oooooo MC 00 A 0 Account number ending in 7352
ROBIN C DiMAGGiO CITI CARDS
5737 KANAN RD PO BOX 78045
STE 117 Phoenix. AZ 85062-8045
AGOURA HILLS CA 91301-1601




                                                                                                                               EX. LLL - 270
ROBIN C DIMAGGIO
www.cltteardsmm Page 2 at 2
I-800-THANK‘I’GUEi'_-DG-E‘iE-E_g_i
Account Summary»r
Trans. Pest
date date Descriptien mm
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Payments. _red“: and Adiuelm-enta
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standard Purchases
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2222
Fees charged
Totei fees charged in this hiling period scac
Interest charged
rot-i interest charged in this hillng period WM




                                                                                                                Case 1:17-ap-01099-VK                                           Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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TetaH'eea chargldinzm_ scene
Tate! interest came In acts scan I
_t_l‘é_t charge calcu liti_l'l _ags in titling crew!!! ‘
Annual t Helmets eel
‘1'? " - ......§P.—EF!.I
messes.
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.....'.'.‘.'F."‘“*
Year Armada! Percentage Rate {APR} is the annual interesl rate an your account. APRs [chewed
by W} may vary. em indented by: ID} are dlierrm'ned be the dairy balance memes




                                                                                                                                                                                 Exhibit LLL pt.3 Page 72 of 150
(hell.ng ail-rent u'lnsectidns].
Acecunt messages
Ycur Annual Account Summer-Ir is new:r aeaitabie antine. Te easily viewI this
detailed summary. sign an id Accaunt Deline at www.citieardsxem.
Heth ID: 891023153_'2'i’993
Thanh‘l'au Points Earned This Period
21 on Dining 1.459
21: on Entertainment 0
1:: on Other Purchases 0
Tutal Earned 1.439
» Visit thankyou.com to redeem
points or see full rewards
details.
Bonus Paints may take one in tile biliing
wctes Ie appear an mt stetmnt. P_ease
paler to the specific [arms and conditions
pet-tailing to the premo_m fut {urther
data_s.




                                                                                                                                                                                         EX. LLL - 271
SITE:5D'C| TM:LG-5000 ACID:P8711850
07/10/17 12:24:18
ROBIN c DIMAGGIO How to reach us
Member Since 2014 Account number ending In: 7352 www.cltlcards.com
Billing Period: 02(13116-03114/16 i-800-THANKYOU(i-800-842-6596)
BOX 6500 SIOUX FALLSr SD 57"?
Account Summary
Minimum payment due: $0.00 Previous balance $0.00
New balance: $0.00 Paments 'so'oo
Credlts -S0.00
Payment due date: 04I10/16 Purchases +$0.oo
Cash advances +$0.00
Fees +$0.00
For information about credit counseling services. call 1-877-337-8187. Interest +$0.00
New balance $0.00
Credit Limit




                                                                                         Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Credit limit $11,100
Includes $3.400 cash advance limit I I
Available credit $11,100
Includes $3.400 available for cash advances
Minimum payment due $0.00
New balance $0.00
Payment due date 04/10/16
Amount enclosed:
oooooo MC :30 A 0 Account number ending in 7352
ROBIN C DIMAGGIO CITI CARDS
5737 KANAN RD PO BOX 76045




                                                                                                                  Exhibit LLL pt.3 Page 73 of 150
STE 117 Phoenix, AZ 85062-8045
AGOURA HILLS CA 91301-1601




                                                                                                                          EX. LLL - 272
ROBIN c DIMAGGIO www.cltlcards.com Page 2 of 2
1~BOO-THANKYOUO-BOO-B42—6S96)
Account Summary
Trans. Post
date date Description Amount
Fees charged
Total lees charged in this billing period 50-00
Interest charged
Total interest charged in this billing period $11M
Interest charge calculatlon _ay: rn bi'.'ul'nq cycle-:31}
YE?".’..3"__'.‘.'.‘.‘.‘.‘" "'E'W'" “m. ‘5_E'.‘.?.__i_.'.'.‘.° BMW" '"".’..L'.?F._'.i'.‘.‘:'.f‘.‘_.?.”“’ In???”.._____......__... .
Annual percentage Balance subject 5
Balance type _ rete (AP 1 to Interest rate Miami _erce
LEEJRCEQSES. ..III'.'.I_........
l Standard Purch
Standard Adv 25.49% (V: 50.00 rm $5.00




                                                                                                                Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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|
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                                                                                                                                         Exhibit LLL pt.3 Page 74 of 150




                                                                                                                                                 EX. LLL - 273
5|TE:SD-Cl TM:LG-5000 ACID:P8711050
07/10/17 12:24:18
ROBIN C DIMAGGIO
Member Since 2014 Account number ending In: 7352
Billing Period: 03l15116-04114116
Minimum payment due: $25.00
New balance: $611.23
Payment due date: 05/10/16
Late Payment Warning: If we do not receive your minimum payment by the
date listed above, you may have to pay a late fee of up to $35 and your APRs
may be increased up to the variable Penalty APR of 29.99%.
For information about credit counseling services. call 1-877-337-8187.
000000 MC 00 A 0
ROBIN C DIMAGGIO
5737 KANAN RD
STE 117




                                                                               Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
AGOURA HILLS CA 91301-1601
How to reach us
www.cltlcards.com
l-BOO-THANKYOU(l-800-842-65961
BOX 6500 SIOUX FALLS. SD 57117
Account Summary
Previous balance $0.00
Payments -$200.00
Credits -S0.00
Purchases +3811.23
Cash advances +$0.00




                                                                                                        Exhibit LLL pt.3 Page 75 of 150
Fees +5000
Interest +$0.00
New balance $611.23
Credit Limit
Credit limit $11,100
Includes $3.400 cash advance limit
Available credit $10,488
includes $3.400 available for cash advances
Total ThankYou Member
Available Point Balance:
as of 03/31/16
» See page 3 for more information
about your rewards.
17.095
Please print Address Changes on the reVerse side
Minimum payment due $25.00
New balance $611.23
Payment due date 05/10/16
Amount enclosed:
Account number ending in 7352
CITi CARDS
P0 BOX 70045
Phoenix. AZ 85062-0045




                                                                                                                EX. LLL - 274
ROBIN C DiMAGGIO
Account Summaryr
Post
date bee-crlplicn
Trans.
data
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Payments. credit: and Miuttmcnts
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Standard Purchase:
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                                                     Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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Fees charged
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'I_i__i_i_'"'573%???Léiiéii___é_iI:




                                                                              Exhibit LLL pt.3 Page 76 of 150
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WE"it"i'éiw""W_i_a_____EH:2:11:21:
"EtaE_éifi'__'if_'_iii__é_ii_iiii_ZKL:If
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.. 5' .......E§§”U5E......_ 22221......._.   .__
www.cltlcards.com Page .I. or .1
l-BOO-THANKYOUll-BOO-842-6596)
"""tilti_f_iiéta_'é_ii@55555':3???"“Wilmm""7":
Total [In charged in this Hlinl period
Interest charged
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Total interest charm In this billing plriod
$¢M
2016 totals vaar'tc-tlata
“total full chaer in 2016
5-930 __ -
' Interest charge calculation
Annual pemngxl Balance subject
“it? “I”   Wit
slam:ch Porch
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Days rn btiil_g cycle-31
tour tillPRl annual meanest rate on tour accan I
’ “Wit_‘i'tit...... “‘"tfifi'm'
ass
Member ID: in_uences-rams
Thanh‘fnu Points Earned ‘l'l'Ils Parlor!
2:: on Dining 1.015
2:: on Entertainment El
lit on Other Purchases 304
Total Eaer 1.31?
1) Visit thankyou.com to redeem
points or see full rewards
details.
Bonus Points may take one to two billing
cycles to appear on your statement. Please
refer to the specific terms and conditions
pertaining to the promotion for further
details.




                                                                                      EX. LLL - 275
ROBIN C DIMAGGIO
WWw.cltlcards.com
l-BOO-THANKYOU(1'800-342-6596)
llnterest charge calculation, eont'cl
I Annual percentage Balance subject
Balance type rate (AP. ) to interest rate
.6.D.‘.’.Ah‘.§§§.......
Stand-3rd
1
Interest charge
Your Annual Percentage Rate (APR] Is the annual interest rate on your account. APRs followed
by (V) may vary. Balances fol!owed by (D) are determined by the daily balance method
(lnc'uding current transactlons}.
Page .3 0| .1




                                                                                               Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                                                                                                                        Exhibit LLL pt.3 Page 77 of 150




                                                                                                                                EX. LLL - 276
SITE:SD-Cl TM:LG-5000 ACIO:P8711350
OHIO/17 12:24:13
ROBIN C DIMAGGIO
Member Since 2014 Account number ending In: 7352
Billing Period: 04/15/16-05113116
Minimum payment due: $83.33
New balance: $4,671.84
Payment due date: 06/10/16
Late Payment Warning: If we do not receive your minimum payment by the
date listed above, you may have to pay a late fee of up to $35 and your APRs
may be increased up to the variable Penalty APR of 29.99%.
Minimum Payment Warning: If you make only the minimum payment each
period. you will pay more In interest and it will take you longer to pay off your
balance. For example:
if you make no additional You will pay off the And you will end up
charges using this card balance shown on this paying an estimated




                                                                                    Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
and each month you pay... statement in about... otal of...
Only the minimum payment 1'! year(s) $9.025
$5,688
$158 3 vearls) (Savings=$3.337)
For information about credit counseling services. call 1-877-337-8187.
000000 MC 00 J O
ROBIN C DIMAGGlO
5737 KANAN RD
STE 117
AGOURA HILLS CA 91301-1601
How to reach us




                                                                                                             Exhibit LLL pt.3 Page 78 of 150
www.clticards.com
l-BOO-THANKYOU(l-800-842-6596)
BOX 6500 SIOUX FALLS. SD 5711?
Account Summary
Previous balance $611.23
Payments $40.00
Credits -$0.00
Purchases +$4.063.28
Cash advances +$0.00
Fees +5000
Interest +$3?.33
New balance $4,671.84
Credit Limit
Credit limit $11,100
Includes $3,400 cash advance limit
Includes $3.400 available for cash advances
Total ThankYou Member
Available Point Balance:
as of 04130/16
» See page 3 for more information
about your rewards.
21.912
Please print Address Changes on the reverse side
Minimum payment due $83.33
New balance $4,671.84
Payment due date 06/10/16
Amount enclosed:
Account number ending in 7352
CITI CARDS
PO BOX 78045
Phoenix, AZ 85062-8045




                                                                                                                     EX. LLL - 277
ROBIN C DIMAGGIO
Account Summary
Trans. Post
date date Description
Payments, Credits and Adjustments
osloa_____PAYMENT THAth YOU
59000000 ____70 nooo'o __
Standard Purchases
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04fl5_ s‘ron EllAlJS________
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""éi""""Kié§é'LLis}éi"' ' “iii?




                                                                   Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                                            Exhibit LLL pt.3 Page 79 of 150
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‘"'iié'é__'_ii_'éi_iiiii'é'iéié_i_li'_iiiéiii'éELLLLLLLIIZIIiilj
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""if'_ibéiii'W"""fi___é__é_HiEEFEL:iifffILIQIIZIII
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If_é_i_iéiiii???PE:1:122:11:
'"'ii_i__é_iiiI???iiZZ:III:
www.cltlcards.com Page 2 of 5
l-BOO-THANKYOUU-BOO-B42-6596)
Amount
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‘iiiiifiiéi-Péi
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3332s;
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is}???
512325;:
':::::s:§:-;9::é
six-i=5
@131???
"““"‘s"3'§;66
$3"???
@5365
Member ID: 8910231539727993
ThankYou Points Earned This Period
2x on Dining 4.048
2): on Entertainment 451
1:: on Other Purchases 1,814
6.313
Total Earned
» Visit thankyou.com to redeem
points or see full rewards
details.
Bonus Points may take one to two billing
cycles to appear on your statement. Please
refer to the specific terms and conditions
pertaining to the promotion for further
details.




                                                                                                    EX. LLL - 278
ROBIN C DIMAGGIO
I-BOO-THANKYOU(i-800-B42-6596)
standard Punt-am cunt'd
Trans. Post
dale data
'
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                                                              Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                                       Exhibit LLL pt.3 Page 80 of 150
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www.cltlcards.com
Page 3 ol 5




                                                                                               EX. LLL - 279
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                                             Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                      Exhibit LLL pt.3 Page 81 of 150
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If___mwf____fWWW:I34EIi""7:1:
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.Eé__éi_:iii::T_ilffii
".I_____iI'_ié:"""
www.clticards.corn
l-BOO-THANKYOU(l-BOO-B42-6596)
Page 4 at b
#EEEii_'_m_Zi_i_f‘i_f:11: '2':




                                                                              EX. LLL - 280
ROBIN C DIMAGGIO www.cltlcards.com Page a o: ::
t-BOO-THANKYOU_-BOO-842-6596)
stamm Puruhlns. mnt‘d
Trans. Post
date dale Ducription Amount
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                                                                                             Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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r2016 totals yur-tn-tlate —|
...____“""TtFE."'"9"IFF°“
Tut-l Inher chilrllld in 21:16 $31.33
Interest aha ran ca lculattnn [lays in billing writ?!
Annual nruntl Balanc- whim
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Your Arms Forum-tag: Rate {APR} 1: the ant-sud interest rat: on war acacia-rt. APR: formed
by w; my m. Batman followed by it}: an: data-m:an hr the My helium.- mthud
undudlnq cufflnt tm‘_acum}.




                                                                                                                      Exhibit LLL pt.3 Page 82 of 150




                                                                                                                              EX. LLL - 281
SlTE:5D-C| TMzLG-SOOO ACIDzPBTIIBSO
07/10/17 12:24:13
ROBIN C DIMAGGIO
Member Since 2014 Account number ending in: 7352
Billing Period: 05/14/16-06/14/16
Minimum payment due: $108.64
New balance: $5,059.37
Payment due date: 07/10/16
Late Payment Warning: If we do not receive your minimum payment by the
date listed above. you may have to pay a late fee of up to $35 and your APRs
may be increased up to the variable Penalty APR of 29.99%.
Minimum Payment Warning: If you make only the minimum payment each
periodr you will pay more In interest and it will take you longer to pay off your
balance. For example:
If you make no additional You will pay off the And you will end up
charges using this card I balance shown on this _ ying an estimated




                                                                                    Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
and each month you pay... I statement in about... otal of...
Only the minimum payment I 18 yearls) $9.315
$171 3 year(s)
56.156
, (Savings=$3.659)
For information about credit counseling services, call 1-877-337-Bl87.
000000 MC 00 A 0
ROBIN C DIMAGGIO
5737 KANAN RD
STE 117
AGDURA HILLS CA 91301-1601




                                                                                                             Exhibit LLL pt.3 Page 83 of 150
How to reach us
www.cltlcards.com
l-BOO-THANKYOU(1-800-B42-6596l
BOX 6500 SIOUX FALLS. SD 57117
Account Summary
Previous balance $4,671.84
Payments -$100.00
Credits -$0.00
Purchases +5428.89
Cash advances +$0.00
Fees +$0.00
interest +$58.64
New balance $5,059.37
Credit Limit
Credit limit $11,100
includes $3,400 cash advance limit
Available credit ‘
includes $3.400 available for cash advances
Total ThankYou Member
Available Point Balance:
as of 05/31/16
» See page 3 for more information
about your rewards.
37,828
Please print Address Changes on the reverse side
Minimum payment due $108.64
New balance $5,059.37
Payment due date 07/10/16
Amount enclosed:
Account number ending in 7352
C ITl CAR D5
PO BOX 78045
Phoenix, AZ 35062-0045




                                                                                                                     EX. LLL - 282
ROBIN C DIMAGGIO
Acceunt Stimmar'gllr
Trans. Pest
date dat Description
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A IZ‘IJSA 2232
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                                                                                                                Case 1:17-ap-01099-VK               Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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Fees charged
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www.cltlcards.corn Page a u: .2
1-800-THANKYOUU'800-842-6596)
1555:f_mm"i:"""ILIT' ___.'.i'.'.'




                                                                                                                                                     Exhibit LLL pt.3 Page 84 of 150
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1 't____é'55555""_i_é_é_l__t:i:2:11.
f___i__f__t_é_it_iiiii:f1:11:12]:
iWI"Eitit?TT._ti_ii__itEEK!:LLIiI:ILLL...IIL""""'
Ei__'_i_l_tFi_ltiiiéé_‘é___'i"IIf._""""""'
....._tift_tii__ttéIi4EiteethH'_it_tl_f_i_j'2T“"'"Ziii'.1"""""
Tetal fee: charged in this titling IMHO-d
Interest charged
Date Description
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W555 9.4 code
$0.00
Arncunt
Tctal interact charged in this hitting paried
$55.64
2016 totals year-to-date
Total fees charged in 2016 $0.00
Total interest charged in 2016 $95.97
Member ID: 69192315397399:
Thanht'ou Pclnta Earned This Pcrietl
21 on Dining en
21 on Entertainment 16:9
1:: on Other Purchaces 39
Tetal Earned BI?
» Visit thankyou.com to redeem
points or see full rewards
details.
Bonus Paint: may take one to turn tilting
cycles to appear on your statement. Piease
refer to the speci_c terms and conditions
pertaining to the promotion for father
detaits.




                                                                                                                                                             EX. LLL - 283
ROBIN C DIMAGGIO
l-BOO-THANKYOU(1~BOO-842-6596)
' Interest charge calculation Days in billing cyclez32
Your Annual Percentage Rate (APR) is the annual interest rate on your account.
Annual percentage alance subject
Palance type rate (AP ) to interest rate Interest charge
PURCHAISE§__“___
I . . . . .     .
............. ._
Standard Adv 25.49% (V) $0.00 (D) “$0.00
Your Annual Percentage Rate (APR) is the annual interest rate on your account APRs followed
by (V; may vary. Balances followed by (D) are determined by the daily balance method
(including turrent transactions).
www.cltlcards.com
Pagea of 3




                                                                                              Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                                                                                                                       Exhibit LLL pt.3 Page 85 of 150




                                                                                                                               EX. LLL - 284
SITE:SD-Cl TMzLG-SOOO ACID:PB?11850
07/10/17 12:24:13
ROBIN c DIMAGGIO
Member Since 2014 Account number ending in: 7352
Billing Period: 06/15/16-07h4/16
Minimum payment due: $28.60
New balance: $93.17
Payment due date: 08/10/16
Late Payment Warning: If we do not receive your minimum payment by the
date listed above. you may have to pay a late fee of up to $35 and your APRs
may be increased up to the variable Penalty APR of 29.99%.
Minimum Payment Warning: If you make only the minimum payment each
period. you will pay more in interest and it will take you longer to pay off your
balance. For example:
if you make no additional You will pay off the And you will end up
charges using this card balance shown on this aylng an estimated




                                                                                    Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
and each month you pay... statement in about... otai of...
Only the minimum payment l 4 monthts) 595
l
For information about credit counseling services, call 1'877-337-8187.
000000 MC 00 A 0
ROBIN C DIMAGGlO
5737 KANAN RD
STE 117
AGOURA HILLS CA 91301-1601
How to reach us
www.citlcards.corn




                                                                                                             Exhibit LLL pt.3 Page 86 of 150
i-a00-THANKYOU(1-800-842-6596)
BOX 6500 SIOUX FALLS. SD STII?
Account Summary
Previous balance $5,059.37
Payments 67,821.19
Credits £0.00
Purchases +$2.76l.82
Cash advances +$0.00
Fees +5645?
Interest +528.60
New balance $93.17
Credit Limit
Credit limit $11,100
Includes $3,400 cash advance limit
Available credit I 511.006
Includes $3.400 availabie for cash advances
Total ThankYou Member
Available Point Balance:
as of 06/30l16
» See page 3 for more information
about your rewards.
42,181
Please print Address Changes on the reverse side
Minimum payment due $28.60
New balance $93.17
Payment due date 08/10/16
Amount enclosed:
Account number ending in 7352
CITI CARDS
PO BOX 78045
Phoenix. AZ 85062-8045




                                                                                                                     EX. LLL - 285
ROBIN C DIMAGGIO
Account Sillnrnnr'gt
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date date Descriptim
Flynn-nu. Credit: and Adjustment:
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Standard Purchase:
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                                                                                       Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                                                                Exhibit LLL pt.3 Page 87 of 150
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www.cltlcards.com Page g 0| .1
l-800-THANKYOU(I~800-842-6596)
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Thenk‘l'uu Points Earned This Period
21: on Dining 1,655
2: en Entertainment T53
In on Other Perches“ 1.55:9
Tntal Earned 3.9T4
» Visit thankyou.com to redeem
points or see fuIl rewards
details.
Bums Points may:I take one ie two billing
carries to appear on your statement. Pieese
refer ID the speci_c terms and renditions
permit-ling to the prurmtiun for further
details.




                                                                                                                        EX. LLL - 286
ROBIN c DIMAGGIO www.cltlcards.com Page 3 of 3
l-BOO-THANKYOU(1-300-842-6596)
standard Purchases. oont'cl
Trans. Post
date date Description Amomt
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Fees charged
Date Description Amount
Total fees charge! In tilts billing parted $54-57
Interest charged
Date Description Amount




                                                                                                Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
aim.._....._....._é__.E__é__m_ E___
rm: Httemt ther in this billing period 52m
' zeta tetals yearn-date
Total fee: charged in EDIE mm H
Tia'III interest charged In 2015 I $124.5? J
Interest charge calculation em in hitting miesc
Ef_e.Wittltttttd_t_it$55!}..iii???entitiltstifeliitt923?!!!Erie;.....___..............._..__.
Aneueiprroen e Intense culich I
Bat-n" “It”... _____....."*- ‘ Estate's“ "*- _rst:
'. EMT.“ “'"h . “34%53-‘27-99.5Et......... Ei__E’.
Standard Mir 25.49% W} sane {it} _ $0.00 ,




                                                                                                                         Exhibit LLL pt.3 Page 88 of 150
You Armai Percentage Rate Wm B the annual interest rate on ~.I-oi.|r aceoant. APR: foiicrreit
by W]: may trar'r. Balances {crime he 19} are determ'ned hr the dash;I hat-Inca method
{calming current transactions}.
Account messages
Your Candis] providets} the convenience of transacting wcrtdeiide wherever
your MasterCard. visa or American Express is accepted. Each purchase you
matte outside the U3. is suhiect to a transaction tee.




                                                                                                                                 EX. LLL - 287
5|TE:SD-C| TMtLG-SOOO ACID:P8711850
OHIO/17 12:24:18
ROBIN C DIMAGGIO
Member Since 20M Account number ending in: 7352
Billing Perlod:01/15/16~08l12/16
Minimum payment due: $0.00
New balance: $0.00
Payment due date: 09/10/16
Late Payment Warning: if we do not receive your minimum payment by the
date listed above. you may have to pay a late fee of up to 535 and your APRs
may be increased up to the variable Penalty APR of 29.99%.
For information about credit counseling services. call 1-877-337-8187.
000000 MC 00 A 0
ROBIN C DIMAGGIO
5737 KANAN RD
STE 117




                                                                               Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
AGOURA HILLS CA 91301-1601
How to reach us
www.cltlcards.com
l-BOO-THANKYOU(1-300-842-6596)
BOX 6500 SIOUX FALLSr SD 5711?
Account Summary
Previous balance $93.17
Payments $190.89
Credits -$0.00
Purchases +$97.TZ
Cash advances +5000




                                                                                                        Exhibit LLL pt.3 Page 89 of 150
Fees +5000
Interest +5000
New balance $0.00
Credit Limit
Credit limit 511.100
Includes $3.400 cash advance limit
Available credit $11566"
Includes $3.400 available for cash advances
Total ThankYou Member
Available Point Balance: 1.779
as of 071'311'16
» See page 3 for more information
about your rewards.
Please print Address Changes on the reverse side
Hlnlmum payment due $0.00
New balance $0.00
Payment due date 09110116
Amount enclosed:
Account number ending in 7352
CITI CARDS
PO BOX 78045
Phoenix. AZ 35062-8045




                                                                                                                EX. LLL - 288
ROBIN C DIMAGGIO
www.cltlcarcls.com rage a u: r:
l-BOO-THANKYOUU-BOO-B42-6596)
Account Summary
Trans. Post
date date Description reticent
I ............... .4... .H ............................ 3-4- --------------------------- .--
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OTHE- PA‘I'MENT THANK you 391:?
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Standard Purchase:
Riiii._____.....°iiii....__.~iiFEI.':iiEE.titi_. ...it???“it'l:':i..¢_......___...
Fees charged
Total m: dith a. this tale“ period $0.99
Interest charged
rm: interest chimed In this bi'llina period 59“




                                                                                                     Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Ema totals year-to-date
Total fee: charged in ZOIE _
Total Herod charged in 2015
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interest charoe calculation Bays in billing cyclei'l—l
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neianetiILL....__:_LIT._I...._'LLQ"'" " "" "




                                                                                                                              Exhibit LLL pt.3 Page 90 of 150
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"'é££§'ii§'iiii""""" " "£61661
“rear Mirna! Percentage Rate {Am in the actual interest rate on your account. APR; l'cliawed
by W} my vary. Batmcao in_amed tiny {Di are determined by the daily balance method
including current transactions}.
“anther ID: 3919231539721993
Thenlt‘rou Pom: Earned This Period
211'. on Dining 0
2:. on Entertainment 0
ht on Other Purchases 93
Total Earned 93
» Visit thankyou.com to redeem
points or See full rewards
details.
Em Points may take one to two billing
cycte: to appear or: your statement. Fiean
reler to the specific terms and conditims
pertaining to the promotion tor l'urther
details.




                                                                                                                                      EX. LLL - 289
SIT E:SD-Cl TM:LG-5000 ACID:P8711850
07/10/17 12:24:18
ROBIN C DlMAGGIO
Member Since 2014 Account number ending in: 7352
Billing Period: 08/13/16-09/14/16
Minimum payment due: $0.00
New balance: $0.00
Payment due date: 10/10/16
Late Payment liliiarning: If we do not receive your minimum payment by the
date listed above, you may have to pay a late fee of up to $35 and your APRs
may be increased up to the variable Penalty APR of 29.99%.
For information about credit counseling services. call 1-877'337-8137.
000000 MC 00 A 0
ROBIN C DIMAGGIO
5737 KANAN RD
STE 117




                                                                               Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
AGOURA HILLS CA 91301-1601
How to reach us
www.cltioards.com
i-BOO-THANKYOU(1-800-842-6596i
BOX 6500 SIOUX FALLS. SD 5711?
Account Summary
Previous balance $0.00
Payments -$0.00
Credits -$0.00
Purchases +5000
Cash advances +5000




                                                                                                        Exhibit LLL pt.3 Page 91 of 150
Fees +5000
Interest +$0.00
New balance $0.00
Credit Limit
Credit limit $11,100
includes $3.400 cash advance limit
Available credit """""" " $11566"
Includes $3.400 available for cash advances
Total ThankYou Member
Available Point Balance:
as of 08/31/16
» See page 3 for more information
about your rewards.
21,234
Please print Address Changes on the reverse side
Minimum payment due $0.00
New balance $0.00
Payment clue date 10/10/16
Amount enclosed:
Account number ending in 7352
CITl CARDS
PO BOX 78045
Phoenix, AZ 35062-3045




                                                                                                                EX. LLL - 290
ROBIN C DIMAGGIO
www.ctttcardsmorn Page 2 ot a
l-_vCIGI-THA Nlt'l'CtUtl-EDD-BJ! 2-5596}
Account Summarv,t
Trans. Post
date date Description Amount
Fees charged
Date _escriplion Amount
09! Eileen?t'é'étttiit_'t ""'CZZ:"""miWIIII" "'tfiiéé
Boos-poop it once
Total In: cheats in no: billing period W00
Interest charged
Total interest tam-a In this button period $°-°°
2016 totals gear-to-date
Total fees chided In 2016 $64.5
Total Interest charge-d it 2016 $134.51




                                                                                               Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Interest charge calculation Days in billing cyaaoa'
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Annual percentaa; Balance “abet
teen". this.-- with!” h "it?" "t- . Immt “ml
3.51.
Steward Porch sum mt gum
__
, staroare Ml:
Your Annud Percentage Rate tAFth is the annual interest rate on your account. APR: loilowed
by W} rho-r eat-5i. halal-lees totlomd he til]: are determined or the daily- halance method
(incoming current transactional.




                                                                                                                        Exhibit LLL pt.3 Page 92 of 150
Account messages
You can help those impacted he the recent tlooding in Louisiana by mailing a
donatton to the American Red Cross. Marry people need support during this
diflicult time. httpsufarwmedcrosacrgl'oonatefoonation
Please note that it we received your pay by hone or online payment between
5pm. ET and midnight ET on the lee day o tour billing period. your payment
Will not be re_ected until trour next stalemen .
Member ID: 8910231539727993
ThankYou Points Earned This Period
2x on Dining
2x on Entertainment
1x on Other Purchases
Total Earned
OOOO
» Vlslt thankyouxom to redeem
points or see full rewards
details.
Bonus Points may take one to two billing
cycles to appear on your statement. Please
refer to the specific terms and conditions
pertaining to the promotion for further
details.




                                                                                                                                EX. LLL - 291
SITE:SD-C| TM:LG-SOOO ACID:PB?11850
07/10/17 12:24:18
ROBIN c DIMAGGIO
Member Since 2014 Account number ending In: 7352
Billing Period: 09/15/16-10114116
Minimum payment due: $0.00
New balance: $0.00
Payment due date: 11/10/16
For information about credlt counseling servlces, call 1677-3257-8187.
000000 MC 00 A 0
ROBIN C DIMAGGIO
573T KANAN RD
STE 117
AGOURA HILLS CA 91301-1601
How to reach us
www.cltlcards.com




                                                                         Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
1-800-THANKYOU(l-800-842-6596)
BOX 6500 SIOUX FALLS, SD 5711?
Account Summary
Previous balance $0.00
Payments -$0.00
Credits -$0.00
Purchases 4-50.00
Cash advances +$0.00
Fees +8000
Interest +$0.00
New balance $0.00




                                                                                                  Exhibit LLL pt.3 Page 93 of 150
Credit Limit
Credit limit $11,100
Includes $3,400 cash advance limit
Available credit "311.156"
includes $3.400 available for cash advances
Minimum payment due $0.00
New balance $0.00
Payment due date
Amount enclosed:
Account number ending in 7352
CITI CARDS
PO BOX 73045
Phoenix. AZ 85062-8045
11/10/16




                                                                                                          EX. LLL - 292
ROBIN C DIMAGGIO
Account Surnrnargr
Trans. Pccl
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Fcas charged
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www.cltlcards.com
l-BOO-THANKYOUU-BOO-B42-6596)
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Interact chargc calculatinn




                                                                                                     Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Annual para-_ag: lalanct :uhjcct
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Standard Purch 1324
Stardani M? 25.49% W}
Want-_ hang Wm:
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_ags in billing again” I
.TEET.F"FH.WEF£!1 NEH???” will???“ '95.?! W SEW?-
Lliiiiéééli_éil!
Page a 0| r.




                                                                                                                              Exhibit LLL pt.3 Page 94 of 150




                                                                                                                                      EX. LLL - 293
SITE:SD-C| TM:LG'5000 ACID:P3711350
07/10/17 12:24:18
ROBIN C DIMAGGIO How to reach us
Member Since 2014 Account number ending in: 7352 www.cltlcards.com
Billing Period: 10/15/16-11114/16 l-SOO-THANKYOU(1-800-842-6596)TTY: l-877-693-0218
BOX 6500 SIOUX FALLS. SD 57117
Account Summary
Minimum payment due: Previous balance $0.00
Payments -$0.00
New balance: 504.77
$ Credits -S0.00
Payment due date: 12110/16 purchases +5504]?
Cash advances +$0.00
Late Payment Warning: if we do not receive your minimum payment by the Fees +£0.00
date listed abover you may have to pay a late fee of up to $35 and your APRs interest +50 00
may be increased up to the varlable Penalty APR of 29.99%. a ‘7




                                                                                               Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
For Information about credit counseling services. call 1-877-337-8187. New “dance 55 4' 7
Credit Limit
Credit limit $11,100
Includes $3,400 cash advance limit
Available credit 510.595
includes $3.400 available for cash advances
Total ThankYou Member
Available Point Balance: 3,449
as of 10/31/16
» See page 3 for more information
about your rewards.




                                                                                                                        Exhibit LLL pt.3 Page 95 of 150
Please print Address Changes on the reverse side
Minimum payment due $25.00
New balance $504.77
Payment due date 12/10/16
Amount enclosed:
oooooo MC 00 A 0 Account number ending in 7352
ROBIN C DIMAGGIO CITI CARDS
5737 KANAN RD PO BOX 78045
STE 117 Phoenix. AZ 85062-8045
AGOURA HILLS CA 91301-1601




                                                                                                                                EX. LLL - 294
ROBIN. C DIHA__t_
www.clttcarda.eem H5nt 4 or o
I'E__sT HANHT'DUtI‘BDCI—B‘IEEEEJTTY: i-_?T-593*DZIB
Acceunt Summary
Trans. Post
date date Description Amount
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                                                                                          Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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"toot-tintnitri_cation_ctitious'ctt""""'"""""""'sti:tti
"_o'o__'e'_icis'sr_nicei'e'ac'oiin_'_titis'cit“"""'""'"”sici.i'§
“HE
' .59.
Fees charged
Total fees charin In this billing period _int)
Interest charged
Total interest aim in thie billing aerial $0M
'zoto totals veer-te-lah




                                                                                                                   Exhibit LLL pt.3 Page 96 of 150
Total tees c‘ltmgad in 2015 $64.51
Interest charge catculatien om in hitting cttciezlt
Annual percent latenc- whiest
't'tm   "tats... hitters“"t-__......._!'t“"ttsts!tt
Standard Put'ch 13241.3
| Standard not
“.1fZLitéééiiitét:If:....._._...IE§-§§L
row Anmal Percentage Rate LAPRJ is the mount interest rate on w account. APFis icilowed
Mr W] may vary. Eaiances Iciioered hnr {D} are deterrtdned er the dew balance method
{including current transactions}.
Account messages
You can help those impacted by Hurricane hint-then:I h matting a donation to
the American Red Cross. it'lantr people need support uring this difficult time.
Visit thanltttoucom to use trour points to mate a donation todatr or donate
directttr to htlc_wttnnredcross.orgfcm.fcitigrouprpttb
Member ID: EQIDZEISJWIT_a
Thanh‘i'ou Petr-rte Earned This Period
at on Dining did
2: on Entertainment 1T6
It on Other Purchases it}?
Total EHI'IHI 901
)) Visit thankyou.com to redeem
points or see full rewards
details.
Bonus Points rnatr take one to two billing
circles to appear on you statement. Please
refer to the specific terms and ccn_ticrts
pertaining lo lhepromotim tor lurther
detaiis.




                                                                                                                           EX. LLL - 295
SITE:SD-Cl TM;LG-5000 ACIDzPB‘HlBSO
07/10/17 12:24:16
ROBIN C DIMAGGIO
Member Since 2014 Account number ending in: 7352
Billing Period: 11/15/16-12/14/16
How to reach us
www.cltlcerds.corn
1-800-THANKYOU(1~800-842-6596)TTY:1-877-693-0218
BOX 6500 SIOUX FALLS, SD 57"?
Account Summary
Minimum payment dUe: Previous balance $504.77
Payments 6504.77
New balance: 0.00
5 Credits -$0.00
Payment doe date: 01/ 10/17 purchases +so.oo
Cash advances +$0.00




                                                                                              Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Late Payment Warning: If we do not receive your minimum payment by the Fees +$0.00
date listed above. you may have to pay a late fee of up to $35 and your APRs Interest +5000
may be increased up to the variable Penalty APR of 29.99%. s 00
For information about credit counseling services, call 1-877-337-8187. New banana 0-
Credit Limit
Credit limit $11,100
includes 53.400 cash advance limit
Available credit 511.100
000000 MC 00 A 0
ROBIN C DIMAGGIO
5737 KANAN RD




                                                                                                                       Exhibit LLL pt.3 Page 97 of 150
STE 117
AGOURA HILLS CA 91301-1601
Includes $3.400 available for cash advances
Total ThankYou Member
Available Point Balance: 6.481
as of 11/30/16
» See page 3 for more information
about your rewards.
Please print Address Changes on the reverse side
Minimum payment due $0.00
New balance $0.00
Payment due date 01/10/17
Amount enclosed:
Account number ending in 7352
CITI CARDS
PO BOX 78045
Phoenix. AZ 85062-3045




                                                                                                                               EX. LLL - 296
H‘th I: EIIHAGE IO
“neither-imam Page 2 e1 2
I'B_'_tTHANH‘fCitJ_r_-__-_d E'GEQEJITTV: I-ETT-_'QJ-CIZ'IB
Account Summary
Trans. Past
date date Deuriptien mount
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“TFFNTTHWETPH... ..._:§5“t-FF.
.‘E__um .. u u u
Fees eharqed
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Interest charged
Mar Int-mt darned In thls billing park-l 5m
EDIE total: Harte-date - I
“nu-Telllin: charge:th _ _




                                                                                                                Case 1:17-ap-01099-VK                                Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Till-I _ltered charged it ENE $114.57
Interest eha rqe ea Ieulattnn Dav: in biliinq cram;
Mull-II panama: alum millet
.fi‘ilf_it" PM!!!
Standard MU
t'aur Annual Percentage Rate {APR} is the annual Interest rate an yaw accamt. APR: renewed
by W} mar raw. Batame: [attained by {0} are dltlrmtned he the dun-Ir baseline mutt-red
[tntluw'n'a mrrent kWh-MS}.
HIth ID: 891023153i12‘f993
Thanh‘l'eu Point: Earned This Furled
21: en Dining




                                                                                                                                                                      Exhibit LLL pt.3 Page 98 of 150
21: on Entertainment
11: on Other Purchases
Tatal Earned
@000
» Vlslt thankyou.com to redeem
points or see full rewards
details.
Bonus Paints may:r take me to two billing
water to appear an yaw statement. Please
refer In the rpadtt: terms and canditi’ms
pertadntnq to the promotion for twther
detaits.




                                                                                                                                                                              EX. LLL - 297
SlTE:SD-Cl TMzLG-SOOO ACIDzPBYIIBSO
07/1011? 12:24:13
ROBIN C DiHAGGIO
Member Since 20M Account number ending in: 7352
Billing Period: 12/15/16-01/13117
Minimum payment due:
New balance:
Payment due date:
For information about credit counseling services. call 1-877-337-8187.
000000 MC 00 A 0
ROBIN C DIMAGGIO
5737 KANAN RD
STE 117
AGOURA HILLS CA 91301-1601
$0.00
$0.00




                                                                         Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
02/10/17
How to reach us
www.cltlcards.com
l-BOO-THANKYOUll-BOO-B42-6596)TTY: 1-877-693-0218
BOX 6500 SIOUX FALLS. SD 5711?
Account Summary
Previous balance $0.00
Payments -$0.00
Credits 60.00
Purchases +5000
Cash advances +5000




                                                                                                  Exhibit LLL pt.3 Page 99 of 150
Fees +$0.00
Interest +5000
New balance $0.00
Credit Limit
Credit limit $25,000
Includes $3.400 cash advance limit
_g_g_iggaa_ .......................................
includes $3.400 available for cash advances
Minimum payment due
New balance
Payment due date
Amount enclosed:
Account number ending in 7352
CITI CARDS
PO BOX 73045
Phoenix. AZ 85062-3045
$0.00
$0.00
02/10/17




                                                                                                          EX. LLL - 298
HBBIH C- _ll-1560M
Accuunt Summary
Trans. Post
data data Bescripiim
................... nn-I-I-a-n- n llllllI-I'P'III'l--+"'-|l|--|||IlllllI'I------I'|-ll|-|||I'l'lll'l" -.---------u-
Fm charqad
wwwxltlnrdtoorn Page 4 or z
I-EOD-THhNI-(TOUEPBWFBJI E-EEQEHTT: l-ETT-E_'a-GEIE
Amount
Twill fen I:th in thin hllim period
Interest charged
$0.00
Tail! lnhrut durum! In till: billing park-l
$0.00
= lnttrtst charge calhula_on
Days in bitifnu m1qu




                                                                                                                Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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WFPF‘W"
Standav‘d Purch
Annu-II muni- Ba
rm W3.»
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lime nhjad
mm“??? “3'35? “'93.
fliééé_éiii:ii:ifiLLEé-l_"




                                                                                                                                         Exhibit LLL pt.3 Page 100 of 150




                                                                                                                                                 EX. LLL - 299
SlTE:SD-Cl TMzLG-SOOO ACID:P6711850
07/10/17 12:24:10
ROBIN C DIMAGGIO
Member Since 2014 Account number ending In: 7352
Billing Period: 011l4l17-02114/l'!
Minimum payment due:
New balance:
Payment due date:
For information about credit counseling services. call 1-877-337-8I87.
000000 MC 00 A 0
ROBIN C DIMAGGIO
5737 KANAN RD
STE 117
AGOURA HILLS CA 91301-1601
$0.00
$0.00




                                                                         Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
03/10/17
How to reach us
www.cltlcards.c0m
1-800~THANKYOU(l-800-842-6596) TTY: 1-877-693-0218
BOX 6500 SIOUX FALLS. SD 57117
Account Summary
Previous balance $0.00
Payments -$0.00
Credits -$0.00
Purchases +5000
Cash advances +$0.00




                                                                                                  Exhibit LLL pt.3 Page 101 of 150
Fees +5000
Interest +$0.00
New balance $0.00
Credit Limit
Credit limit $25,000
Includes $3.400 cash advance limit
.......................................
Includes $3.400 available for cash advances
Minimum payment due
New balance
Payment due date
Amount enclosed:
Account number ending in 7352
cm CARDS
PO BOX 78045
Phoenix, AZ 85062-6045
$0.00
$0.00
03/10/17




                                                                                                          EX. LLL - 300
ROBIN C DIMAGGIO www.cltlcrds.corn Page 2 of 2
l-BOO-THANKYOU(I-BOO-B42-6596)TTY: 1-877-693-0218
Account Summary
Trans. Post
date dale Description Arne Lrn't
Fees charged
Total fees charged in this billing period $0.00
Interest charged
Total interest charged in this billing period 3&9”
. Interest charge calculation Days in billing circle-E
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Annual percent: e Belem: subject
Balance type rate (AP to interest rate Interest cm
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Standard Adv 25.74% W} $0.00 [DJ 3mg




                                                                                                         Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                                                                                                                                  Exhibit LLL pt.3 Page 102 of 150




                                                                                                                                          EX. LLL - 301
SITE:50-Cl TMzLG-SOOO AC|0zP3711850
07/10/17 12:24:18
ROBIN c DIMAGGIO How to reach us
Member Since 2014 Account number ending in: 7352 www.citlcards.com
Bllllne Period: 02/15/11-03/14I17 1-800-THANKY0U(1-800-842-6596)TT‘I‘: 1-877-693-02l8
BOX 6500 SIOUX FALLS. SD 57117
Account Summary
Minimum payment due: $0.00 Previous balance $0.00
New balance: $0.00 Paments ’50‘00
Credits -$0.00
Payment due date: 04/10/17 purchases +so.oo
Cash advances +5000
Fees +$0.00
For information about credit counseling services, call 1-877-337-8187. Interest +5000
New balance $0.00
Credit Limit




                                                                                        Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Credit limit 525.000
Includes $3,400 cash advance limit
Available credit $25,000
Includes $3.400 available for cash advances
Minimum payment due $0.00
New balance $0.00
Payment due date 04/10/17
Amount enclosed:
oooooo MC 00 A 0 Account number ending in 7352
ROBIN C DIMAGGIO C':T| CARDS
5737 KANAN RD PO BOX 78045




                                                                                                                 Exhibit LLL pt.3 Page 103 of 150
STE 117 Phoenix. AZ 85062-0045
AGOURA HILLS CA 91301-1601




                                                                                                                         EX. LLL - 302
ROBIN c DIMAGGIO www.cltlcards.com Page 2 of 2
I-800-THANKYOU(1~800‘842-6596)TTY: l-B77-693-0218
Account Summary
Trans. Post
date date Description Am can!
Fees charged
Total lees charged in this billing period 50-5":
Interest charged
Total interest charged in this billing period 59-139
. Interest charge calculation Days in timing qua-.23
Your {Trial Percent-lee Rate 15th? awnuai inlL'r_1_:_-g_t__=_'fl_l_r an rnur HIEE'LEE___________
Annual percenta 1! Balance moi-ct
Balance type _ rate lAi’_ to intend! rate______ lntemt
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IL Standard Purch
|_ Standard Adv 25.74% w: 50mm} S_-GU.




                                                                                                   Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                                                                            Exhibit LLL pt.3 Page 104 of 150




                                                                                                                                    EX. LLL - 303
SITE:SD-Cl TM: LG-5000 AC I0:P8711850
07/10!” 12:24:13
ROBIN C DIMAGGIO
Member Since 2014 Account number ending In: 7352
Bllllng Period: 03/15/17-04114117
Minimum payment due:
New balance:
Payment due date:
For Informatlon about credit counseling services. call 1-877-337-BIB7.
000000 MC 00 A 0
ROBIN C DIMAGGIO
5737 KANAN RD
STE 117
AGOURA HILLS CA 91301-16!”
How to reach us
www.cltlcards.com




                                                                         Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
l-BOO-THANKYOUll-800-842-6596)(TTY: 1-877-693-0218)
BOX 6500 SIOUX FALLS. SD 51:17
Account Summary
$0.00 Previous balance $0.00
So 00 Payments -$0.00
' Credits -so.oo
05/10/17 Purchases +5000
Cash advances +5000
Fees +5000
Interest +5000
New balance $0.00




                                                                                                  Exhibit LLL pt.3 Page 105 of 150
Credlt lelt
Credit limit 525.000
Includes $3.400 cash advance limit
Available credit $25,000
Includes $3.400 available for cash advances
Minimum payment due $0.00
New balance $0.00
Payment due date 05/10/17
Amount enclosed:
Account number ending in 7352
CITI CARDS
PO BOX 78045
Phoenix, AZ 85062-8045




                                                                                                          EX. LLL - 304
www.citlcardmcm
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Trans. Past
data data Description mam-It
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"iiLicc'Haééé"




                                                                                                                Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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Standard Mu
25% m
Page 4 0| a




                                                                                                                                         Exhibit LLL pt.3 Page 106 of 150




                                                                                                                                                 EX. LLL - 305
SITE:SD-C| TM:LG-5000 ACID:P87|1850
07/10/17 12:24:18
ROBIN C DIMAGGIO
Member Since 2014 Account number ending in: 7352
Billing Period: 04/15111-05/12li7
Minimum payment due:
New balance:
Payment due date:
For information about credit counseling services. call 1-877-337-8i87.
000000 MC 00 A 0
ROBIN C DIMAGGiO
5737 KANAN RD
STE 117
AGOURA HILLS CA 91301-1501
How to reach us
www.citlcards.com




                                                                         Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
1-800-THANKYOU(i-BOO-B42-6596)(TTY: i-877-693-0218)
BOX 6500 SiOUX FALLSr SD 57H?
Account Summary
30,00 Previous balance $0.00
Payments -$0.00
0.00
5 Credits -$0.00
06/10/17 Purchases +5000
Cash advances +5000
Fees +5000
interest +5000




                                                                                                  Exhibit LLL pt.3 Page 107 of 150
New balance $0.00
Credit Limit
Credit limit $25,000
Includes $3,400 cash advance limit I ‘
Available credit $25,000
Includes $3.400 available for cash advances
Minimum payment due ‘50-‘30
New balance $0.00
Payment due date 06/10/17
Amount enclosed:
Account number ending in 7352
CITI CARDS
PO BOX 78045
Phoenix. AZ 85062-8045




                                                                                                          EX. LLL - 306
RUBEN C _ll-l IGGIO ww.cltlcarua.cnm
l‘_'_ El'THhNKY_UIEI-B__'_ilZ-EIE‘QEHTTY: I-E]I T-___-_zl_l
Aacaunt Summaryr
Trans. Purl
data data Description Amount
1 -------------------------------------------------------------------------------------------------------- ru ----------------------------------------- II-
Fns charged
Total In: clung“ in m: billing period 39-9“
lntarast charger!
mu inland: cam in m: killing "an 50-00
[ Interest charge calculating Day; in hitting man
' W
Annual rmnla I [alum anti-at '
aawrw...
Lh__é_é_iii...II:II:iif""""mmm'
5mm“ PM m""'""Lléééiéiéséiii:iiiim'f'éiél_'éii_iZI:____iiliiiifil_élééi




                                                                                                                Case 1:17-ap-01099-VK                         Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Page a or a




                                                                                                                                                               Exhibit LLL pt.3 Page 108 of 150




                                                                                                                                                                       EX. LLL - 307
SITE:SD-Cl TM:LG-5000 ACID:PBTIIB:U
07/10/17 12:24:13
ROBIN c DIMAGGIO
Member Since 2014 Account number ending in: 7352
Billing Period: 05/13/17-06/14/17
Minimum payment due:
New balance:
Payment due date:
For information about credit counseling services, call 1-877-337-8l87.
000000 MC 00 A 0
ROBIN C DIMAGGIO
5737 KANAN RD
STE 117
AGOURA HILLS CA 91301-1601
How to reach us
www.cltlcards.com




                                                                         Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
l-BOO-THANKYOU(l-800-B42-6596)(TTY: 1-877-693-02l8)
BOX 6500 SIOUX FALLS, SD 57117
Account Summary
50,00 Previous balance $0.00
Payments -$0.00
0.00
5 Credits -$0.00
07/10/17 Purchases +5000
Cash advances +5000
Fees +5000
Interest +5000




                                                                                                  Exhibit LLL pt.3 Page 109 of 150
New balance $0.00
Credit Limit
Credit limit 525.000
:ncludes $3.400 casn advance limit
Available credit 525.000
Includes $3.400 available for cash advances
Minimum payment due $0.00
New balance $0.00
Payment due date 07/10/17
Amount enclosed:
Account number ending in 7352
cm CARDS
PO BOX 78045
Phoenix. AZ 85062-5045




                                                                                                          EX. LLL - 308
ROBIN C DIMAGGIO www.cltlcards.corn Page 2 Gt 2
t-BOO-THANKYOU(l-BOO-842-6596)(TTY: I-877-693-0218)
Account Summary
Trans. Post
date date Description Amount
Fees charged
Total fees charged in this billing period $0.00
Interest charged
Total interest charged in this billing period 5090
Interest charge calculation Days in billing cyclez33|
Your annual Percentage Rate (APR) is the arm ual interest rate on your accounl. I
I Annuai percentag Balance subject
..manna:....._.___......._._......._._.....__r9fe_££!_...?_.32.irelstastrsts.........39mm warm
| Standard Adv 25.99% 50.00 (D) _ $0.00 I




                                                                                                 Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                                                                                                                          Exhibit LLL pt.3 Page 110 of 150




                                                                                                                                  EX. LLL - 309
DU LI ' “:0 I"
TrueEarningsm Card P “A U '
ROBIN C DIMAGGlO
Closing Date 01i11i15 Next Closing Date 02108115
Cosmo
W
p. 15
Account Ending 3-71001
$0.00
$0.00
New Balance
Minimum Payment Due
Payment Not Required
E] See page 2 for Important information about your account.
Cash Back Reward
As of Dec 2014




                                                                                                                 Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Q
Account Summary
,—
$15.35
Get your latest balances online.
Enroll at americanexpress.com/register
Previous Balance CR$924
Paymentleredits $463.57
New Charges +$472.81
Fees +£0.00
Interest Charged +5000




                                                                                                                                          Exhibit LLL pt.3 Page 111 of 150
New Balance $0.00
Minimum Payment Due $0.00
Credit Limit $10,000.00
Available C red It $10,000.00
Cash Advance Limit 32.00000
Available Cash $1000.00
Days In Billing Period: 31
l
Customer Care
[a
Customer Care
1-888-246—1076
Pay by Computer
americanexpresscornlpbc
Pay by Phone
1 -BOO-472-9297
a See page 2 for additional information.
a Payment Coupon Pay by Computer Pay by Phone ACCOUM Em__g 3410'"
Do not staple or use paper clips americanexpress.com/pbc 1-800-472-9297 Ente' account number on all documents.
Make check payable to American Express.
ROBIN C DIMAGGIO Payment Not Required
5737 KANAN RD
ll 1 17 N I
AGOURA HILLS CA 91301 9‘" 853333
Minimum Payment Due
$0.00
AMERICAN EXPRESS s
- BOX 0001 0
El Check here If your address or Los ANGELES CA 900968000 Amount Enclosed
phone number has changed.
Note changes on reverse side.
DDEIEISLIEI‘HEIS‘I‘II'H‘IE DDEIIJDEIEIEIDIJDIJDIJDEIIJEI [1? rl
IIIIII'IIIIIIIIIIllllllllllll'llllllllllllIllllllllllllnlllll




                                                                                                                                                  EX. LLL - 310
TrueEarnings" Card
ROBIN C DIMAGGIO
Closing Date 01I11115
DUPLIUA I I: UUI‘Y
COSTCO p.315
w
Account Ending 3-71001
Payments and Credits
Summary
Total
Payments -$35.27
Credits -$428.30
Total Payments and Credits $463.57
[ Detail “Indicates posting dale J
Payments Amount
01109119I ONLINE PAYMENT-THANK YOU 435.27




                                                       Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Credits Amount
12/13/14 COSTCO WHSE #0117 OOWESTLAKE VIL CA 410399
8185973901
01/04/15 COSTCO WHSE #0117 OOWESTLAKE VIL CA $59.91
8185973901
01/05/15 COSTCO WHSE #0117 OOWETLAKE VIL CA 4259.40
3185973901
New Charges
Summary
Total
Total New Charges $472.81




                                                                                Exhibit LLL pt.3 Page 112 of 150
[Betoil ]
ROBIN C DIMAGGIO
Card Ending 31-71001
Amount
12/13/14 COSTCO WHSE #0117 OOWESTLAKE VIL CA 533430
8185973901
12/14/14 WALGREENS #07992 OOOTHOUSAND OAKS CA $32.42
8002892273
Descrlption
REFER TO RECElPT
01/04/15 COSTCO WHSE #0117 OOWESTLAKE VIL CA 55529
8185973901
Fees
Total Fees for this Period
Amount
$0.00
Continued on reverse




                                                                                        EX. LLL - 311
ROBIN c DIMAGGIO DR_L—l_‘i_n‘é_ 01 p. 415
interest Charged
Amount
Total Interest Charged for this Period $0.00
About Trailing Interest
You may see interest on your next statement even if you paythe new balance In full and on time and make no new charges. This Is called "traIling
interest." Trailing Interest is the Interest charged when, for example. you didn't pay your previous balance In full. When that happens we charge
interest from the _rst day of the bllllng perlod until we receive your payment in full. You can avold paying interest on purchases by paying your
balance in full and on time each month. Please see the "When we charge interest” sub-section in your Cardmember Agreement for details.
2015 Fees and Interest Totals Yea r-to-Date
Amount
Total Fees in 2015 $0.00
Total Interest in 2015 $0.00
Interest Charge Calculation
Your Annual Percentage Rate (APR) is the annual interest rate on your account.
Transactions Dated Annual Balance Interest




                                                                                                                Case 1:17-ap-01099-VK                Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Percentage Subject to Charge
me T° Rate Interest Rate
Purchases 09/17/20“! 1 5.24% (v) 50.00 50.00
Cash Adva nces 09/17/2014 25 24% (v) $0.00 50.00
'"I'Oducmry Pu" ha“? 09/17/2014 0.00% $0.00 $0.00
Rate Expires 04/ 1 0/201 5 then will go to 15.24% (vl'
Total $0.00
(v) Variable Rate
" The APR forthis balance Is a promotional rate and it will expire on the date shown. Any balance at a promotional Interest rate that has not been
pald in full by its expiration date wili begin accrulng Interest at the 'go to' APR shown following the expiratlon date.
Continue to enjoy your promotional APR. This Is one way American Express is thanking you for your Card Membershl p.




                                                                                                                                                      Exhibit LLL pt.3 Page 113 of 150




                                                                                                                                                              EX. LLL - 312
UUI‘LIUA l I: UUI" I’
ROBIN C DIMAGGIO
Closing Date 01l11l15
p.515
Account Ending 3-71001
Cash Back Reward Summary Total Cash Back as of Dec 2014 Billing$qeri05d Charges J
5.3
Beginning Reward Balance +£14.45
Reward Amount Earned“ +£0.90
Total Reward Year To Date +£15.35
“Charges on this billing statement are not re_ected in the Rewards Summary information. Reward Amount Earned is pending until the
minimum payment has been made.
[ Reward Details
]
Rewards for Dec 2014 Billing Period Charges Quali_ed Spend Cash Back Reward
U.S. Gas Stations $0.00_ @396 $0.00




                                                                                                                Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
US. Restaurants $0.00 62% SM
_igible Travel Purchases $0.00 EM: $0.00
Other Eligible Purchases $90.00 Ell % 50g!
Total Reward This Period $90.00 50$
Total Rew_ Year To Date $1,535.39 51 5.35
[ Important Messages
J
Remember to pay at least the Minimum Payment Due by the Payment Due Date for eligible purchases on this statement to count towards
your annual reward and to avoid late fees.




                                                                                                                                         Exhibit LLL pt.3 Page 114 of 150




                                                                                                                                                 EX. LLL - 313
_ UUPLIUA I I: GUI-'1
TrueEurntnge.m Card
ROBIN C DIMAGGIO
Closing Data 02108.05 Next Closing Date 03f11i‘15
COSTCO
p. 118
Account Ending 3-71001
New Balance
Minimum Payment Due
$0.00
$0.00
Cash Back Reward
As of Jan 2015
g Get your latest balances online.
$1 5.79
Enroll at americanexpress.cornlregister




                                                                                                                  Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
1
Payment Not Required
Account Summary
[3 See page 2 for important information about your account.
:ii‘a _!.a_-.erturrit_:t2::.-.:    1.. .. .:.:~..-..:t..-. "
Your $15.79 Re ard Coupon is here!
a last page of this statement!
a". -
|.
Days in Billing Period: 23
Customer Care




                                                                                                                                           Exhibit LLL pt.3 Page 115 of 150
Previous Balance $0.00
Payments/Cred its 40.00
New Charges +5000
Fees +5000
. interest Charged +£0.00
New Balance $0.00
Minimum Payment Due $0.00
Credit Limit $10,000.00
Available Credit $10,000.00
Cash Advance Limit $2,000.00
Available Cash $2,000.00
amerlcanexpress.comlpbc
‘ E Pay by Computer
Customer Care
1-808-246-1076
Pay by Phone
1-800-472-9297
9 See page 2 for additional information.
Payment Coupon E Pay by Computer (0 Pay by Phone ACCPPM Hiding 3410‘"
M Do not staple or use paper clips americanexpress.comlpbc 1-300-472-9297 Ema! account numbef on all documents.
Make check payable to American Express.
ROBIN C DIMAGGIO Payment Not Required
5737 KANAN RD
ii 117 N M
AGOURA HILLS CA 91301 e“ 53%;
Minimum Payment Due
50.00
'"IIi'I'I'I'lII"I'IIII"l'l'll'll'"'IIIII"II'III'III'IIIIIHI
Check here if your address or EXPRESS Amount Ebclosed
h b h h ed.
p °"e ""m e' a“ “9 LOS ANGELES CA 90096-8000
Note changes on reverse side.
UBDDBH‘i‘i'_ElS'_‘ILTL‘iE DDIJIJEIUDIJIJEIDDEIDEIDDEI El? rl




                                                                                                                                                   EX. LLL - 314
TrueEarnings" Card
ROBIN C DIMAGGIO
Closing Date 02’081'15
DUPLIUAI I: UUI‘Y
cosm p313
w
Account Ending 3-71001
Fees ]
Amount
Total Fees for this Period $0.00
Interest Charged
Amount
Total Interest Charged (or this Period $0.00
About Trailing Interest
You may see interest on your next statement even if you pay the new balance in full and on time and make no new charges. This is called “trailing
Interest.“ Trailing interest is the Interest charged when, for example. you didn't pay your previous balance in full. When that happens we charge




                                                                                                                Case 1:17-ap-01099-VK               Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
interest from the _rst day of the billing period until we receive your payment In full. You can avoid paying interest on purchases by paying your
balance in full and on time each month. Please see the "When we charge interest"
sub-section in your Card member Agreement for details.
2015 Fees and Interest Totals Year-to-Date
Amount
Total Fees in 2015 $0.00
Total Interest in 201 5 $0.00
_ 1
Interest Charge Clculatron
Your Annual Percentage Rate (APR) is the annual interest rate on your account.
Transactions Dated Annual Balance Interest




                                                                                                                                                     Exhibit LLL pt.3 Page 116 of 150
Percentage Subject to Charge
me T° Rate Interest Rate
Purchases 09/17/2014 15.24% M $0.00 $0.00
Cash Advances 09/17/2014 25.24% M $0.00 $0.00
Introductory Purchase 09/17/2014 0.00% $0.00 5000
Rate Expires 04/10/2015 then will go to 15.24% M“
Total 50.00
(V) Variable Rate
" The APR forthis balance Is a promotional rate and it will expire on the date shown. Any balance at a promotional interest ratethat has not been
paid in full by its expiration date will begin accruing interest at the 'go to‘ APR shown following the expiration date.




                                                                                                                                                             EX. LLL - 315
UUI'I—IUA I I: DUI" 'I
ROBIN C DIMAGGIO
Closing Date 0208/15
p.518
Account Ending 3-71001
Cash Back Reward Summary
Total Cash Back as of Jan 2015 BillingsPeriod Charges j
15
Beginning Reward Balance +$15.35
Reward Amount Earned' +£0.44
Total Reward Year To Date +$1 5.79
‘Charges on this billing statement are not re_ected In the Rewards Summary Information. Reward Amount Earned is pending until the
minimum payment has been made.
Reward Details
J
Rewards for Jan 2015 Billing Period Charges Quali_ed Spend Cash Back Reward




                                                                                                                Case 1:17-ap-01099-VK     Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
U.S. Gas Stations $0.00 _@_ SM
U5. Restaurants $0.00 @296 $0.00
Eligible Travel Purchases $0.00 @296 $0.00
Other Eligible Purchases $44.51 61% $0.44
Total Rem This Period $44.51 $0.44
Total Reward Year To Date $1,579.90 51 5.79
[ Important Messages
You must maintain your Costco membership to redeem the Reward. See Cardmember Agreement for full terms and conditions.
Remember to pay at least the Minimum Payment Due by the Payment Due Date for eligible purchases on this statement to count towards
your annual reward and to avoid late fees.
Congratulations! Your annual reward coupon has been issued in this statement per the terms in your Cardmember Agreement. Enjoy your




                                                                                                                                           Exhibit LLL pt.3 Page 117 of 150
reward and remember to continue using your card everywhere American Express Cards are welcome to maximize your next annual cash back
reward.
Cash back rewards are calculated on each eligible transaction. The rewards shown above have been summarized for informational purposes.
For speci_c details, please visit your online statement.




                                                                                                                                                   EX. LLL - 316
TrueEarnings" Card DUPLICATE COPY
ROBIN C DIMAGGIO
Closing Date 04/10I15 Next Closing Date 05I11l15
COSTCO
w
p. 1I5
Account Ending 3-71001
New Balance $1,419.82
Minimum Payment Due $35.00
Payment Due Date 05/05/151
* Late Payment Warning:
the Payment Due Date listed above.
$38.00 and your Purchase APR may
if we do not receive your Minimum Pa merit Due by
you may have to pay a late ee of up to
be increased to the Penalty APR of 27.24%.




                                                                                                                Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
'2] See page 2 for Important information about your account.
i Please [old on the perforation below. detach and return with your payment i
A
El
Get cash back for eligible
purchases when you use the
Card.
l
Account Summary
Days in Billing Period: 30
Previous Balance $0.00




                                                                                                                                         Exhibit LLL pt.3 Page 118 of 150
Payments/Credits 40.00
New Charges 61,419.82
Fees +£0.00
Interest Charged +£0.00
New Balance $1.41 9.82
Minimum Payment Due $35.00
Credit Limit $10,000.00
Available Credit $8,580.18
Cash Advance Llrnit $2000.00
Available Cash $2,000.00
Customer Care
,—
I
Pay by Computer
americanexpress.comlpbc
Customer Care
1-888-246-1076
Pay by Phone
1-800-472-9297
'3 See page 2 for additional information.
l__...
Account Ending 3-71001
Payment Coupon Pay by Computer to Pay by Phone
Do not staple or use paper clips americanexpress.comlpbc 1-800-472~9297 Enter account number on all documents
Make check payable to American Express.
ROBIN C DIMAGGIO Payment Due Date
5737 KANAN RD 05I05I15
ii 1 i 7 N Ba|
AGOURA HILLS CA 91301 3:41335
Minimum Payment Due
$35.00
AMERICAN EXPRESS 5
Check here If your address or BOX 0001 Amount Ezdosed
phone number has changed_ LOS ANGELES CA 90096-8000
Note changes on reverse side.
DDDDBHH‘HEIS‘I‘ILTIHE UEIIJLLIL‘IBEEIEIDEIEIBSEID I]? rl




                                                                                                                                                 EX. LLL - 317
DUPLICATE COPY m
TrueEernings" Card p. 35
ROBIN C DIMAGGIO
Closing Date 041'10115 Account Ending 3-71001
1
New Charges
Summary
Total
Total New Charges $1,419.82—
{Detail J
ROBIN C DIMAGGIO
Card Ending 3-71001
Amount
04/01/15 COSTCO WHSE #01 17 OOWETLAKE VlL CA $220.83
8185973901
04/0311 5 COSTCO.COM I‘ONLINE 800-955-2292 WA $1,198.99




                                                                                                                Case 1:17-ap-01099-VK               Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
ONLINE MERCHANDISE
Fees ]
Amount
Total Fees for this Period $0.00
Fnterest Charged J
Amount
Total Interest Charged for this Period $0.00
About Trailing Interest
You may see interest on your next statement even iiyou pay the new balance in full and on time and make no new charges. This is called "trailing
interest.” Trailing Interest is the Interest charged when, for example. you didn't pay your previous balance in full. When that happens we charge
Interest from the _rst day ofthe billing period until we receive your payment in full. You can avoid paying interest on purchases by paying your




                                                                                                                                                     Exhibit LLL pt.3 Page 119 of 150
balance in full and on time each month. Please see the "When we charge interest" sub-section in your Cardmember Agreement for details.
3015 Fees and Interest Totals Year-to-Date
Amount
Total Fees in 2015 $0.00
Total Interest in 2015 $0.00




                                                                                                                                                             EX. LLL - 318
ROBIN C DIMAGGIO D p. 415
Interest Charge Calculation
Your Annual Percentage Rate (APR) is the annual interest rate on your account.
Transactions Dated Annual Balance Interest
Percentage Subject to Charge
Hm“ I“ Bate interest Rate
Pu rc bases 09]] 7/2014 152496 (1/) $0.00 $0.00
Cash Advances 09/17/2014 25.24% (1/) $0.00 $0.00
'mroducmry PU'ChBSE 09/17/2014 04/10/2015 0.00% $000 $0.00
Rate Explres 04/10/2015 then will go to 15.24% M"
Total $0.00
(1/) Variable Rate
' The APR for thls balance is a promotional rate and it wlll expire on the date shown. Any balance at a promotlonal interest rate that has not been
paid in full by its expirat Ion date will begin accruing interest at the 'go to' APR shown following the explration date.




                                                                                                                Case 1:17-ap-01099-VK                 Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                                                                                                                                                       Exhibit LLL pt.3 Page 120 of 150




                                                                                                                                                               EX. LLL - 319
UUI‘LIUHI 2 DUI" I’
ROBIN C DIMAGGIO
Closing Date 04/10I15
p.515
Account Ending 3-71001
Cash Back Reward Summary
Total Cash Back as of Mar 2015 Billing$Period Charges
0.00
Beglnning Reward Balance +$0.00
Reward Amount Earned“ +£0.00
Total Reward Year To Date +£0.00
I'Chargos on this billing statement are not re_ected in the Rewards Summary inlormation. Reward Amount Earned is pending until the
minimum payment has been made.
[ Reward Details
]
Rewards for Mar 2015 Billing Period Charges Quali_ed Spend Cash Back Reward




                                                                                                                Case 1:17-ap-01099-VK    Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
U5. Gas Stations $0.00 13% $0.00
US. Restaurants $0.00_ @290 $0.00
Eligible Travel Purchases $0.00 @296 $0 00
w: Eligible Purchases 30.00 am 50.09
Total Reward This Period $0.00 SM
Total Reward Year To Date $.00 $0.00
[ Important Messages
You must maintaln your Costco membership to redeem the Reward. See Cardmember Agreement for full terms and conditions.
J
Rememberto pay at least the Minimum Payment Due by the Payment Due Date iorellgible purchases on this statement to count towards
your annual reward and to avoid late fees.




                                                                                                                                          Exhibit LLL pt.3 Page 121 of 150
Cash back rewards are calculated on each eligible transaction.The rewards shown above have been summarized for informational purposes.
For speci_c details. please visit your online statement.




                                                                                                                                                  EX. LLL - 320
TrueEarnings“ Card p- 118
w
ROBIN C DlMAGGlO
Closing Date 05“ 1l15 Next Closing Date 06I10I15 Account Ending 3-71001
Cash Back Rebate
New Balance $98.09 As oprr 201 5
Minimum Payment Due $35.00 $1420
a For more details about Rewards, please
visit amerlcanexpressmomIrewardsinio
1 4
Payment Due Date 06/05/15 Account Summary
*Late Payment Warning: If we do not receive your Minimum Pa ment Due by PIEViOUS Balance 51-41932
the Payment Due Date listed above. you may have to pay a late ee of up to Payments/Credits 41.41932
$33.00 and your Purchase APR may be increased to the Penalty APR of 27.24%. New Charges 698.09
Fees +£0.00
Interest Charged 4-30.00




                                                                                                                Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Minimum Payment Warning: If you make only the minimum payment each period, New Balance $93.09
you wiIII pay more in interest and it will take you longer to pay off your balance. For Minimum payment Due 53530
examp e:
Credit Limit $10,000.00
if you make no additional You will pay offthe balance And you will pay an ‘ Available Credit $9,901.91
games and each month you :Rgc'on this statement In estimated total of... Cash Advance Limit $2000.00
_ Available Cash $2,000.00
l
If you would like information about credit counseling services, call 1-888-733-4139.
Minimum Payment Due
Only the Days in Billing Period: 31




                                                                                                                                         Exhibit LLL pt.3 Page 122 of 150
3 months 5100
Customer Care
. Pay by Computer
[3] See page 2 for important information about your account. 1 E amerkanexpressmmlpbc I
" . *- a“ . -. -: '.'!'I. .-.‘ a um. fag-L :i1.-. - $553:- .-..". . _
. C t C r P b Pho
Your $1 5.79 Reward Coupon ls here! 1333?.1‘5'4372 13005723337
Please go to the last page of this statement!
' I3] See page 2 for additional information.
& Please laid on the perforation below. detach and return with your payment 6
A
D
Payment Coupon E Pay by Computer Pay by Phone MCDUM Erldi_g 3'71 001
Do not staple or use paper clips americanexpress.coml'pbc 1-800-472-9297 Enter account number on all documents.
Make check payable to American Express.
ROBIN C DIMAGGIO Payment Due Date
5737 KANAN RD 06105115
it i 'i 7 Ba
AGOURA HILLS CA 91301 Newsg'gaf'éé
Minimum Payment Due
$35.00
i'l'i'il'lll'i'"""I"l"Iiil'I'Ii"l'l'l'll'ill'llllhii'llll'
0
Check here if your address or EXPRESS Amount Enclosed
phone number has changed.
Note changes on reverse side. L05 ANGELES CA 900958000
UDDDBH‘i‘I‘IELS‘l‘IL'PL‘lE DUUUU‘iBD‘lDDDDDBSDD I]? rl




                                                                                                                                                 EX. LLL - 321
TrueEarnings‘” Card
ROBIN C DIMAGGIO
Closing Date 05.111115
UUI'I-IUH I I: UUI' l
cosrca p.313
Account Ending 3-71001
Payments and Credits
Summary
TotaI
Payments 495.1 7
Credits -$1,324.65
Total Payments and Credits 41.41932
'lndicates posting date
Payments Amount
05/0111 5‘I CUSTOMER SERVICE PAYMENT THANK YOU 495.17
Credits Amount




                                                        Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
04/12/15 COSTCO WHSE #0117 OOWESTLAKE VIL CA —$296.69
8185973901
04/13/15 COSTCO WHSE #0117 OOWESTLAKE VIL CA 4113.86
8185973901
04/20/15 COSTCO WHSE #0117 OOWESTLAKE VIL CA 4452.73
8185973901
04124115 COSTCO WHSE #011 7 OOWESTLAKE VIL CA 4461.37
8185973901
New Charges
Summary
Total




                                                                                 Exhibit LLL pt.3 Page 123 of 150
Total New Charges $93.09
rDetail
ROBIN C DIMAGGIO
Card Ending 3-71001
Amount
04/23/15 COSTCOCOM “ONLINE 806955-2292 WA 59339
ONLINE MERCHANDISE
Fees ]
Amount
Total Fees for this Period $0.00
Contlnued on reverse




                                                                                         EX. LLL - 322
ROBIN c DIMAGGIO D abettinggmm m
Interest Charged
Amount
Total Interest Charged for this Period $0.00
About Tralling Interest
You may see Interest on your next statement even if you paythe new balance in full and on time and make no new charges. This is called "tralling
Interest." Trailing interest is the interest charged when, for example, you didn't pay your previous balance in full. When that happens we charge
interest from the _rst day of the billing period until we receive your payment In full. You can avoid paying interest on purchases by paying your
balance in full and on time each month. Please see the "When we charge interest“ sub-section in your Cardmember Agreement for details
_
2015 Fees and Interest Totals Yea r-to-Date
Amount
Total Fees in 2015 $0.00
Total Interest In 2015 50.00
J
Interest Charge Calculation




                                                                                                                Case 1:17-ap-01099-VK               Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Your Annual Percentage Rate (APR) is the annual interest rate on your account.
Transactions Dated Annual Balance Interest
Percentage Subject to Charge
__ me T° Rate Interest Rate
Purchases 09/ 1 7/201 4 15.24% (V) $0 00 $0.00
Cash Advances 09/17/2014 25.24% (V) $0.00 $0.00
Total $0.00
(v) Variable Rate




                                                                                                                                                     Exhibit LLL pt.3 Page 124 of 150




                                                                                                                                                             EX. LLL - 323
DUPLICATb GUI-'Y
ROBIN C DIMAGGIO
Closing Date 05/11I15
p.518
Account Ending 3-71001
(Cash Back Reward Summary
Total Cash Back as of Apr 2015 Billingsl’eriod Charges
14.20
Beginning Reward Balance +£0.00
Reward Amount Earned“ +£14.20
Total Reward Year To Date +£14.20
‘Charges on this billing statement are not re_ected in the Rewards Summary Information. Reward Arnou
minimum payment has been made.
nt Earned is pending until the
[ Reward Details
1




                                                                                                                Case 1:17-ap-01099-VK     Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Rewards for Apr 201 5 Billing Period Charges Qualified Spend Cash Back Reward
U.S. Gas Stations $0.00 @396 $0.00
US. Restaurants $0.00 {32% $0.00
Eligible Travel Purchases $0.00 @296 $0.00
Other Ellqible Purchases 51.419.82 @106 51420
Total Reward This Period $1.41 9.02 51 4.20
Total Reward Year To Date 51 .4193! $14.20
[ Important Messages
You must maintain your Costco membership to redeem the Reward. See Cardmernber Agreement for full terms and conditions.
J
Remember to pay at least the Minimum Payment Due by the Payment Due Date for eligible purchases on this statement to count towards




                                                                                                                                           Exhibit LLL pt.3 Page 125 of 150
your annual reward and to avoid late fees.
Cash back rewards are calculated on each eligible transaction. The rewards shown above have been summarized for informational purposes.
For speci_c details. please visit your online statement.




                                                                                                                                                   EX. LLL - 324
TrueEarnings‘" Cord
DUPLICA I I: COPY
COSTCO
p. 115
ROBIN C DIMAGGIO
Closing Date 06i10f15 Next Closing Date 07/10/15
Account Ending 3-71001
Cash Back Rebate
New Balance CR$21 9.88 As or May 2015
Minimum Payment Due $0.00 51 '93
a For more details about Rewards, please
visit americanexpress.comlrewardslnfo
Payment Not Requrred Account Summary
Previous Balance $98.09
Payments/Credits -$ 1 '2913.99
New Charges 44981.02




                                                                                              Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Fees +3000
interest Charged +£0.00
New Balance CR$219.08
Ea See page 2 for important information about your account. Minimum Payment Due $0.00
. . . C ed't Li it $10,000.00
Inzurgeggsbglag_iéan be applied against future transactions or you ALaHLbIEmOEd" 510,219.33
V q ' Cash Advance Llrnit $2,000.00
Available Cash $2,000.00
L
Days in Billlng Period: 30
Customer Care




                                                                                                                       Exhibit LLL pt.3 Page 126 of 150
Pay by Computer
amerlcanexpress.comlpbc
Customer Care
1-833-246-1076
See page 2 for additional informatlon.
Pay by Phone
1-800—472-9297
a Payment Coupon 3 Pay by Computer (- Pay by Phone
Do not staple or use paper clips americanexpress.comlpbc 1300-4723297
Account Ending 3-7100!
Enter account number on all documents.
Make check payable to American Express.
ROBIN c DIMAGGIO Payment Not Required
5737 KANAN RD
3 117 N ,
AGOURA HILLS CA 91301 5—3333
Mlnlmum Payment Due
$0.00
AMERICAN EXPRESS 5
Ch . BOX 0001 -
9‘“ “9'9 “‘3‘” “Chess” LOS ANGELES CA 90096—8000 “mum EM'W"
phone number has changed.
Note changes on reverse side.
DUUDBH‘IHHELS‘I‘Il7l‘IE lDDDEl‘lBBUDDDDUUDD El? rl




                                                                                                                               EX. LLL - 325
TrueEarnings‘” Card
ROBIN C DIMAGGIO
Closing Date 06/10I15
DUPLIUAI 2 COPY
COSTCO
m
[3.375
Account Ending 3-71001
Payments and Credits
S urnmary
Total
Payments 4100.00
Credlts -$1,198.99
Total Payments and Credits -51 393.99
[ Detail 'Indicates posting date
Payments Amount




                                                          Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
05727/15'l PAYMENT RECEIVED - THANK YOU 4100.00
Credlts Amount
05/2711 5 COSTCO WHSE #0117 OOWESTLAKE VIL CA 41,198.99
8185973901
New Charges
Su m mary
Total
Total New Charges $981.02
[ Detail ]
ROBIN C DIMAGGIO
Card Ending 3-71001




                                                                                   Exhibit LLL pt.3 Page 127 of 150
Amount
05/26/15 WWWSHOPPFFLYERSCOMSHOES $1 2397
SHOES
866-355-6227
05/2711 5 PIER 1 01 SSSSTHOUSAND OAKS CA 53053
8004454595
05/27/15 BEAUTYHABII' INC 8003778771 CA 524030
DIRECT MKTG MISC
Description
VARIETY STORE
06/0211 5 WAYFAIR'WAYFAIR WAYFAIRCOM 550332
1873976073 91301
CATHERINE MCDONALD LOS ANG
WATER COLOR BY CATHERINE M
FULL SIZE STORAGE PLATFORM
06/03/15 COSTCO WHSE #01 17 00WESTLAKE VIL CA $22.35
8185973901
Fees
Amount
Total Fees for this Period $0.00
Continued on reverse




                                                                                           EX. LLL - 326
ROBIN C DIMAGGIO mggggm p. 4/5
Linterest Charged
Amount
Total interest Charged for this Period $0.00
About Trailing Interest
You may see interest on your next statement even if you pay the new balance In full and on time and make no new charges. This is called "trailing
interest." Trailing interest is the Interest charged when. for example. you didn't pay your previous balance in full. When that happens we charge
interest from the first day of the billing period until we receive your payment in full. You can avoid paying Interest on purchases by paying your
balance In full and on time each month. Please see the “When we charge Interest" sub-sect ion in your Cardmember Agreement for details.
2015 Fees and Interest Totals Yea r-to-Date
Amount
Total Fees in 2015 $0.00
Total Interest in 2015 $0.00
Interest Charge Calculation
Your Annual Percentage Rate (APR) is the annual interest rate on your account.
Transactions Dated Annual Balance Interest




                                                                                                                Case 1:17-ap-01099-VK                Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Percentage Subject to Charge
Fm” T° Rate Interest Rat;
Purchases 00/17/2014 15.24% (V) $0.00 $0.00
Cash Advances 09/1 712014 7'1 24% iv) $0.00 $0.00
Total $0.00
(v) Variable Rate




                                                                                                                                                      Exhibit LLL pt.3 Page 128 of 150




                                                                                                                                                              EX. LLL - 327
DUPLICATE GUI-W
ROBIN C DIMAGGIO
Closing Date 06110115
p.515
Account Ending 3-71001
Cash Back Reward Summary Total Cash Back as of May 2015 Billingsgeriod Chares J
.93
Beginning Reward Balance +£14.20
Reward Amount lEarnetl'I 41227
Total Reward Year To Date 461.93
'Charges on this bllllng statement are not re_ected In the Rewards Summary Information. Reward Amount Earned ls pending until the
minimum payment has been made.
(Reward Details J
Rewards for May 201 5 Bllllng Period Charges Quali_ed Spend Cash Back Reward
U_5. Gas Stations $0.00 @396 5&0
U.S. Restaurants £10 132% $0.00




                                                                                                                Case 1:17-ap-01099-VK     Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Eligible Trailinurchases 50.00 @296 $0.00
cher Eligible Purchases $1,226.56 @196 41227
Total Reward This Period -$‘I r226.56 -$'I 2.27
Total Reward Year To Date $193.26 51 .93
l important Messages
You must maintain your Costco membership to redeem the Reward. See Cardmember Agreement for full terms and conditions.
Remember to pay at least the Minimum Payment Due by the Payment Due Date for eligible purchases on this statement to count towards
your annual reward and to avoid late fees.
Cash back rewards are calculated on each eligible transaction. The rewards shown above have been summarized for informational purposes.
For speci_c detalls, please visit your online statement.




                                                                                                                                           Exhibit LLL pt.3 Page 129 of 150




                                                                                                                                                   EX. LLL - 328
TrueEarnings"1 Card
ROBIN C DIMAGGIO
Closing Date 07!“! 0115
DUPLIUA I I: UUI'" 1
Next Closing Date 03101115
COSTCO
anew
p. 115
Account Ending 3-71001
New Balance
Minimum Payment Due
Payment Not Required
CR$25.46
$0.00
a See page 2 for important Information about your account.
® Your credit balance can be applied against future transactions or you




                                                                                                               Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
may request a refund.
El
Get cash back for eligible
purchases when you use the
Card.
Account Summary
Previous Balance 01321938
Paymentstredits 40.00
New Charges +$194.42
Fees +£0.00
interest Charged +£0.00




                                                                                                                                        Exhibit LLL pt.3 Page 130 of 150
New Balance 02525.46
l Minimum Payment Due $0.00
Credit Limit $10,000.00
Available Credit $10,025.46
Cash Advance Limit $2,000.00
Available Cash 52.00000
Days in Billing Period: 30
Customer Care
Pay by Computer I i
americanexpresscomlpbc J
Customer Care Pay by Phone
1-588-246-1076 1-800-472-9297
I21 See page 2 for additional information.
Payment Coupon Pay by Computer (t Pay by Phone ARON“ Hiding 3-710“
Do not staple or use paper clips americanexpresscomlpbc 1-800-472-9297 Emer account number on all documents.
Make check payable to American Express.
ROBIN C DIMAGGIO Payment N01 REqUiiEd
5737 KANAN RD
ii 1 17 N I
AGOURA HILLS CA 91301 3532?;
Minimum Payment Due
$0.00
AMERICAN EXPRESS s
. BOX 0001 I
hele If your address or     AMOU_t Enclosed
phone number has changed.
Note changes on reverse side.
DDDUBH‘i‘i_ELS‘I‘317152 IDDDUESHEUDDUDDDUD I]? rl




                                                                                                                                                EX. LLL - 329
TrueEarnings° Card DUPLICATE COPY COSTCO p. 3/5
W
ROBIN C DIMAGGIO
Closing Date 07/10/15 Account Ending 3-71001
New Charges
Su mmary
Total
Total New Charges $1 94.42
[Detail J
ROBIN C DIMAGGIO
Card Ending 3-71001
Amount
06/15/15 COSTCO WHSE #0117 OOWESTLAKE lVIL CA $30.93
8185973901
07/03/15 COSTCO WHSE #0044 ODCANOGA PARK CA 516149
8188849099




                                                                                                                Case 1:17-ap-01099-VK                Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Fees
Amount
Total Fees for this Period $0.00
Interest Charged
Amount
Total Interest Charged for this Period $0.00
About Trailing Interest
You may see interest on your next statement even if you pay the new balance in lull and on time and make no new charges.This ls called "traillng
interest.“ Trailing interest is the interest charged when. for example. you did n't pay your previous balance in full. When that happens we charge
interest from the _rst day of the billing period until we receive your payment in full. You can avoid paying interest on putc hases by paying your
balance in full and on time each month. Please see the “When we charge interest" sub-section In yourCardmember Agreement for details.




                                                                                                                                                      Exhibit LLL pt.3 Page 131 of 150
2015 Fees and Interest Totals Year-to-Date
Amount
Total Fees in 201 5 $0.00
Total Interest in 2015 $0.00




                                                                                                                                                              EX. LLL - 330
ROBIN C DIMAGGlO
D
skewing? 1301
p.415
Interest Charge Calculation
Your Annual Percentage Rate (APR) is the annual interest rate on your account.
Transactions Dated Annual Balance Interest
Percentage Subject to Charge
Fm” T° Rate_ Interest Rate
Purchases 09/17/2014 1 5.24% M $0.00 $0.00
Cash Advances 09/17/2014 252496 M $0.00 $0.00
Total $0.00
(v) Variable Rate




                                                                                 Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                                                                                                          Exhibit LLL pt.3 Page 132 of 150




                                                                                                                  EX. LLL - 331
UUI‘LIUAI B UUI’ I
ROBIN C DIMAGGIO
Closing Date 07I10/15
p.515
Account Ending 3-71001
Cash Back Reward Summary
Total Cash Back as of Jun 2015 Billing geriréd Charges
- .2
Beginning Reward Balance +£1.93
Reward Amount Earned“ $2.18
Total Reward Year To Date 60.25
'Charges on this billing statement are not re_ected In the Rewards Summary Information. Reward Amount Earned is pending until the
minimum payment has been made.
[ Reward Details
]
Rewards for Jun 2015 Billing Period Charges Quali_ed Spend Cash Back Reward




                                                                                                                Case 1:17-ap-01099-VK     Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
95. Gas Stations $0.00 @396 $0.00
US. Restaurants $0.00 92% $0.00
Eligible Travel Purchases $0.00 @296 5%
Other Eligible Purchases $217.97 @196 42.18
Total Reward This P_d 6217.97 62.13
Total Reward Year To Date asl_j'l $0.25
[ Important Messages
You must maintain yourCostco membership to redeem the Reward. See Cardmember Agreement for full terms and conditions.
J
Remember to pay at least the Minimum Payment Due by the Payment Due Date for eligible purchases on this statement to count towards
your annual reward and to avoid late fees.




                                                                                                                                           Exhibit LLL pt.3 Page 133 of 150
Cash back rewards are calculated on each eligible transaction. The rewards shown above have been summarized for informational purposes.
For speci_c details. please visit your online statement.




                                                                                                                                                   EX. LLL - 332
TrueEarningso card COPY
ROBIN C DIMAGGIO
Closing Date 08111115 Next Closing Date 09/101115
COSTCO
W
p. 15
Account Ending 3-71001
,—
New Balance $159.08
Minimum Payment Due $35.00
Payment Due Date 09/05/151
iLate Payment Warning: If we do not receive your Minimum Pa ment Due by
the Payment Due Date listed above, you may have to pay a late ee of up to
$38.00 and your Purchase APR may be increased to the Penalty APR of 27.24%.
See page 2 for important information about your account.
(D




                                                                                Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
SERVICE ADVISORY: You will no longer be able to use this American
Express Card for any purchases as early as April 2016 because our Costco
partnership is ending. You can keep using your Card and earning
rewards until that time. Please call 1—838-246-1076 if you need more
information.
i Please fold on the perforation below. detach and return with your payment i
Payment Coupon
Pa b Com uter
a Do not staple or use paper clips amgriganexpfesscomlpbc
ROBIN C DIMAGGIO
5737 KANAN RD




                                                                                                         Exhibit LLL pt.3 Page 134 of 150
it 1 17
AGOURA HILLS CA 9130]
AMERICAN EXPRESS
BOX 0001
Check here if your address or
phone number has changed.
Note changes on reverse side.
LOS ANGELES CA 90096-8000
"IllllllIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIII”
00003“‘l‘l‘lEl5‘l‘ll?l‘iE DUDELE‘IUBDDDUDBSDU 0'?
Pay by Phone
1 -800-472-9297
Cash Ba ck Rebate
As of Jul 201 5
$1 .69
g For more details about Rewards. please
visit americanexpressxomlrewardslnfo
Account Summary
Previous Balance 01525.46
Payments/Credits $103.54
New Charges 6288.08
Fees +£0.00
Interest Charged +£0.00
i New Balance $159.08
1 Minimum Payment Due $35.00
Credit Limit $10,000.00
Available Credit 59.84092
Cash Advance Limit $2,000.00
Available Cash 52.000.00
Days in Billing Period: 32
Customer Care
Pay by Computer 1
americanexpress.comlpbc J
Customer Care Pay by Phone
1-888-246-1076 1-800-472-9297
'3 See page 2 for additional information.
Account Ending 3-71001
Enter account number on all documents.
Make check payable to American Express.
Payment Due Date
09l051r 1 5
New Balance
51 59.08
Minimum Payment Due
0
Amount Enclosed
rl




                                                                                                                 EX. LLL - 333
TrueEarnings" Card DUPLICATE COPY
ROBIN C DIMAGGIO
Closing Date 03111115
m p.316
w
Account Ending 3-71001
Payments and Credits
L Summary #
Total
Payments $0.00
Credits -$103.54
Total Payments and Credits -51 03.54
_etail J
Credits Amount
07/25/15 COSTCO WHSE #0117 OOWETLAKE VILLAGE CA -$103.54
8185973901




                                                           Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
New Charges 1
Summary J
Total
Total New Charges $208.08
_e‘taii
ROBIN C DIMAGGIO
Card Ending 3-71001
J
Amount
07/2511 5 CHEVRON G&W VENTURESCALABASAS CA
818880631 1




                                                                                    Exhibit LLL pt.3 Page 135 of 150
Descrlption Price
FU ELIMISCELLAN EOUS $40.00
001 UNL REG
$40.00
07/2511 5 COSTCO WHSE #0117 OOWESTLAKE VILLAGE CA
8185973901
$54.23
07/2511 5 BEAUTY SECRETS 0739 WESTLAKE VlLL CA
310-550-2301
Description
COSMETIC STORES
$83.85
08/01/15 COSTCO #2 1-800-774—2678 WA
COSTCO MEMBER RENEWAL
Description
For Membership-
111818744963
$110.00
Fees
Total Fees for this Period
Amount
$0.00
Continued on reverse




                                                                                            EX. LLL - 334
ROBIN C DIMAGGIO p. 415
Interest Charged
Amount
Total Interest Charged for this Period $0.00
About Tralling Interest
You may see interest on your next statement even If you paythe new balance in full and on time and make no new charges. Thls is called "trailing
interest.” Trailing Interest Is the Interest charged when. for example. you did n't pay your prevlous balance in full. When that happens we charge
interest from the _rst day ofthe billing period until we receive your payment In full. You can avoid paying interest on purchases by paying your
balance In full and on time each month. Please see the "When we charge interest“ sub-sectlon in your Cardmember Agreement for details.
2015 Fees and Interest Totals Year-to-Date
Amount
Total Fees in 2015 $0.00
Total Interest in 2015 $0.00
Interest Charge Calculation
Your Annual Percentage Rate (APR) Is the annual interest rate on your account.
Transactions Dated Annual Balance Interest




                                                                                                                Case 1:17-ap-01099-VK                Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Percentage Subject to Charge
_ _ F'o'“ T° Rate interest Rate
Purchases 09/17/2014 1524% (V) $0.00 $0.00
Cash Advances 09/17/2014 25.24% M $0 00 $0.00
Total $0.00
iv) Variable Rate




                                                                                                                                                      Exhibit LLL pt.3 Page 136 of 150




                                                                                                                                                              EX. LLL - 335
DUPLICATE COPY
ROBIN C DIMAGGIO
Closing Date 08/11115
p.515
Account Ending 3-71001
l Cash Back Reward Summary
Total Cash Back as of Jul 2015 Billing gerigd Charges
1.6
Beginning Reward Balance 40.25
Reward Amount Earned“ +£1.94
Total Reward Year To Date 4-31.69
“charges on this billing statement are not re_ected In the Rewards Summary Information. Reward Amount Earned Is pending until the
minimum payment has been made.
[ Reward Details
1
Rewards for Jul 201 5 Billing Period Charges Quali_ed Spend Cash Back Reward




                                                                                                                Case 1:17-ap-01099-VK     Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
U.S. Gas Stations $0.00 @396 $0.00
US. Restaurants $0.00 @296 $0.00
_ngle Travel Purchases $0.00 @296 $0.00
Other Eligible Purchases 5194.42 {5.11% $1.94
Total Reward This Period 51 94.42 51.14
Total Rewa_‘lear To Date $169.71 $1.69
_mpor‘tant Messages J
You must maintain your Costco membership to redeem the Reward. See Cardmember Agreement for full terms and conditions.
Remember to pay at least the Minimum Payment Due by the Payment Due Date foreliglble purchases on this statement to count towards
your annual reward and to avoid late fees.
Cash back rewards are calculated on each eligible transactlon. The rewards shown above have been summarized for informational purposes.




                                                                                                                                           Exhibit LLL pt.3 Page 137 of 150
For speci_c details, please visit your online statement.




                                                                                                                                                   EX. LLL - 336
DUPLICAI I: UUPY
TrueEarnings“ Card m p. 1110
w
ROBIN C DIMAGGIO
Closing Date 093101’15 Next Closing Date 10/11I15 Account Ending 3-71001
Cas a ate
New Balance CR$4.88 A5 cal: 23"?”
Minimum Payment Due $0.00 “'33
E For more details about Rewards. please
vlsit amerlcanexpresscornirewardsinfo
Payment Not Required Account Summary
Previous Balance $159.08
Payments/Credits -$283.96
New Charges +$120.00
Fees +£0.00
Interest Charged +5000




                                                                                                  Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
[ New Balance 0254.88 1
a See page 2 for Important Information about your account. Minimum Payment Due $0.00 I
_ _ _ _ Credit Limit $10,000.00
6) Your credit balance can be applied against future transactions or you Manama med" 510,004.33
may request a rafund‘ Cash Advance Limit $2,000.00
Q s P 7 f I m t Pd N _ d th f u l Available Cash $2,000.00
ee age oran mpo n vacy o ce an e o ow ng pages . . _
for important notices about Your Billing Rights, Electronic Fund Days in B'mng Pemd‘ 30
Transfer Error Resolution and a notlce for WA residents. L
Customer Care
. . . Pa b Com uter




                                                                                                                           Exhibit LLL pt.3 Page 138 of 150
SERVICE ADVISORY: You Will no Ion er be able to use this American E 3’ 3' p
(D Express Card for any purchases as ear y as April 2016 because our l amencanexp'ess'wwpbc J
Costco partnership is ending. You can keep using your Card and c t c P b Ph
earning rewards until that time. Please cal 1-888-246'1076 if you Imgfglgg 13005723337
need more information.
[2| See Page 2 for additional information.
a Payment Coupon E Pay by Computer to Pay by Phone Account Ending 3-71001
Do not staple or use paper clips americanexpresscoma‘pbc LEGO-4729297
Enter account number on all documents.
Make check payable to American Express.
ROBIN C DIMAGGIO Payment Not Required
3713177KANAN RD
New Balance
AGOURA HILLS CA 91301 “IBBCR
Minimum Payment Due
$0.00
El Check here if your address or AMERICAN EXPRESS $__._ .
phone number has changed. BOX 0001 Amount Enclosed
Note changes on reverse side. L05 ANGELES CA 900953000
"IlrrlllItllmIrlmllrrlullllrrIllmumllrm"mm"
UUUUBH‘icIEiEISQEIl7lclE IDUUUUHBBUDUUUUUUU U? rl




                                                                                                                                   EX. LLL - 337
TrueEarnings‘” Card
ROBIN C DIMAGGIO
Closing Date 09/1OI15
UUI'LIUH I E DUI' ‘I
Cosrca n 3110
Account Ending 3-71001
Payments and Credits
Summary
Total
Payments —5 1 59.08
Credits _ 4124.88
Total Payments and Credits -$283.96
[ Detail '1ndicaies posting date J
Payments Amount
08/13/15“ PHONE PAYMENT - THANK YOU 4159.08
Credits Amount




                                                                                                                Case 1:17-ap-01099-VK               Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
08/18/15 COSTCO WHSE #0117 OOWESTLAKE VILLAGE CA $124.88
8185973901
New Charges
Summary
Total
Total New Charges $120.00
[ Detail ]
ROBIN C DIMAGGIO
Card Ending 3-71001
Amount
08/18I15 COSTCO WHSE #0117 OOWESTLAKE VILLAGE CA 512000




                                                                                                                                                     Exhibit LLL pt.3 Page 139 of 150
3185973901
Fees 1
Amount
Total Fees for this Period $0.00
[ Interest Charged
Amount
Total Interest Charged for this Period $0.00
About Trailing Interest
You may see interest on your next statement even if you pay the new balance in full and on time and make no new charges. This Is called "trailing
Interesr.‘ Traillng interest is the interest charged when. for example. you didn't pay your prevlous balance in full. When that happens we charge
interest from the _rst day of the billing period untll we receive your payment in full. You can avoid paying interest on purchases by paying your
balance In full and on time each month. Please see the “When we charge interest" sub-section in your Cardmember Agreement for details.
Continued on reverse




                                                                                                                                                             EX. LLL - 338
Dugttatxrnegna
ROBIN C DIMAGGIO p. 4110
2015 Fees and Interest Totals Year-to-Date
Amount
Total Fees in 2015 $0.00
Total Interest In 2015 $0.00
Interest Charge Calculation
Your Annual Percentage Rate (APR) is the annual Interest rate on your account.
Transactions Dated Annual Balance Interest
Percentage Subject to Charge
From 1’3 Rate Interest Rate
Purchases 09/17/2014 15.24% (V) $0.00 $0.00
Cash Advances 09/17/2014 25.24% (V) $0.00 $0.00
Total $0.00
(v) Variable Rate




                                                                                 Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                                                                                                          Exhibit LLL pt.3 Page 140 of 150




                                                                                                                  EX. LLL - 339
TrueEafningso card DUPLIUA l I: UUI‘Y
ROBIN C DIMAGGIO
Closing Date 09/10/15
Cash Back Reward Summary
COSTCO
p. 5I10
Account Ending 3-71001
Total Cash Bank as of Aug 2015 Billing P323: Charges
Beglnning Reward Balance +5169
Reward Amount Earned" +£2.64
Total Reward Year To Date +£4.33
“Charges on this billing statement are not re_ected In the Rewards Summary Information. Reward Amount Earned is pending until the
minimum payment has been made.
[ Reward Details
Rewards for Aug 2015 Bllling_ Period Charges Qualified Spend
U.S. Gas Stations _ _ $40.00




                                                                                                                Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
U.S. Restaurants _ _ $0.00
Eligible Travel Purchases _ $0.00
Other Eligible Purchases $144.54
Total Reward This Period _ 51 B454
Total Reward Year To Date $354.25
93% .
92%
92%
91%
J
Cash Back Reward




                                                                                                                                         Exhibit LLL pt.3 Page 141 of 150
51 20
$0.00
$0.00
$1.44
$2.64
_$4.33
[ lm portant Messages
J
You must maintain your Costco membership to redeem the Reward. See Cardmember Agreement [or full terms and conditions.
Remember to pay at least the Minimum Payment Due by the Payment Due Date for eligible purchases on this statement to count towards
your annual reward and to avoid late fees.
Cash back rewards are calculated on each eligible transaction. The rewards shown above have been summarized for informational
purposes. For specific details. please visit your online statement.




                                                                                                                                                 EX. LLL - 340
TrueEarnings“ Card DUPLICATE COPY
ROBIN C DIMAGGIO
Closing Date 10/11115 Next Closing Date 11110115
COSTCO
p.1l5
Account Ending 3-71001
CR$4.88
$0.00
New Balance
Minimum Payment Due
Payment Not Required
a See page 2 for important lnlormatlon about your account.
(D Your credit balance can be applied against future transactions or you
may request a refund.
(D SERVICE ADVISORY: You will no Ion er be able to use this American
Express Card for any purchases as ear y as April 2016 because our




                                                                           Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Costco partnership is ending. You can keel: using your Card and
earning rewards until that time. Please cal 1-888-246-1 076 if you
need more information.
a Payment Coupon
Do not staple or use paper clips amerlcanexpresscomlpbc
ROBIN C DIMAGGIO
5737 KANAN RD
Ii 117
AGOURA HILLS CA 91301
'3 Check here if your address or AMERICAN EXPRESS
phone number has changed.




                                                                                                    Exhibit LLL pt.3 Page 142 of 150
Note changes on reverse side.
E Pay by Computer (9 Iliay by
BOX 0001
LOS ANGELES CA 90096-8000
Cash Back Rebate
As of Sep 2015
Account Summary
$4.23
For more details about Rewards. please
visit americanexpress.comlrewardslnfo
4;
Days In Billing Period: 31
Previous Balance 0154.83
Payments/Credits 40.00
New Charges +5000
Fees +£0.00
Interest C ha rged +£0.00
New Balance CF54.”
Mlnlmum Payment Due $0.00
Credit Limit $10,000.00
Available Credit 51000438
Cash Advance Limit 52.00000
Avallable Cash $2,000.00
Custom er Care
Pay by Computer
amerlcanexpress.comlpbc
Pay by Phone
1-800—472-9297
Customer Care
1 -888-246-1076
See Page 2 for additional Information.
J
Account Ending 3-71001
Enter account number on all documents.
Make check payable to American Express.
Payment Not Required
New Balance
Minimum Payment Due
$0.00
Amount Enclosed
EIDDEIEILI‘I‘FIELS‘HLNI‘IE IDDDDDHBBDDDDDUUDD El? rl




                                                                                                            EX. LLL - 341
. L .
TrueEarnmgs“ Card “UP “'A ' 5 DUI' I
Cosmo 9-35
ml
ROBIN C DIMAGGIO
Closing Date 10/11/15 Account Ending 3-71001
Fees 1
Amount
Total Fees for this Period _ _ _ $0.00
Interest Charged J
Amount
Total interest Chargers for this Period $0.00
About Trailing Interest
You may see interest on your next statement even iiyou pay the new balance In full and on tlme and make no new charges.This is called "trailing
interest.” Trailing Interest is the interest charged when. for example, you clldn't pay your previous balance in full. When that happens we charge
interest from the first day of the billing period until we receive your payment in full. You can avoid paying interest on purchases by paying your




                                                                                                                Case 1:17-ap-01099-VK                Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
balance In full and on time each month. Please see the "When we charge Interest“ sub-section in your Cardmember Agreement for details.
2015 Fees and Interest Totals Year-to-Date 1
Amount
Total Fees in 2015 $0.00
Total Interest in 2015 $0.00
Interest Charge Calculation
Your Annual Percentage Rate (APR) is the annual interest rate on your account.
Transactions Dated Annual Balance Interest
Percentage Subject to Charge
from To Rate lnterest__ _
Purchases 09/17/2014 15.24% M $0.00 $0.00




                                                                                                                                                      Exhibit LLL pt.3 Page 143 of 150
Cash Advances 09/17/2014 252496 M $0.00 $0.00
Total _ _ $0.00
M Variable Rate




                                                                                                                                                              EX. LLL - 342
TrueEarnings‘” Card
ROBIN C DIMAGGIO
Closing Date 10111115
UUI'I—IUHI I: UVI' l
COSTCO 9-55
Account Ending 3-71001
Cash Back Reward Summary
Total Cash Back as of Sep 2015 Billing Paid; Charges
Beginning Reward Balance
Reward Amount Earned'
Total Reward Year To Date
+5433
-_s_p.os
+$4.28
“Charges on this billing statement are not reflected in the Rewards Summary information. Reward Amount Earned is pending until the
minimum payment has been made.




                                                                                                                Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
[ Reward Details
Rewards for Sep 2015 Billing Period Charges
U.S. Gas Stations
U.S. Restaurants _
Eliglble Travel Purchases
Other Eligible Purchases
Total Reward This Period
Total Reward Year To Date
J
Qualified S_pend Cash Back Reward
£0.00 93% _ some




                                                                                                                                         Exhibit LLL pt.3 Page 144 of 150
$0.00 92% $0.00
$0.00 92% _ $0.00
{4.33 @195 40.05
sue -_so.os
$349.37 $4.28
[ Important Messages
You must maintaln your Costco membership to redeem the Reward. See Cardmember Agreement for full terms and conditions.
Remember to pay at least the Minimum Payment Due by the Payment Due Date for eliglble purchases on this statement to count towards
your annual reward and to avoid late fees.
Cash back rewards are calculated on each eliglble transaction.The rewards shown above have been summarized for informational
purposes. For speci_c details, please vlsit your online statement.




                                                                                                                                                 EX. LLL - 343
TrueEarnings° Card DUPLICATE COPY
ROBIN C DIMAGGIO
Closing Date 11110115 Next Closing Date 12111115
Cosmo W
5591“!
Account Ending 3-71001
New Balance CR$4.88
Minimum Payment Due $0.00
Payment Not Required
See page 2 for important information about your account.
Your credit balance can be applied against future transactions or you
may request a refund.
® SERVICE ADVISORY: You will no Ion er be able to use this American
Express Card for any purchases as ear y as April 2016 because our
Costco partnership is ending. You can kee using your Card and
earning rewards until that time. Please cai 1-883-246—1 076 if you




                                                                         Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
need more information.
ROBIN C DIMAGGIO
5737 KANAN RD
# 117
AGOURA HILLS CA 91301
D Check here if youraddress or AMERICAN EXPRESS
phone number has changed. BOX 0001
Note changes on reverse side.
a Payment Coupon Pay by Computer (o Pay by Phone
Do not staple or use paper clips americanexpresscomlpbc 1-800-472-9297
LOS ANGELES CA 90096-8000




                                                                                                  Exhibit LLL pt.3 Page 145 of 150
Cash Back Rebate i
As of Oct 2015
$4.28
For more details about Rewards, please
visit amerlcanexpressxomlrewardsinfo
44
Account Summary
Previous Balance CRMBB
Payments/Credits 60.00
New Charges +£0.00
Fees +£0.00
interest Charged +£0.00
New Balance (1154.88
Minimum Payment Due $0.00
Credit Limit $10,000.00
Available Credit $10,004.88
Cash Advance Limit $2,000.00
Available Cash $2,000.00
Days in Billing Period: 30
Custom er Care
i
Pay by Computer 1
americanexpress.comlpbc
Customer Care Pay by Phone
1-388-246-1076 1-800-472-9297
[ Ea See Page 2 for additional information.
Account Ending 341001
Enter 15 digit account ii on all payments.
Make check payable to American Express.
Payment Not Required
New Balance
$4.880!
Minimum Payment Due
$0 00
a
—— 0
Amount Enclosed
DDIJIJEIH‘i‘i‘lElS‘I‘ll?l_E LDIJEIEIEILIBBIJIJEIDEIDUUEI El? rl




                                                                                                          EX. LLL - 344
TrueEarnings° Card UUPLIL'A' = bur'
ROBIN C DIMAGGIO
Closing Date 11/10/15
Cosmo Mrs
W
Account Ending 3-71001
Fees j
Arnou nt
Total Fees let this Period _ $0.00
Interest Charged
Amount
Total Interest Charged for this Pe_riod
About Trailing Interest
{0.00
You may see Interest on your next statement even if you pay the new balance in full and on time and make no new charges. This is called “trailing
interest.“ Trailing interest Is the interest charged when. for example, you didn't pay your previous balance in full. When that happens we charge




                                                                                                                Case 1:17-ap-01099-VK               Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Interest from the _rst day of the billing period until we receive your payment in full. You can avoid paying interest on purchases by paying your
balance in full and on time each month. Please see the "When we charge interest“ sub-section In your Cardmember Agreement for details.
2015 Fees and Interest Totals Year-to-Date
Amount
Total Fees in 2015 $0.00
Total Interest In 2015 5000
L
Interest Charge Calculation
Your Annual Percentage Rate (APR) is the annual interest rate on your account.
Transactions Dated Annual Balance Interest
Percentage Subject to Charge




                                                                                                                                                     Exhibit LLL pt.3 Page 146 of 150
from 2 Rate Interest Rate
Purchases 09/17/2014 15.24% (v) $0.00 $0.00
Cash Advances 09/17/2014 25.24% (V) $0.00 $0.00
Total $0.00
M Variable Rate




                                                                                                                                                             EX. LLL - 345
TrueEarnings" Card "UFLWH ' '= “V"' m p.515
W
ROBlN C DIMAGGIO
Closrng Date 11/10/15 Account Ending 3-71001
cash Back Reward summary Total Cash Back as of Oct 2015 Billing Hangs Charges
Beginning Reward Balance +5428
Reward Amount Ea rned' _ +5000
Total Reward Year To Date +$4.28
'Charges on this billing statement are not re_ected in the Rewards Summary information. Reward Amount Earned ls pending until the
minimum payment has been made.
[ Reward Details I
Rewards for Oct 2015 Billing Period Charges _ Qualified Spend Cash Back Reward
U.S. Gas Stations $0.00 gait: $0.00
U.S. Restaurants $0.00 92% $0.00
Eligible Travel Purchases $0.00 92% $000
Other Eligible Purchases $0.00 91% $0.00




                                                                                                                Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Total Reward This Period £0.00 $0.00
Total Reward Year To Date $349.37 $4.28
[ Important Messages ]
You must maintain your Costco membership to redeem the Reward. See Cardmember Agreement for full terms and conditions.
Remember to pay at least the Minimum Payment Due by the Payment Due Date for eligible purchases on this statement to count towards
your annual reward and to avold late fees.
Cash back rewards are calculated on each eligible transaction. The rewards shown above have been summarized for informational
purposes, For speci_c details, please visit your online statement.




                                                                                                                                         Exhibit LLL pt.3 Page 147 of 150




                                                                                                                                                 EX. LLL - 346
TrueEarnings‘“ Card DUPLICATE COPY
ROBIN C DIMAGGIO
Closing Date 12l11f15 Next Closing Date 01l11l16
Cosmo 9- "a
W
Account Ending 3-71001
$0.00
$0.00
New Balance
Minimum Payment Due
Payment Not Required
[3 See page 2 for important information about your account.
Q See Page 7 for Important Changes to Your Account Terms.
SERVICEADVISORY: Weexpect thatyou will no iongerbeable to useyour current
American Express Card for any purchases beginning in mid-2016 because itwiil be
discontinued. You can leep using your Card and earning rewarcb as you d'otoday




                                                                                  Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
until then Please call 1-888-246-1076ifyou need more information.
Payment Coupon
Do not staple or use paper clips
r
‘-
E Pay by Computer
amerlcanexpresscomlpbc
ROBIN C DIMAGGIO
S737 KANAN RD
if 117
AGOURA HILLS CA 91301




                                                                                                           Exhibit LLL pt.3 Page 148 of 150
Pay
1 -800-472-9297
Cash Back Rebate i
As of Nov 2015
$4.28
For more details about Rewards. please
visit americanexpress.comlrewardsinfo
Account Summary
Previous Balance CR$4.BB
Payments/Cred its 40.00
New Charges +£4.88
Fees +£0.00
Interest Charged +£0.00
New Balance $0.00
Minimum Payment Due $0.00
Credit Limit $10,000.00
Available Credit 5 1 0,000.00
Cash Advance Limit $2,000.00
Available Cash $2,000.00
Days in Billing Period: 31
Custom er Care
Pay by Computer '
americanexpress.comlpbc J
Customer Care Pay by Phone
1-888-246-1076 1-800-472-9297
9 See Page 2 for additional information.
by Phone Account Ending 3-11001
Enter 15 digit account it on all payments.
Make check payable to American Express.
Payment Not Required
New Balance
$0.00
Minimum Paymegt Due
D Check here if your address or AMERICAN EXPRESS 5 .
phone number has changed. BOX 0001 Amount Enclosed
Note changes on reverse side. L05 ANGELES CA 90096-8000
UBUDBHH‘I‘IEIS‘I‘IL?I‘IE BDUEIIJIJEIIJDEIDUEIDEIIJIJD El? rl




                                                                                                                   EX. LLL - 347
TrueEarnings" Card
ROBIN C DIMAGGIO
Closing Date 12111115
UUI'I-IDHI E UUI" I'
Cosmo 9-318
w
Account Ending 3-71001
New Charges
Summary
Total
Total New Charges
$4.88
[ Detail 'lndicates posting date
ROBIN C DIMAGGIO
Card Ending 3-71001
Amount




                                                                                                                Case 1:17-ap-01099-VK               Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
12/1 1115' Credit Balance Refund $4.38
Fees l
Amount
Total Fees for this Period £0.00
Interest Charged
Amount
Total Interest Charged for this Period $0.00
About Trailing Interest
You may see interest on your next statement even if you pay the new balance in full and on time and make no new charges. This Is called "traillng
interest.“ Trailing interest is the interest charged when, for example, you didn't pay your previous balance in full. When that happens we charge
interest from the _rst day of the billing period until we receive your payment in full. You can avoid paying interest on purchases by paying your




                                                                                                                                                     Exhibit LLL pt.3 Page 149 of 150
balance In full and on time each month. Please see the “When we charge interest" sub-sectlon in your Cardmember Agreement for details.
2015 Fees and Interest Totals Year-to-Date
Amount
Total Fees in 201 S $0.00
Total Interest in 2015 $0.00
Interest Charge Calculation
Your Annual Percentage Rate (APR) Is the annual Interest rate on your account.
Transactions Dated Annual Balance Interest
Percentage Subject to Charge
from To Rate I_nterest Rate
Purchases 09/ 1 7/201 4 15.24% M $0.00 $0.00
Cash Advances 09/17/2014 252496 M $0.00 $0.00
Total 50.00
(v) Variable Rate




                                                                                                                                                             EX. LLL - 348
TrueEarningsm Card DUPLICATE COPY
ROBIN C DIMAGGIO
Closing Date 12111115
COSTCO
p.518
Account Ending 3-71001
Cash Back Reward Summary
Total Cash Back as of Nov 2015 Billing Paigg Charges
Beginning Reward Balance +3428
Reward Amount Earned' +§0.00
Total Reward Year To Date +5428
“Charges on this billing statement are not re_ected In the Rewards Summary information. Reward Amount Earned is pending until the
minimum payment has been made.
l
Seward Details
Rewards for Nov 2015 Billing Period Charges Qualified S_pend




                                                                                                                Case 1:17-ap-01099-VK   Doc 50-8 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
U.S. Gas Stations $0.00
U.S. Restaurants {0.00
Eligible Travel Purchases $0.00
Other Eligible Purchases _ $0.00
Total Reward This Period $.00
Total Reward Year To Date $349.37
@391;
92%
em
@195
Cash Back Reward




                                                                                                                                         Exhibit LLL pt.3 Page 150 of 150
$0.00
$0.00
$0.00
$0.00
$0.00
$4.28
Wuportant Messages
You must maintain your Costco membership to redeem the Reward. See Cardmember Agreement for full terms and conditions.
Remember to pay at least the Minimum Payment Due by the Payment Due Date for eligible purchases on this statement to count towards
your annual reward and to avoid late fees.
Cash back rewards are calculated on each eligible transaction.The rewards shown above have been summarized for informational
purposes. For specific details. please visit your online statement.




                                                                                                                                                 EX. LLL - 349
